CASE 0:10-cr-00187-MJD-FLN Doc. 285 Filed 11/25/13 Page 1 of 193


                     UNITED STATES DISTRICT COURT
                         DISTRICT OF MINNESOTA


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                                     )
                                     )
    United States of America,        ) File No. CR-10-187
                                     )           (MJD/FLN)
            Plaintiff,               )
                                     )
    vs.                              ) Minneapolis, Minnesota
                                     ) October 6, 2011
    (1) Amina Farah Ali and          ) 9:05 a.m.
    (2) Hawo Mohamed Hassan,         )
                                     )
            Defendants.              )
                                     )
                                     )
   -----------------------------------------------------------




          BEFORE THE HONORABLE MICHAEL J. DAVIS and a Jury
                 UNITED STATES DISTRICT COURT JUDGE


                           (TRIAL - VOLUME IV)




       Proceedings recorded by mechanical stenography;
   transcript produced by computer.



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     CASE 0:10-cr-00187-MJD-FLN Doc. 285 Filed 11/25/13 Page 2 of 193   535


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                           LORI A. SIMPSON, RMR-CRR
                                (612) 664-5104
     CASE 0:10-cr-00187-MJD-FLN Doc. 285 Filed 11/25/13 Page 3 of 193       536


 1                                 I N D E X
                                                                         PAGE
 2      MATTHEW BRYDEN
          Continued Direct Examination by Mr. Ward                        537
 3        Cross Examination by Mr. Scott                                  571
          Cross Examination by Ms. Gurstelle                              638
 4        Redirect Examination by Mr. Ward                                662
          Recross Examination by Mr. Scott                                671
 5
        MICHAEL WILSON
 6        Direct Examination by Mr. Paulsen                               674

 7      OMAR DAHIR
          Direct Examination by Mr. Paulsen                               709
 8
        MICHAEL WILSON
 9        Resumed Direct Examination by Mr. Paulsen                       717

10
        GOVERNMENT EXHIBITS                                             REC'D
11        2                                                               683
          3                                                               683
12        9                                                               698
          10                                                              718
13        11                                                              718
          20                                                              700
14        23                                                              700
          24                                                              700
15        114                                                             565
          122                                                             555
16        130                                                             549
          140                                                             543
17        146                                                             558
          161                                                             689
18        162                                                             707
          217                                                             559
19        220                                                             561
          221                                                             539
20        223                                                             546
          230                                                             541
21        231                                                             553
          232                                                             540
22        272                                                             547
          273                                                             551
23

24

25



                           LORI A. SIMPSON, RMR-CRR
                                (612) 664-5104
     CASE  0:10-cr-00187-MJD-FLN
        Bryden  - Direct         Doc. 285 Filed 11/25/13 Page 4 of 193    537


 1                             P R O C E E D I N G S

 2                                  IN OPEN COURT

 3                                 (JURY PRESENT)

 4                   THE COURT:   Let's continue.

 5           (Witness previously sworn.)

 6                                (Matthew Bryden)

 7                          CONTINUED DIRECT EXAMINATION

 8      BY MR. WARD:

 9      Q.   Good morning, Mr. Bryden.

10      A.   Good morning.

11      Q.   When we broke yesterday -- or before we broke you had

12      described the leadership of al-Shabaab as consisting of a

13      core and that there wasn't any one true leader.

14                   So in addition to this gentleman who you

15      identified as the amir, Ahmed Abdi aw-Mohamed, can you tell

16      the jury during the time of the charges here who the leaders

17      were of al-Shabaab that were part of this core.

18      A.   The most -- the best known leaders and the most visible,

19      other than the amir, were Mukhtar Robow, also known as Abu

20      Mansur; Fuad Mohamed Khalaf, also known as Fuad Shangole;

21      until early 2008 Aden Hashi Ayrow.        There are a number of

22      other second tier leaders who have since become more

23      important, but those are the principal figures.

24      Q.   Okay.   And the amir, does he have a nickname, an Abu

25      name by which he is known?



                           LORI A. SIMPSON, RMR-CRR
                                (612) 664-5104
     CASE  0:10-cr-00187-MJD-FLN
        Bryden  - Direct         Doc. 285 Filed 11/25/13 Page 5 of 193    538


 1      A.   He actually adopted a pseudonym, a false name.          He

 2      called himself Sheikh Mukhtar Abdirahman Abu Zubeyr.

 3                  MR. WARD:    And if I could have Government's

 4      Exhibit 221, please.

 5      BY MR. WARD:

 6      Q.   Do you recognize the individual seated in the center of

 7      the picture in Government's Exhibit 221?

 8      A.   Yes, I do.    That's Abu Mansur.

 9      Q.   When you say, "Abu Mansur," is that Mukhtar Robow?

10      A.   Yes, it is.

11                  MR. WARD:    Your Honor, could I approach and ask

12      the witness to identify Robow on the original of the

13      exhibit?

14                  THE COURT:    You may.    Sir, you can circle the

15      person you are talking about so everyone knows.

16                  THE WITNESS:    (Indicating.)     It's not the best

17      color for that.

18      BY MR. WARD:

19      Q.   If you could, Mr. Bryden, go ahead and write "Mukhtar

20      Robow/Abu Mansur" on the bottom of Government's 221.

21      A.   (Indicating.)

22                  MR. WARD:    If I haven't already done so, Your

23      Honor, I would offer 221.

24                  MR. SCOTT:    No objection, Your Honor.

25                  MS. GURSTELLE:     No objection, Your Honor.



                           LORI A. SIMPSON, RMR-CRR
                                (612) 664-5104
     CASE  0:10-cr-00187-MJD-FLN
        Bryden  - Direct         Doc. 285 Filed 11/25/13 Page 6 of 193     539


 1                   THE COURT:   Be admitted.

 2      BY MR. WARD:

 3      Q.   And, Mr. Bryden, the weapons that the individuals in the

 4      background are holding, can you identify those for the jury.

 5      A.   Those are Kalashnikov-pattern assault rifles.

 6      Q.   Are they also known as a --

 7      A.   They are also known as AK-47s, but they could be any

 8      variant made in any number of countries.

 9      Q.   Okay.   And with respect to the flag that's hanging there

10      in the background behind those gentlemen, is there any

11      significance to that?

12      A.   That's one of the flags commonly carried by al-Shabaab.

13      Q.   And the devices that are sitting in front of the

14      gentleman to the left of Mukhtar Robow, can you explain to

15      the jury what those are.

16      A.   Those are recorders and microphones, suggesting that

17      this is a press conference.       And Abu Mansur was the

18      spokesman for al-Shabaab, so that would make sense.

19                   MR. WARD:    If we could go to Exhibit 232, please.

20      BY MR. WARD:

21      Q.   And do you recognize the individual pictured in

22      Exhibit 232?

23      A.   I do.

24      Q.   And who is that?

25      A.   That is Fuad Mohamed Khalaf/Shangole.



                           LORI A. SIMPSON, RMR-CRR
                                (612) 664-5104
     CASE  0:10-cr-00187-MJD-FLN
        Bryden  - Direct         Doc. 285 Filed 11/25/13 Page 7 of 193    540


 1                  MR. WARD:    I would offer 232, Your Honor.

 2                  MR. SCOTT:    No objection, Your Honor.

 3                  MS. GURSTELLE:     No objection, Your Honor.

 4                  THE COURT:    Be admitted.

 5                  MR. WARD:    Your Honor, may I approach with 232 to

 6      have the witness mark the name of Fuad Shangole?

 7                  THE COURT:    You may.

 8                  THE WITNESS:    (Indicating.)

 9      BY MR. WARD:

10      Q.   While you are doing that, Mr. Bryden, is Fuad Shangole

11      also known as Fuad Mohamed Khalaf, K-h-a-l-a-f?

12      A.   That's correct.

13      Q.   Can you write both of those names on the bottom of 232,

14      please.

15      A.   I will.   (Indicating.)

16      Q.   And for the benefit of the jury, is Fuad Mohamed Khalaf,

17      a/k/a Fuad Shangole, referred to in a call which is

18      identified as Government's Exhibit 7?

19      A.   Yes, he is.

20      Q.   Is he also referred to in -- strike the question.

21                  MR. WARD:    May I have Government's Exhibit 230,

22      please.

23      BY MR. WARD:

24      Q.   Do you recognize the individual in Government's

25      Exhibit 230, Mr. Bryden?



                           LORI A. SIMPSON, RMR-CRR
                                (612) 664-5104
     CASE  0:10-cr-00187-MJD-FLN
        Bryden  - Direct         Doc. 285 Filed 11/25/13 Page 8 of 193    541


 1      A.   I do.

 2      Q.   And who is that?

 3      A.   That is Hassan Mohamed Ali/Abu Ayman.

 4      Q.   And this is the individual that we talked about

 5      yesterday who was the administrative governor for

 6      al-Shabaab?

 7      A.   That's right.

 8      Q.   Is he also known as Hassan Afgoye?

 9      A.   Yes, he is.

10                   MR. WARD:    I would move 230, Your Honor.

11                   MR. SCOTT:   No objection.

12                   MS. GURSTELLE:    No objection, Your Honor.

13                   THE COURT:   Be admitted.

14                   MR. WARD:    Again I would ask to approach to have

15      the witness mark on the bottom of the original.

16                   THE COURT:   You may.    You don't have to ask to

17      approach.

18                   THE WITNESS:   (Indicating.)

19      BY MR. WARD:

20      Q.   Now, Mr. Bryden, you referred to Godane or Ahmed Abdi

21      aw-Mohamed as the amir, but within al-Shabaab is there a

22      particular term that's used for a woman who is highly placed

23      within the female leadership?

24      A.   The equivalent of an amir, a female equivalent would be

25      an amira.



                           LORI A. SIMPSON, RMR-CRR
                                (612) 664-5104
     CASE  0:10-cr-00187-MJD-FLN
        Bryden  - Direct         Doc. 285 Filed 11/25/13 Page 9 of 193    542


 1      Q.   And is there an individual in the evidence in the

 2      government's case to whom this term "amira" is applied?

 3      A.   That term is used in one of the calls I reviewed, yes.

 4      Q.   And if you recall, do you know the name of the

 5      individual who that's applied to?

 6      A.   Off the top of my head, no.

 7      Q.   Does the name Hawo-Kiin Raage --

 8      A.   Yes.

 9      Q.   Now, with respect to Mr. Mukhtar Robow, who is also Abu

10      Mansur, did I ask you in preparing for your testimony today

11      to go through several calls, which will be played through

12      Special Agent Wilson, where the speakers referred to an

13      individual named Abu Mansur?

14      A.   Yes, you did.

15      Q.   And having listened to these calls in Exhibits 17, 21,

16      130, 134, and 140, did you reach a conclusion as to whether

17      or not the speakers were referring to Mukhtar Robow, the

18      spokesperson for al-Shabaab?

19      A.   Yes, I did, absolutely.

20      Q.   And was it the case that they were referring to Mukhtar

21      Robow?

22      A.   They were indeed.

23                  MR. WARD:    If I could have Government's

24      Exhibit 140, please, and if we could go to page 3.

25                  MR. SCOTT:    I don't think that's in evidence yet,



                           LORI A. SIMPSON, RMR-CRR
                                (612) 664-5104
     CASE 0:10-cr-00187-MJD-FLN
        Bryden - Direct         Doc. 285 Filed 11/25/13 Page 10 of 193   543


 1      Your Honor.

 2                  MR. WARD:    I apologize.    Could we go back to

 3      page 1, please.     I would offer 140, Your Honor.

 4                  MR. SCOTT:    Same foundation objections I've had,

 5      Your Honor, to linking it up.

 6                  MS. GURSTELLE:     No objection.

 7                  THE COURT:    Be admitted assuming it will be

 8      connected up and played later in the trial.          Continue.

 9      BY MR. WARD:

10      Q.   Mr. Bryden, is this a call dated June 7, 2009?

11      A.   Yes, it is.

12      Q.   And at the top is there also an indication that the

13      speakers are Amina Ali and Hawo Mohamed Hassan?

14      A.   Yes, there is.

15      Q.   And going to page 3, at the bottom, four lines from the

16      bottom, does Amina Ali say, ..."I recall about the cleric,

17      Abu --"

18           And then Halima says, "Who?"

19           And then the Defendant Amina Ali says, "-- I called him

20      one day; he normally does not answer the phone, but when he

21      saw my phone number he answered."

22           And then the Defendant Hawo Hassan says, "Who?"

23           And Amina says, "Abu, I mean Abu Mansur --"

24                  Is this one of the references where you concluded

25      that they were referring to Mukhtar Robow?



                           LORI A. SIMPSON, RMR-CRR
                                (612) 664-5104
     CASE 0:10-cr-00187-MJD-FLN
        Bryden - Direct         Doc. 285 Filed 11/25/13 Page 11 of 193   544


 1      A.     Yes, it is.

 2      Q.     Now, with respect to Mr. Robow, did he respond to the

 3      United States government's designation of al-Shabaab as a

 4      foreign terrorist organization?

 5      A.     He did.

 6                    MR. WARD:   And if I could have Government's

 7      Exhibit 256, please.

 8      BY MR. WARD:

 9      Q.     Focusing on the date in February 2008 on page 2, do you

10      see the date February 26, 2008?

11      A.     Yes.

12      Q.     Is that the date that the U.S. designated al-Shabaab as

13      a foreign terrorist organization?

14      A.     I believe it is.

15      Q.     And the jury has seen as Exhibit 271 the formal

16      announcement of the designation, but directing your

17      attention to a time period in March of 2008, how did

18      al-Shabaab respond to the publication of the notice of its

19      designation as a foreign terrorist organization under U.S.

20      law?

21      A.     Mukhtar Robow welcomed the designation essentially as a

22      badge of honor.

23      Q.     And how did he -- how did that come to light, that he

24      had responded welcoming it as a badge of honor?

25      A.     He made a public statement, a press statement.



                             LORI A. SIMPSON, RMR-CRR
                                  (612) 664-5104
     CASE 0:10-cr-00187-MJD-FLN
        Bryden - Direct         Doc. 285 Filed 11/25/13 Page 12 of 193   545


 1      Q.   And was that carried out over the Internet?

 2      A.   That was carried by local radio and over the Internet.

 3                   MR. WARD:   Now if we could go to --

 4      BY MR. WARD:

 5      Q.   Well, let me ask you:      Are you familiar with an

 6      individual named Hassan Dahir Aweys?        We talked a little bit

 7      about him yesterday.

 8      A.   I am.

 9      Q.   Can you explain to the jury a little bit more about who

10      he is.

11      A.   Hassan Dahir Aweys was the vice chairman and military

12      commander of the first Somali jihadist movement known as

13      al-Ittihad al-Islam or AIAI, which is also a designated

14      organization.

15                   And following the dismantling of AIAI, in the mid

16      1990s he re-emerged as the key figure behind the Islamic

17      Courts.    He has acted as a mentor for a number of the key

18      leaders in al-Shabaab and he is currently aligned with

19      al-Shabaab.

20                   MR. WARD:   Now if I could have Government's

21      Exhibit 223.

22      BY MR. WARD:

23      Q.   And do you recognize the individual in that picture?

24      A.   I do.

25      Q.   And how is it you recognize Hassan Dahir Aweys?



                           LORI A. SIMPSON, RMR-CRR
                                (612) 664-5104
     CASE 0:10-cr-00187-MJD-FLN
        Bryden - Direct         Doc. 285 Filed 11/25/13 Page 13 of 193   546


 1      A.   I know him because he is a public figure, very visible,

 2      and also because I have met him in the past.

 3                  MR. WARD:    I would offer 223.

 4                  MR. SCOTT:    No objection, Your Honor.

 5                  MS. GURSTELLE:     No objection, Your Honor.

 6                  THE COURT:    Be admitted.

 7                  MR. WARD:    And if we can go to Government's

 8      Exhibit 272, please.

 9      BY MR. WARD:

10      Q.   You indicated that the organization that he started out

11      with that's abbreviated AIAI, that that was designated?

12      A.   That's correct.

13      Q.   But when you say "designated," is it designated under a

14      different set of sanctions other than as a foreign terrorist

15      organization?

16      A.   It's also designated by the United Nations under

17      Resolution 1267 as an al-Qaeda affiliate.

18      Q.   All right.    And how about, are you familiar with the

19      designations -- the alternative designations under U.S. law?

20      A.   I know it as a foreign terrorist organization and Hassan

21      Dahir Aweys as a specially designated global terrorist.

22      Q.   And when you use the term "specially designated global

23      terrorist," is that under United States law?

24      A.   Yes, it is.

25      Q.   And does that involve financial sanctions against the



                           LORI A. SIMPSON, RMR-CRR
                                (612) 664-5104
     CASE 0:10-cr-00187-MJD-FLN
        Bryden - Direct         Doc. 285 Filed 11/25/13 Page 14 of 193    547


 1      individual?

 2      A.   Yes, it does.

 3      Q.   And can you identify Exhibit 272, Mr. Bryden.

 4      A.   Yes.

 5      Q.   Is that a copy of the Federal Register notice

 6      designating Hassan Dahir Aweys as a specially designated

 7      global terrorist, on page 2?

 8      A.   Yes, it is.

 9                   MR. WARD:    I would offer 272, Your Honor.

10                   MR. SCOTT:   We object, Your Honor, based upon the

11      same objections we made prior to trial.

12                   MS. GURSTELLE:    Join that objection as well.

13                   THE COURT:   Overruled.    Be admitted.

14      BY MR. WARD:

15      Q.   And in the third column, a little bit below the center,

16      is the name Sheikh Hassan Dahir Aweys?

17      A.   Yes, it is.

18      Q.   Okay.    And what's the date of the designation?

19      A.   I don't see a date.

20                   MR. WARD:    If we could go back to page 1.

21                   THE WITNESS:   March 19, 2002.

22      BY MR. WARD:

23      Q.   Now, outside of court and in preparation for your

24      testimony today, Mr. Bryden, did you listen to calls where

25      the speakers referred to an individual who was called Sheikh



                           LORI A. SIMPSON, RMR-CRR
                                (612) 664-5104
     CASE 0:10-cr-00187-MJD-FLN
        Bryden - Direct         Doc. 285 Filed 11/25/13 Page 15 of 193   548


 1      Hassan Dahir?

 2      A.   Yes, I did.

 3      Q.   And did I ask you to listen to those and make a judgment

 4      as to whether or not the speakers were referring to the

 5      specially designated global terrorist Sheikh Hassan Dahir

 6      Aweys?

 7      A.   Yes, you did.

 8      Q.   And do those exhibits, which will be played later during

 9      the testimony of Special Agent Wilson, include Exhibits 49,

10      13, 130, 134, and 157?

11      A.   I don't recall all the designation -- all of the exhibit

12      numbers.

13      Q.   And is there anything that I could provide to you that

14      would help you refresh your recollection?

15      A.   I had a note in which I kept track of the calls.

16      Q.   Let me just provide that to you.       And when you and I

17      were preparing or discussing your testimony in advance, did

18      we sit down together and, you know --

19      A.   Yes.

20      Q.   -- a list?

21                   And does that list include the exhibits that I

22      just read to you?

23      A.   Yes, it does.

24      Q.   Okay.   And with respect to each of those calls that I

25      read off, did you reach a conclusion as to whether the



                           LORI A. SIMPSON, RMR-CRR
                                (612) 664-5104
     CASE 0:10-cr-00187-MJD-FLN
        Bryden - Direct         Doc. 285 Filed 11/25/13 Page 16 of 193       549


 1      references to "Hassan Dahir" were references to the

 2      specially designated global terrorist Hassan Dahir Aweys?

 3      A.   Yes, I did.

 4      Q.   And what was that conclusion?

 5      A.   That in all of those cases that the reference was to

 6      Sheikh Hassan Dahir Aweys.

 7      Q.   Now, Mr. Bryden --

 8                  MR. WARD:    If I could have Government's

 9      Exhibit 130, and this exhibit is not in evidence.           It's a

10      May 21, 2009 call.      And I would offer it at this time.

11                  MR. SCOTT:    Same foundation objection, Your Honor.

12                  MS. GURSTELLE:     No objection, Your Honor.

13                  THE COURT:    Be admitted.

14      BY MR. WARD:

15      Q.   Directing your attention, Mr. Bryden, to the "From" and

16      "To" lines, is this a conversation between Hassan Afgoye and

17      the Defendant Amina Ali?

18      A.   Yes, it is.

19      Q.   And continuing over to page 3, about the third time

20      Amina Ali speaks she says, "Oh, they will be startled.           I am

21      telling you, they will be startled.        They were saddened to

22      see the reports and hear about the recent unity meetings

23      that took place in Afgoye among the likes of Sheikh Hassan

24      Dahir"...

25                  Is that one of the references that you looked at?



                           LORI A. SIMPSON, RMR-CRR
                                (612) 664-5104
     CASE 0:10-cr-00187-MJD-FLN
        Bryden - Direct         Doc. 285 Filed 11/25/13 Page 17 of 193     550


 1      A.   Yes, it is.

 2      Q.   And do you believe that reference to be to Sheikh -- the

 3      specially designated global terrorist Sheikh Hassan Dahir

 4      Aweys?

 5      A.   Yes, I do.

 6      Q.   And following down, I see the Abu name, "Abu Zubeyr."

 7      Do you have an opinion as to who that's a reference to?

 8      A.   Yes.    I believe that's a reference to Ahmed Abdi

 9      aw-Mohamed Godane.

10      Q.   Is that the individual you have described as the amir --

11      A.   Yes.

12      Q.   -- of al-Shabaab?

13      A.   Yes, it is.

14      Q.   And continuing on, "Sheikh Hassan Turki," who does that

15      refer to?

16      A.   Hassan Turki was also a leading member of AIAI,

17      al-Ittihad al-Islam, and he was a leader of a group known as

18      the Ras Kamboni group, which was aligned initially -- it was

19      involved in the establishment of al-Shabaab.          And then parts

20      of his group broke away subsequently, but he remains aligned

21      with al-Shabaab.

22      Q.   And when you say "parts of his group," it's another

23      opposition militia, this Ras Kamboni Brigade?

24      A.   At that time it was an opposition militia.

25      Q.   Okay.   And is Sheikh Hassan al-Turki also a specially



                           LORI A. SIMPSON, RMR-CRR
                                (612) 664-5104
     CASE 0:10-cr-00187-MJD-FLN
        Bryden - Direct         Doc. 285 Filed 11/25/13 Page 18 of 193        551


 1      designated global terrorist under Executive Order 13224?

 2      A.   Yes, he is.

 3      Q.   And finally, there's a reference to "Abu Mansur."           Is

 4      this one of the other examples of where you concluded that

 5      Abu Mansur was referring to Mukhtar Robow?

 6      A.   Yes, it is.

 7                  MR. WARD:    If I could have Government's

 8      Exhibit 273, please.

 9      BY MR. WARD:

10      Q.   Now, we just talked about Hassan al-Turki, a specially

11      designated global terrorist.       Is this a copy of the Federal

12      Register notice --

13      A.   Yes, it is.

14      Q.   -- in which he was designated?

15      A.   Yes.

16                  MR. WARD:    Offer 273, Your Honor.

17                  MR. SCOTT:    We object, Your Honor, based on the

18      same grounds that we raised before trial.

19                  MS. GURSTELLE:     We join that objection.

20                  THE COURT:    Objection is overruled.      Be admitted.

21      BY MR. WARD:

22      Q.   If we could just focus directly on the center of the

23      page and can you just go ahead and read, Mr. Bryden,

24      starting after the -- starting below the bold.

25      A.   "Acting under the authority of section 1(b) of Executive



                           LORI A. SIMPSON, RMR-CRR
                                (612) 664-5104
     CASE 0:10-cr-00187-MJD-FLN
        Bryden - Direct         Doc. 285 Filed 11/25/13 Page 19 of 193   552


 1      Order 13224 of September 23, 2001, as amended by Executive

 2      Order 13286 of July 2, 2002 and Executive Order 13284 of

 3      January 23, 2003, and in consultation with the Secretary of

 4      the Treasury, the Attorney General, and the Secretary of

 5      Homeland Security, I hereby determine that Hassan Abdullah

 6      Hersi al-Turki, also known as Hassan al-Turki, has

 7      committed, or poses a significant risk of committing, acts

 8      of terrorism that threaten the security of U.S. nationals or

 9      the national security, foreign policy, or economy of the

10      United States."

11      Q.   Thank you, Mr. Bryden.      Can you describe for the jury

12      what the general consequences are of someone being

13      designated a specially designated global terrorist under

14      this particular executive order.

15                    MR. SCOTT:   I am going to object, Your Honor.

16      There's no qualification of him as an expert in U.S. law.

17                    THE COURT:   Overruled.   He may testify.

18                    THE WITNESS:   One of the principal consequences is

19      that it's prohibited for any U.S. entity or person to

20      transact business, to engage in financial dealings with a

21      designated global terrorist.

22      BY MR. WARD:

23      Q.   Okay.    So you can't send them money?

24      A.   Right.

25      Q.   And is this the same designation that applies to Sheikh



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     CASE 0:10-cr-00187-MJD-FLN
        Bryden - Direct         Doc. 285 Filed 11/25/13 Page 20 of 193   553


 1      Hassan Dahir Aweys, who we just talked about?

 2      A.   Yes, it is.

 3                   MR. WARD:    And could I have Government's

 4      Exhibit 231, please.

 5      BY MR. WARD:

 6      Q.   I'd ask if you can identify the individual in that

 7      picture.

 8      A.   That is Sheikh Hassan Turki.

 9      Q.   The individual we were just talking about, the specially

10      designated global terrorist?

11      A.   Yes.

12                   MR. WARD:    I would offer 231.

13                   MR. SCOTT:   No objection, Your Honor.

14                   MS. GURSTELLE:    No objection, Your Honor.

15                   THE COURT:   Be admitted.

16      BY MR. WARD:

17      Q.   Okay.   Now, you indicated that Hassan al-Turki, the

18      specially designated global terrorist, was the head of the

19      Ras Kamboni group.

20                   In the course of your work with the monitoring

21      group, are you familiar with the name Isse Kamboni?

22      A.   Yes, I am.

23      Q.   What's the relationship between Isse Kamboni and Sheikh

24      Hassan al-Turki?

25      A.   Isse Kamboni was a leading member of the Ras Kamboni



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                                (612) 664-5104
     CASE 0:10-cr-00187-MJD-FLN
        Bryden - Direct         Doc. 285 Filed 11/25/13 Page 21 of 193      554


 1      group.    He was also someone who at times received funds from

 2      various sources on behalf of the group and he was considered

 3      to be part of the hard core of the group when other elements

 4      split away.

 5      Q.   Did he have any particular position within the

 6      Ras Kamboni Brigades?

 7      A.   I don't recall any specific title.        Just that he was a

 8      known leader of the group.

 9                  MR. WARD:    So that the record is clear, I am

10      simply passing 231 to Mr. Bryden, which is the picture of

11      Hassan al-Turki, and I was going to ask him to write along

12      the bottom of it the name of the individual.

13                  THE WITNESS:    (Indicating.)

14      BY MR. WARD:

15      Q.   And in the center of 231, Mr. Bryden, there's the words

16      "HornAfrik."     Can you tell the jury what HornAfrik is.

17      A.   HornAfrik is a local television and radio station and

18      media enterprise based in Mogadishu.

19      Q.   And from the looks of the picture, is Hassan al-Turki,

20      the specially designated global terrorist, giving a press

21      conference?

22      A.   That's correct.

23      Q.   And going back to his subordinate Isse Kamboni, did you

24      review -- are there calls in the government's case that will

25      be played through Agent Wilson in which Isse Kamboni is a



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                                (612) 664-5104
     CASE 0:10-cr-00187-MJD-FLN
        Bryden - Direct         Doc. 285 Filed 11/25/13 Page 22 of 193        555


 1      speaker?

 2      A.    Yes, there are.

 3      Q.    And do you recall the numbers of those exhibits?

 4      A.    If I consult my notes, those would be Exhibits 18 and

 5      26.

 6                    MR. WARD:    If I could have Government's

 7      Exhibit 122, please.       Government's 122 is not in evidence

 8      and I would offer it at this time.

 9                    MR. SCOTT:   Same objection on foundation, Your

10      Honor.

11                    MS. GURSTELLE:    802 objection on the statements of

12      the individual that is not the defendant or co-defendant.

13                    THE COURT:   Objection is overruled.     Be admitted.

14      BY MR. WARD:

15      Q.    Mr. Bryden, is this an April 19, 2009 telephone call

16      that involves a man named Mo'alin Burhan and the Defendant

17      Amina Ali?

18      A.    Yes, it is.

19      Q.    And do you know Mo'alin Burhan?

20      A.    I do.

21      Q.    Who is he?

22      A.    Mo'alin Burhan is a routine speaker on the Paltalk

23      online forums that we discussed yesterday.         He's believed --

24      that's believed to be a nickname for a known Shabaab leader

25      known as Mahad or Mahdi Karatey, but Mo'alin Burhan per se



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                                 (612) 664-5104
     CASE 0:10-cr-00187-MJD-FLN
        Bryden - Direct         Doc. 285 Filed 11/25/13 Page 23 of 193   556


 1      is someone whom we have monitored soliciting funds,

 2      mobilizing support over online chat forums.

 3      Q.   When you say you monitored him, did you listen to his

 4      presentations on the Paltalk discussion forum?

 5      A.   Yes.

 6      Q.   Are you familiar with his voice?

 7      A.   I am familiar with his voice.

 8      Q.   Did you listen to Government's Exhibit 122, the audio,

 9      yourself?

10      A.   Yes, I did.

11      Q.   Is that the voice of Mo'alin Burhan?

12      A.   I believe it is.

13      Q.   The man you also suspect is named Mahad Karatey?

14      A.   Yes.

15      Q.   And where is he in the al-Shabaab leadership?

16      A.   Mahad Karatey has operated principally in the Mogadishu

17      area.    He's one of the senior figures from the Hawiye clan

18      to emerge as an al-Shabaab leader, especially following the

19      death of Aden Hashi Ayrow.

20      Q.   And is Mr. Ayrow the individual that you indicated was

21      part of the core leadership up until May of 2008?

22      A.   That's correct.

23      Q.   What happened to him?

24      A.   He was killed by an air strike.

25      Q.   Are you familiar with the name of an individual named



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     CASE 0:10-cr-00187-MJD-FLN
        Bryden - Direct         Doc. 285 Filed 11/25/13 Page 24 of 193        557


 1      Bashir Geelle Farah?

 2      A.   Yes, I am.

 3      Q.   And how is it that you have become familiar with him?

 4      A.   Through the same medium, through monitoring online chat

 5      forums, and he was identified in one forum we monitored as

 6      someone who -- to whom contributors should direct their

 7      funds and his telephone number and contact were given out

 8      online.

 9      Q.   Okay.   Now, Mr. Bashir Geelle Farah, is he someone that

10      you heard speaking on this discussion forum Paltalk?

11      A.   Yes, we did.

12      Q.   And where does Mr. Farah live?

13      A.   I'm not certain of where he lives, but I believe the

14      coordinates given in the call, one of the calls with the

15      forums we monitored, was the United Arab Emirates.

16      Q.   And if you know, sir, is he involved in the shipping of

17      clothes that are part of the evidence in the case?

18      A.   According to the calls that I have reviewed, yes.

19      Q.   I actually failed to ask you this, Mr. Bryden.          I know

20      you are aware of Mr. Farah, but is he in al-Shabaab?

21      A.   I don't know if he is al-Shabaab or not.         I know that

22      he's served that function, as a fund-raiser, for al-Shabaab.

23                   MR. WARD:   And going to Government's Exhibit 146,

24      which is not in evidence, it is a July 2, 2009 call.             I

25      would offer it.



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     CASE 0:10-cr-00187-MJD-FLN
        Bryden - Direct         Doc. 285 Filed 11/25/13 Page 25 of 193     558


 1                  MR. SCOTT:    Objection, foundation, Your Honor.

 2                  MS. GURSTELLE:     No objection, Your Honor.

 3                  THE COURT:    Be admitted.

 4      BY MR. WARD:

 5      Q.   And, Mr. Bryden, at the top of the page does it indicate

 6      that this is a telephone conference between Hassan Afgoye,

 7      a/k/a Abu Ayman, and the Defendant Amina Ali?

 8      A.   Yes, it does.

 9      Q.   And proceeding to page 6, the very last block where

10      Amina Ali is speaking, do you see where she says, "They hold

11      a fundraising event in one of the mosques every year and

12      they keep the raised funds for themselves"?

13      A.   Yes, I do.

14      Q.   And so she continues on to identify an individual.

15      "This is what happened -- I am not sure whether it was in

16      2007 -- the first time Hawo-Kiin informed me and I contacted

17      Abdullahi Timo-Jili'.      We had collected 11,000 from our area

18      and had handed it to him.       Hawo-Kiin informed that the men

19      were in very bad shape.      I obtained Abdillahi Timo-Jili's

20      number and he told me their situation was bad.          I called the

21      girls to another meeting and told them about the situation

22      and I said to them that we will not send anything to

23      Minneapolis anymore."

24                  Now, do you know who Abdulahi Timo Jili' is?

25      A.   Yes, I do.



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                                (612) 664-5104
     CASE 0:10-cr-00187-MJD-FLN
        Bryden - Direct         Doc. 285 Filed 11/25/13 Page 26 of 193         559


 1      Q.   Can you tell the jury.

 2      A.   Abdulahi Timo Jili' is another known Shabaab leader,

 3      reportedly from the Murursade sub-clan of the Hawiye.            He is

 4      considered to be a part of the faction within al-Shabaab

 5      most closely aligned with the amir, Ahmed Abdi Godane.            He

 6      was until his death I believe last year.

 7      Q.   Okay.   So in 2007 he was still alive?

 8      A.   Yes.

 9      Q.   When Amina Ali refers to "Hawo-Kiin," is that this

10      woman, the amira, Hawo-Kiin Raage, that we talked about

11      earlier?

12      A.   Yes, it is.

13                   MR. WARD:    If I could have Government's

14      Exhibit 217, please.

15      BY MR. WARD:

16      Q.   Do you have that in front of you, Mr. Bryden?

17      A.   Yes, I do.

18      Q.   And is it a picture of a man with some kind of a weapon?

19      A.   Yes, it is.

20                   MR. WARD:    I would offer 217, Your Honor.

21                   MR. SCOTT:   I'm not going to object, Your Honor.

22                   MS. GURSTELLE:    Objection, 402 and 403.

23                   THE COURT:   Overruled.    Be admitted.

24      BY MR. WARD:

25      Q.   Mr. Bryden, on the face of the picture there's a man



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                                (612) 664-5104
     CASE 0:10-cr-00187-MJD-FLN
        Bryden - Direct         Doc. 285 Filed 11/25/13 Page 27 of 193      560


 1      with a rocket launcher or something.        Can you describe what

 2      that weapon is to the jury.

 3      A.   That's a recoilless rifle.       It's used as an anti-tank or

 4      anti-vehicle weapon.      I'm not expert enough and the picture

 5      is not clear enough to say which kind it is, but a variant

 6      of probably the Carl Gustav style recoilless rifle.

 7      Q.   And are these the types of weapons that you come across

 8      in your job?

 9      A.   Yes, they are.     And this type of weapon is actually a

10      fairly recent addition to the al-Shabaab arsenal.

11      Q.   Okay.   And the notation on the picture itself,

12      "Kataiib.net," what's the significance of that?

13      A.   Kataiib.net was at one time considered to be the

14      official Internet site of al-Shabaab.         It's where they

15      published most of their communiqués and information that

16      they wanted their public to know about.

17      Q.   And you say "at one time."       I take it by that that the

18      official website of al-Shabaab changes from time to time?

19      A.   It does.

20      Q.   Do you recall any other websites that served as the

21      official website of al-Shabaab?

22      A.   There was Kataaib.net, Kataaib.info, al-Mujahid I

23      believe dot-net, al-Qimmah, which remains one of the most

24      important, Somali Memo.      Yes, it's changed over time.

25      Q.   Okay.   When you said -- did you say, "al-Mujahid"?



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                                (612) 664-5104
     CASE 0:10-cr-00187-MJD-FLN
        Bryden - Direct         Doc. 285 Filed 11/25/13 Page 28 of 193     561


 1      A.   Yes.

 2                  MR. WARD:    If I could have Government's

 3      Exhibit 220, please.

 4      BY MR. WARD:

 5      Q.   Is that another picture of people with weapons?

 6      A.   Yes, it is.

 7                  MR. WARD:    And I would offer Government's

 8      Exhibit 220.

 9                  MR. SCOTT:    Foundation and relevance, Your Honor.

10                  MS. GURSTELLE:     402 and foundation.

11                  THE COURT:    Foundation, lay some foundation.

12                  MR. WARD:    Your Honor, with respect to this photo,

13      there would be testimony from Special Agent Wilson as to

14      where the picture came from.

15                  THE COURT:    All right.    It will be admitted, but

16      make sure you shore up the foundation with Special Agent

17      Wilson.

18                  MR. WARD:    Yes, Your Honor.

19      BY MR. WARD:

20      Q.   Now, Mr. Bryden, on this picture, 220, the individuals

21      there are carrying various weapons.        The guy in the

22      foreground, what type of weapon is he carrying?

23      A.   I believe that's a PKM light machine gun.

24      Q.   And the individual right behind him?

25      A.   That's a rocket-propelled grenade launcher.



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     CASE 0:10-cr-00187-MJD-FLN
        Bryden - Direct         Doc. 285 Filed 11/25/13 Page 29 of 193     562


 1      Q.   Does it have a particular name?

 2      A.   It looks to me like an RPG-7.

 3      Q.   I apologize for the clarity of the picture.

 4                    The distinctive head dress that each -- of the

 5      three people that I can see, what's that called?

 6      A.   That's an immamad.

 7      Q.   And is that something that's characteristic of the

 8      al-Shabaab fighters?

 9      A.   It is.

10      Q.   Can you explain to the jury why the individuals have

11      their faces covered.

12      A.   This is also a characteristic of al-Shabaab fighters.

13      Ever since they first appeared, many of them have favored

14      covering their faces.      And as a guerilla movement this has

15      allowed them to operate freely even when Ethiopian or AMISOM

16      or TFG forces were in control of a given area, because their

17      identities were often unknown.

18      Q.   All right.    Mr. Bryden, is there a location affiliated

19      with al-Shabaab that's known as the Salahudin Center?

20      A.   Yes, there is.

21      Q.   Can you tell the ladies and gentlemen of the jury what

22      the Salahudin Center is.

23      A.   The Salahudin Center was established in late 2004, early

24      2005 by the al-Shabaab leader Aden Hashi Ayrow.          Ayrow was a

25      former fighter with AIAI, who had then subsequently traveled



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     CASE 0:10-cr-00187-MJD-FLN
        Bryden - Direct         Doc. 285 Filed 11/25/13 Page 30 of 193         563


 1      and trained in Afghanistan.

 2                   He, upon his return to Somalia, became the militia

 3      commander of a court, one of the Islamic courts in

 4      Mogadishu, one of the first, which was headed by Hassan

 5      Dahir Aweys.     The court was known as Ifka Halane.

 6                   Ayrow was closely associated with, in fact, his

 7      militia protected some members of the al-Qaeda East African

 8      Network and in late 2004, August 2004, Ayrow's house was

 9      attacked by other militia leaders who were trying to

10      apprehend one of these al-Qaeda figures, Abu Taha al-Sudan.

11                   Ayrow apparently then felt insecure and so he

12      relocated his base to a former Italian cemetery, a colonial

13      era cemetery dating from the pre-independence days.              His

14      fighters disinterred the remains in the cemetery and

15      established a mosque and a training center on the site and

16      it became known as the Salahudin Center.

17      Q.   And is it located in Mogadishu?

18      A.   Yes, it is located in north Mogadishu.

19      Q.   Okay.   As you were explaining the background of this,

20      you referred to some al-Qaeda members that were under the

21      protection of Aden Ayrow's militia.

22                   Is there any other relationship that you are aware

23      of between al-Shabaab and al-Qaeda, specifically directing

24      your attention to the time frame March 2009?

25      A.   There were multiple linkages between members of



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                                (612) 664-5104
     CASE 0:10-cr-00187-MJD-FLN
        Bryden - Direct         Doc. 285 Filed 11/25/13 Page 31 of 193        564


 1      al-Shabaab and individuals in the al-Qaeda East African

 2      Network, not only Ayrow, but these were pre-existing

 3      linkages from the early 1990s.       From 1998 --

 4      Q.   Let me just -- I wanted to try and focus on one

 5      particular linkage in the time frame March 2009.          Was there

 6      a communication between the al-Qaeda leadership --

 7      A.   Yeah.

 8      Q.   -- and al-Shabaab?

 9                   Can you tell the ladies and gentlemen of the jury

10      about that.

11      A.   In that specific period there was a statement from Osama

12      bin Laden, I believe it was entitled Fight on Lions of

13      Somalia, encouraging al-Shabaab to continue their struggle

14      even though Ethiopian forces had withdrawn from Somalia.

15      Al-Shabaab welcomed and responded to this statement and then

16      for about six months engaged in a media campaign called

17      Labaik Ya Osama or At Your Service Osama, including videos

18      and communiqués.

19      Q.   And when you say, "Labaik Ya Osama," is that in Arabic?

20      A.   Yes, it is.

21                   MR. WARD:   And if we could go to Exhibit 114.

22      BY MR. WARD:

23      Q.   That's another transcript and audio.        And, Mr. Bryden,

24      is that an April 3, 2009 telephone call?

25      A.   Yes, it is.



                           LORI A. SIMPSON, RMR-CRR
                                (612) 664-5104
     CASE 0:10-cr-00187-MJD-FLN
        Bryden - Direct         Doc. 285 Filed 11/25/13 Page 32 of 193    565


 1      Q.   Is it between Hassan Afgoye, also known as Abu Ayman,

 2      and the Defendant Amina Ali?

 3      A.   Yes, it is.

 4                  MR. WARD:    I would offer 114, Your Honor, and ask

 5      that we be allowed to play the call.

 6                  MR. SCOTT:    Same foundation objection, Your Honor.

 7                  MS. GURSTELLE:     No objection, Your Honor.

 8                  THE COURT:    Be admitted.    Play the call.

 9           (Audio recording played.)

10      BY MR. WARD:

11      Q.   Mr. Bryden, back on the first page when

12      Hassan Afgoye/Abu Ayman says that they had a lecture

13      at a place called Salahudin, is that a reference to the

14      Salahudin Center that you told us about?

15      A.   I believe it is.

16      Q.   And the next time that he speaks he says, "A center that

17      belongs to us -- a center located in Mogadishu"...

18                  Who is he referring to, what group is he referring

19      to when he says "us"?

20      A.   To al-Shabaab.

21      Q.   And continuing down where he says, "-- the title of the

22      lecture was, 'Here We Are At Your Service,'" that's in

23      italics.    That means it was in Arabic.       So is that the

24      Labaik Ya Osama campaign that you were talking about?

25      A.   That is the campaign.



                           LORI A. SIMPSON, RMR-CRR
                                (612) 664-5104
     CASE 0:10-cr-00187-MJD-FLN
        Bryden - Direct         Doc. 285 Filed 11/25/13 Page 33 of 193    566


 1      Q.   And continuing down again, where it says -- well,

 2      Defendant Amina Ali says, "Why would you say, 'Here We Are

 3      At Your Service, Osama'?       Why didn't you say, 'Here We Are

 4      At Your Service, God'?"

 5           He responds, "No, we simply accepted his calling; the

 6      sheikh had issued a decree."

 7                  Who is he referring to when he says "the sheikh"?

 8      A.   He is referring to Osama bin Laden.

 9      Q.   And what he is referring to when he had issued a decree?

10      A.   He is referring I believe to the statement by bin Laden,

11      "Fight on Lions of Somalia."

12      Q.   And continuing further down, as Hassan Afgoye continues

13      to talk to the Defendant Amina Ali he says, "We were letting

14      him know that we responded to his decree."

15                  Who is he referring to, what organization is he

16      referring to when he says "we"?

17      A.   To al-Shabaab.

18      Q.   And does Amina Ali go on to give him an earful and say

19      that you shouldn't have said we are giving an answer to

20      Osama?

21      A.   Yes, she does.

22      Q.   And continuing over to the next page, does she express

23      her concern that all it is going to do is stir up

24      animosities and reinforce the suspicions because he doesn't

25      provide financial support?



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     CASE 0:10-cr-00187-MJD-FLN
        Bryden - Direct         Doc. 285 Filed 11/25/13 Page 34 of 193       567


 1      A.   Yes, she does.

 2                  MR. WARD:    If I could have Government's

 3      Exhibit 256, please.

 4      BY MR. WARD:

 5      Q.   Mr. Bryden, if you could focus your attention on page 2

 6      of the exhibit, October 29, 2008, the al-Shabaab suicide

 7      bombing of Hargeisa and Bosaso.

 8      A.   Yes.

 9      Q.   Did such a suicide bombing take place in those two

10      cities?

11      A.   Yes, it did.

12      Q.   Where are they located?

13      A.   They are both located in northern Somalia.         One is the

14      capitol -- Hargeisa is the capitol of Somaliland.           Bosaso is

15      on the coast of the Gulf of Aden.        It is the commercial

16      capitol of Puntland.

17      Q.   Can you describe for the jury the activities or the

18      locations that were suicide bombed.

19      A.   In Hargeisa there were three targets.        One was an

20      Ethiopian office known as a trade mission there.          It's a

21      diplomatic outpost.      One was the presidency of the

22      Somaliland administration.       And the third was the offices of

23      the United Nations Development Programme.         In Puntland the

24      two targets were offices of the Puntland Intelligence

25      Service.



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     CASE 0:10-cr-00187-MJD-FLN
        Bryden - Direct         Doc. 285 Filed 11/25/13 Page 35 of 193        568


 1      Q.   How many total suicide bombers were involved in this

 2      activity?

 3      A.   At least five.

 4      Q.   And were these essentially simultaneous suicide

 5      bombings?

 6      A.   These were essentially simultaneous, five simultaneous

 7      bombings.

 8      Q.   And was one of the kids a Minneapolis resident?

 9      A.   Yes, he was.

10      Q.   And what was his name?

11      A.   Shirwa -- I don't recall off the top of my head.            Shirwa

12      Ahmed, I believe.

13      Q.   And do you know who was responsible for the suicide

14      bombings in Hargeisa and Bosaso?

15      A.   All the indications of this was an al-Shabaab operation.

16      There's no other organization in Somalia with that

17      capability.

18      Q.   Can you describe that any further, what the basis is for

19      your conclusion that it was al-Shabaab?

20      A.   Well, there are a number of elements.

21                  First, that al-Shabaab had already conducted

22      operations in Somaliland since 2003 and '04 killing a number

23      of aide workers and in I believe 2005, during Somaliland's

24      parliamentary elections, an al-Shabaab team had been

25      captured with weapons and explosives and had a plan to



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                                 (612) 664-5104
     CASE 0:10-cr-00187-MJD-FLN
        Bryden - Direct         Doc. 285 Filed 11/25/13 Page 36 of 193     569


 1      disrupt the elections with a bombing campaign, simultaneous

 2      bombings during the elections.       So there was a prior history

 3      of al-Shabaab activity in the region.

 4                  Again, as I said, there is no other organization

 5      with the capability to conduct simultaneous suicide bombings

 6      in Somalia.

 7                  The fact that they attacked both Puntland and

 8      Somaliland suggests that it's not internal opposition to

 9      either of those areas.      They were attacked both

10      simultaneously.

11                  And the involvement of bombers who had been

12      recruited from the United States -- a bomber from the United

13      States who had been recruited and traveled through the

14      channels used by al-Shabaab I think makes the point fairly

15      clearly.

16      Q.   And in the United States in the criminal prosecutions

17      that related to the events that Shirwa Ahmed participated

18      in, did those individuals talk about what their role was

19      with al-Shabaab?

20      A.   I'm sorry.    I didn't --

21                  MR. SCOTT:    Your Honor, I object.      That's about as

22      hearsay as you can get if something is happening in the

23      United States.     This witness is not a United States expert

24      and is being asked to, I think, talk about hearsay now more

25      so than normal.



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     CASE 0:10-cr-00187-MJD-FLN
        Bryden - Direct         Doc. 285 Filed 11/25/13 Page 37 of 193    570


 1                  MS. GURSTELLE:     We also object on hearsay, 802.

 2                  THE COURT:    Sustained.

 3      BY MR. WARD:

 4      Q.   Is there any evidence that you've considered in forming

 5      your opinion as to who was responsible for the Hargeisa and

 6      Bosaso bombings that relates to the individual who traveled

 7      from the United States?

 8      A.   In our investigations of the bombings in Hargeisa and

 9      Bosaso, we formed the opinion that it was an al-Shabaab

10      operation and that the individual named was involved.

11      Q.   When you say "the individual named" --

12      A.   Shirwa Ahmed.

13      Q.   Now, we'll hear some more about this later, but did

14      al-Shabaab ever claim responsibility for those suicide

15      bombings?

16      A.   Not that I'm aware of.

17                  MR. WARD:    Your Honor, I simply wanted to ask the

18      witness to mark the one picture that's in evidence, 223, and

19      consult with co-counsel.

20           (Discussion off the record between

21            Mr. Ward and Mr. Paulsen.)

22      BY MR. WARD:

23      Q.   Mr. Bryden, if you could just write the name of the

24      individual on the bottom of 223.

25      A.   (Indicating.)



                           LORI A. SIMPSON, RMR-CRR
                                (612) 664-5104
     CASE 0:10-cr-00187-MJD-FLN
        Bryden - Cross          Doc. 285 Filed 11/25/13 Page 38 of 193   571


 1                   MR. WARD:   And I have no further questions.

 2                               CROSS EXAMINATION

 3      BY MR. SCOTT:

 4      Q.   Mr. Bryden, you went to McGill University?

 5      A.   That's correct.

 6      Q.   And so would I be correct in guessing that you are

 7      Canadian born and raised?

 8      A.   I am British born and Canadian raised.

 9      Q.   So you are a citizen of what country?

10      A.   Both the U.K. and Canada.

11      Q.   Do you carry passports, then, from both countries?

12      A.   Yes, I do.

13      Q.   And do you carry passports from any other countries?

14      A.   I have been given passports that I don't use from other

15      countries, including Somalia, and I have been given a

16      Somaliland passport.

17      Q.   So you have passports from Somalia, Somaliland, the

18      United Kingdom, and Canada?

19      A.   That's correct.

20      Q.   And you said that you came to Somalia in about 1990?

21      A.   That's correct.

22      Q.   And did you come there as a civilian visitor or did you

23      have a -- were you involved in the military at that time?

24      A.   I was a civilian.

25      Q.   Okay.   And prior to coming there as a civilian -- just



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                                (612) 664-5104
     CASE 0:10-cr-00187-MJD-FLN
        Bryden - Cross          Doc. 285 Filed 11/25/13 Page 39 of 193     572


 1      let me go backwards for a moment.        You do have -- you were

 2      in the Canadian military?

 3      A.   That's correct.

 4      Q.   And what time period?

 5      A.   In 1985 until 1989.

 6      Q.   And then sometime after that, in 1990, you came to

 7      Somalia.    What part of Somalia did you come to first in

 8      1990?

 9      A.   I traveled to Mogadishu and almost immediately to Luuq

10      in the southwest.

11      Q.   Now, in 1990 when you arrived in Somalia, was Somalia at

12      peace internally?

13      A.   No.

14      Q.   And there was fighting going on in what parts of the

15      country when you arrived in 1990?

16      A.   There was fighting going on in the northwest, in the

17      central regions sporadically, and some guerrilla activity in

18      the area where I was located, in Luuq.

19                  MR. SCOTT:    How do I get to the document camera?

20      All I see is auxiliary PC right now.        Oh, main page.

21      BY MR. SCOTT:

22      Q.   Let me throw a map up, because it is far easier to talk

23      when we've got a map.

24                  So you said when you arrived there was fighting in

25      the northeast.     That would be Somaliland?



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                                (612) 664-5104
     CASE 0:10-cr-00187-MJD-FLN
        Bryden - Cross          Doc. 285 Filed 11/25/13 Page 40 of 193     573


 1      A.   The northwest.

 2      Q.   Excuse me.    Fighting in the Puntland area when you

 3      started?

 4      A.   No, not in the Puntland area.

 5      Q.   In the northwest, which eventually became Somaliland?

 6      A.   There and two other regions.

 7      Q.   Okay.   What two other regions are there?

 8      A.   In the central regions, here (indicating).         And guerilla

 9      activity where I was posted, here (indicating).

10      Q.   Now, when you came -- you said something just now, that

11      you were posted.     So you came as part of your employment?

12      A.   Yes.

13      Q.   And who were you working for when you first came?

14      A.   I was contracted by CARE International and I was

15      working -- I was seconded to the United Nations High

16      Commissioner For Refugees.

17      Q.   The fighting in the northwest part of Somalia, that

18      fighting, you were familiar with, had been going on for some

19      time period; is that right?

20      A.   It had been going on at a low level since 1983 and

21      full-scale war since 1988.

22      Q.   And the fight from -- when we are talking about the

23      full-scale war since 1988, can you tell the jurors who was

24      fighting with who.

25      A.   The fighting was a movement.       It was called the Somali



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                                (612) 664-5104
     CASE 0:10-cr-00187-MJD-FLN
        Bryden - Cross          Doc. 285 Filed 11/25/13 Page 41 of 193       574


 1      National Movement.      It was anchored in the Isaaq sub-clan.

 2      Q.   Stop for a moment because you give out all these clans

 3      and everything so fast I can't even write it down.           There

 4      was a clan in Somalia, the Isaaq, I-s-a --

 5      A.   -- a-a-q.

 6      Q.   And they were fighting with the government of?

 7      A.   Mohamed Siad Barre.

 8      Q.   Mohamed Barre.     And when you say this was more intense,

 9      what kind of casualties are we talking about that are taking

10      place back and forth during this time period?

11      A.   Well, the conventional estimates are that in the first

12      few months of that fighting somewhere between 50 and 60

13      thousand people were killed and somewhere in the region of

14      half a million moved to Ethiopia as refugees.

15      Q.   So nearly half a million people, then, are driven out of

16      northwestern Somalia and into, I take it, this area in here

17      (indicating)?

18      A.   A little further west or near Jijiga.

19      Q.   Right there (indicating)?

20      A.   Yeah.

21      Q.   And then stuck in refugee camps, in makeshift housing,

22      whatever they can find, right?

23      A.   Correct.

24      Q.   And maybe this is the time to be talking about that for

25      the moment.     All of the fighting that you have been talking



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                                (612) 664-5104
     CASE 0:10-cr-00187-MJD-FLN
        Bryden - Cross          Doc. 285 Filed 11/25/13 Page 42 of 193        575


 1      about that went -- was going back and forth from 1988

 2      through the present has resulted in a large number of people

 3      being displaced; is that right?

 4      A.   Absolutely.

 5      Q.   Fleeing for their lives?

 6      A.   Yes.

 7      Q.   And sometimes a number of them not making it because

 8      either they were killed -- the reason they were fleeing was

 9      because people were being killed or they're dying on the way

10      as they flee?

11      A.   Yes.

12      Q.   The breakdown of civil society?

13      A.   Yes.

14      Q.   And when they get to the camps, these camps are being --

15      let's say in Jijiga, the camps aren't waiting for them, they

16      arrive and then the camps sort of build out of the fact that

17      there's all these refugees there; would that be a fair

18      statement?

19      A.   That's a fair statement.      And then agencies come to

20      assist them, organize the camps.

21      Q.   Because the camps, until they're organized, are about as

22      lawless as you can possibly get, right?

23      A.   No, I wouldn't describe them as lawless.         Chaotic, yes.

24      Q.   And in the camps there's no real economic activity, it's

25      all humanitarian aid that's coming in, at least when they



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                                (612) 664-5104
     CASE 0:10-cr-00187-MJD-FLN
        Bryden - Cross          Doc. 285 Filed 11/25/13 Page 43 of 193   576


 1      first start?

 2      A.   Initially, but those camps were very busy economic hubs

 3      for --

 4      Q.   As time went along?

 5      A.   As time went along.

 6      Q.   Now, are there camps -- now, you talked about that camp

 7      in Ethiopia.     Were there other camps that developed in

 8      Ethiopia as well during the fighting?

 9      A.   Well, there were several camps in the Jijiga area, one

10      further east in the Kebre Beyah area and one near Luuq in

11      the southwest.     Let's see if I can -- just to the left of

12      that arrow in the Dolo Ado area.

13      Q.   And then there were a number of camps that were also

14      developed during the fighting over these years in Kenya?

15      A.   Yes.

16      Q.   Do you remember some of the names of those camps in

17      Kenya?

18      A.   Well, the biggest is known as Dadaab and --

19      Q.   Dadaab?

20      A.   Dadaab, D-a --

21      Q.   D-u-d-a-b would be good enough?

22      A.   D-a-d-a-a-b.

23      Q.   Okay.   And is there one that has like three letters in

24      the name, Ifo or some name like that?

25      A.   Within the Dadaab refugee complex there are several



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                                 (612) 664-5104
     CASE 0:10-cr-00187-MJD-FLN
        Bryden - Cross          Doc. 285 Filed 11/25/13 Page 44 of 193   577


 1      camps, Ifo, Dagahaley, Hagadera.

 2      Q.   Now, you said in the late '80s half a million people

 3      were displaced out of their homes in Somaliland as a result

 4      of the fighting?

 5      A.   Probably more if you count those who were internally

 6      displaced, yes.

 7      Q.   And let's get to the internal displacement for the

 8      moment, then, as long as we're talking about this.

 9      People -- besides the people that are driven clear out of

10      their country, there are people that are being driven away

11      from their homes and they're settling in other areas within

12      the confines of Somalia?

13      A.   Yes.

14      Q.   And there are refugee camps, then, within Somalia

15      itself?

16      A.   Yes.

17      Q.   I think you were testifying on direct examination about

18      one that's just outside of or just on the edge of Mogadishu

19      itself?

20      A.   Yes.     I mentioned Elasha Biyaha, which is one of the IDP

21      camps.

22      Q.   And that camp has been around now long enough that it's

23      basically a city, then, isn't it, in and of itself?

24      A.   It is.

25      Q.   It's been around for nearly a generation now?



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     CASE 0:10-cr-00187-MJD-FLN
        Bryden - Cross          Doc. 285 Filed 11/25/13 Page 45 of 193   578


 1      A.   No.    It's been around since the Ethiopian occupation, so

 2      since the beginning of January 2007.

 3      Q.   So that's a recent one.      There are camps literally in

 4      Somalia that -- or there are towns that developed out of

 5      these refugee camps; isn't that right?

 6      A.   There are some.     There are some small towns that have

 7      been formed that way, yes.

 8      Q.   And internally significant percentages of the population

 9      have been displaced, that is, kicked out of their homes for

10      at least -- and had their homes destroyed for at least some

11      period of time?

12      A.   Yes.    There's been constant movement, displacement,

13      relocation, migration over the last 20 years.

14      Q.   And let's talk some more about that displacement and

15      migration.    There are people who were not just displaced

16      from their homes, but there were people who came in and took

17      over their homes or took over their farms permanently?

18      A.   Yes, that's true.

19      Q.   Seized them?

20      A.   Yes.

21      Q.   Not always connected with any government or anything

22      else, just literally as a result of the lack of any

23      governmental control that was left?

24      A.   That and civil war, yes.

25      Q.   I mean, there's civil war, there's banditry, there's



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     CASE 0:10-cr-00187-MJD-FLN
        Bryden - Cross          Doc. 285 Filed 11/25/13 Page 46 of 193   579


 1      just straight up expropriation by people taking over other

 2      people's areas?

 3      A.   That's correct.

 4      Q.   Now, the heaviest fighting, then, when you came and the

 5      most vicious fighting with this kind of casualties, 40 and

 6      50 thousand people casualties, was taking place in what used

 7      to be British Somaliland?

 8      A.   That's correct.

 9      Q.   And in 1990 -- you were explaining in 1991 officially

10      they declared their independence?

11      A.   That's correct.

12      Q.   And they have remained an independent, separate country

13      of Somaliland ever since?

14      A.   Well, they have declared independence, but they are not

15      a separate country.      They are not recognized.

16      Q.   Okay.   Well, they think they're a separate country?

17      A.   That's correct.

18      Q.   You're a UN member.     You can't acknowledge that today?

19      A.   That's right.    They are not.     They --

20      Q.   But you have written in the past about them --

21      A.   Yes, I have.

22      Q.   -- declaring their independence and maintaining their

23      independence as an independent country?

24      A.   Yes.

25      Q.   And, in fact, some of your writings in the past have



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                                 (612) 664-5104
     CASE 0:10-cr-00187-MJD-FLN
        Bryden - Cross          Doc. 285 Filed 11/25/13 Page 47 of 193   580


 1      been about what to do and whether Somaliland should remain

 2      an independent country away from the rest of Somalia?

 3      A.   I have written extensively on the issue.

 4      Q.   And, in fact, you've written extensively on what would

 5      happen if Somalia ever got back together and decided that

 6      they wanted to take Somaliland back, that there would be,

 7      you predicted, further violence?

 8      A.   Yes, I did.

 9      Q.   Now, Somaliland then sort of withdrew, then, from the

10      rest of the troubles in Somalia?

11      A.   Yes.

12      Q.   Or at least they tried to?

13      A.   Correct.

14      Q.   They had their own problems, even after they declared

15      independence things have been up and down in terms of the

16      formation and continuation of the country, there has been

17      violence, and at least when it started some question whether

18      they would make it, right?

19      A.   That's correct.

20      Q.   But since then they've had how many elections?

21      A.   Four.

22      Q.   Four elections.     And this is elections in which the

23      people are allowed to vote?

24      A.   Yes.

25      Q.   All of them?    Women too?



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     CASE 0:10-cr-00187-MJD-FLN
        Bryden - Cross          Doc. 285 Filed 11/25/13 Page 48 of 193   581


 1      A.   Women too.

 2      Q.   And a central government has been set up?

 3      A.   That's correct.

 4      Q.   What type of a system is it?       Is it --

 5      A.   It's a bicameral legislature, two houses of parliament,

 6      executive presidential system.

 7      Q.   Closer to Britain or closer to the United States?

 8      A.   I would say closer to the United States.

 9      Q.   A more powerful president --

10      A.   Yes.

11      Q.   -- rather than a figurehead?

12                  And these elections, at least some of the more

13      recent ones, have actually been internationally monitored as

14      well for fairness?

15      A.   That's correct.

16      Q.   Now, let's compare that for a moment with the rest of

17      Somalia since the fall of the Barre government.

18                  You said on direct examination that the

19      northeastern portion of Somalia has declared itself to be at

20      least an autonomous region?

21      A.   Correct.

22      Q.   And the autonomous region of Puntland?

23      A.   Yes.

24      Q.   And Puntland and Somaliland have a little overlap that

25      has never been decided?



                           LORI A. SIMPSON, RMR-CRR
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     CASE 0:10-cr-00187-MJD-FLN
        Bryden - Cross          Doc. 285 Filed 11/25/13 Page 49 of 193    582


 1      A.    Correct.

 2      Q.    And there's been some tension between the group that was

 3      running Puntland and the people in Somaliland?

 4      A.    Yes.

 5      Q.    And this fellow Yusuf, he at one point or another was

 6      actually the leader of Puntland; is that right?

 7      A.    Abdullahi Yusuf, yes.

 8      Q.    I guess I am going to call him Yusuf because there are

 9      so many names I've got to pick one of them.

10                    When did that northwestern area declare itself to

11      be an autonomous region of Puntland?

12      A.    The northeastern.

13      Q.    Northeastern, yes.

14      A.    That was in 1998.

15      Q.    Okay.   And have there been elections in which the people

16      have all voted in Puntland?

17      A.    No.

18      Q.    And so Puntland, although it's declared itself to be

19      independent, is really a thiefdom, or was when it started, a

20      thiefdom of a particular warlord, Mr. Yusuf?

21      A.    I wouldn't characterize it that way.

22      Q.    He characterized himself as a warlord, though, didn't

23      he?

24      A.    He may have.    I don't think he used the term, but he

25      was --



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                                  (612) 664-5104
     CASE 0:10-cr-00187-MJD-FLN
        Bryden - Cross          Doc. 285 Filed 11/25/13 Page 50 of 193    583


 1      Q.   It might be in some of your writings, that he said I'm

 2      just a warlord?

 3      A.   He certainly had that tendency, but the Puntland

 4      administration emerged from a popular process.          It just

 5      never got to the point of elections.

 6      Q.   And so it's been in existence now for about 13 years and

 7      hasn't had any elections?

 8      A.   That's correct.

 9      Q.   And it is not recognized?

10      A.   No, and it doesn't seek recognition.

11      Q.   So as far as the government of Somalia is concerned,

12      Somaliland is a breakaway province?

13      A.   I think that's fair to say, yes.

14      Q.   And they've never managed to get your organization, the

15      United Nations, or any other significant national

16      organizations to recognize themselves as something separate?

17      A.   That's correct.

18      Q.   They don't acknowledge the supremacy of the Transitional

19      National Government or the Transitional Federal Government,

20      those --

21      A.   No, they don't, but they're hardly alone in that

22      position.

23      Q.   That's right.    Now -- and I am going to jump ahead and I

24      am going to go backwards, but as long as I'm here right now,

25      the first group to declare themselves the government of



                           LORI A. SIMPSON, RMR-CRR
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     CASE 0:10-cr-00187-MJD-FLN
        Bryden - Cross          Doc. 285 Filed 11/25/13 Page 51 of 193   584


 1      Somalia was the Transitional National Government?

 2      A.   Actually, no.    There was a first attempt in 1991 to

 3      declare a government.

 4      Q.   And that was General Aidid?

 5      A.   No.   That was Ali Mahdi Mohamed, who was a hotelier.

 6      Q.   A guy who ran a hotel declared himself to be the

 7      government?

 8      A.   Well, yes, and actually achieved a degree of

 9      recognition.

10      Q.   Okay.    It would be like Conrad Hilton declaring himself

11      to be the United States?

12      A.   I'm not sure about the parallel, but it could be.

13      Q.   At least if he had a militia to go along with him?

14      A.   That would be closer to the truth.

15      Q.   And this hotelier that you're talking about, he actually

16      did have a militia; isn't that right?

17      A.   He had part of a militia, yes, he did, a big one,

18      well-armed.

19      Q.   So the Transitional National -- and I get the TN and TF

20      mixed up all the time, but the Transitional National

21      Government was one in that series of 18 or 19 that you're

22      talking about?

23      A.   That's right.

24      Q.   Have they -- did they ever have an election in Somalia

25      with the Somali people --



                           LORI A. SIMPSON, RMR-CRR
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     CASE 0:10-cr-00187-MJD-FLN
        Bryden - Cross          Doc. 285 Filed 11/25/13 Page 52 of 193   585


 1      A.   No.

 2      Q.   -- the Transitional Federal Government?

 3      A.   No.

 4      Q.   Now, let's go back to the time -- the real time of

 5      troubles.    Somalia declared their independence in 1991, but

 6      by this point the fighting in the south was getting

 7      significant enough, the opposition groups, that I think your

 8      testimony on direct was that they drove Mohamed Siad Barre

 9      out of Mogadishu?

10      A.   That's right.

11      Q.   And you were there at the time?

12      A.   That's correct.

13      Q.   So you're living and watching what's happening?

14      A.   Yes.

15      Q.   Can you tell me and describe to the jurors the type

16      of -- what's happening, the type of chaos, what is happening

17      in 1991 in southern areas of Somalia, especially near the

18      centers of populations.

19      A.   Well, in January of 1991 the fighting reached the

20      capitol and there was a combination of first an uprising of

21      Ali Mahdi's militia in the north and then in late January

22      General Aidid's militia, which was nominally the same group,

23      entered the city.

24                  And there was an extremely violent period during

25      which Aidid's militia, who were mainly from the Hawiye and



                           LORI A. SIMPSON, RMR-CRR
                                (612) 664-5104
     CASE 0:10-cr-00187-MJD-FLN
        Bryden - Cross          Doc. 285 Filed 11/25/13 Page 53 of 193         586


 1      Habar Gidir sub-clan, persecuted members of other clans,

 2      notably from the Darod, who then fled towards the south.

 3                   There was then a period of fighting in two

 4      directions between, to simplify it, Darod militias and

 5      Hawiye militias, in one direction towards Kismayo up and

 6      down the coast and also between the east and the west

 7      between the Kenya border and Mogadishu.         And it was that

 8      back and forth that I mentioned in direct was in large part

 9      responsible for the emergence of a terrible famine in 1992

10      and '93.

11      Q.   So you've got General Aidid and his group sweeping in.

12      They're fighting against General Barre.         And they're more

13      than one group anyway?

14      A.   There are all kinds of subgroups and splinter groups.

15      Q.   And you've got a general uprising taking place at the

16      same time?

17      A.   No.   At that point the uprising is over.        Barre is gone.

18      It's now just clan militias fighting each other.

19      Q.   And they're -- I mean, I'll use a terrible word.            I'm

20      pulling up 267, just for the record.        And the Hawiye clan

21      that you are talking about, their color is -- on 267, their

22      color on 267 is -- are they the sort of darker blue that's

23      here (indicating)?

24      A.   Yes, they are.

25      Q.   Okay.   And they're fighting -- and they are taking it



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                                (612) 664-5104
     CASE 0:10-cr-00187-MJD-FLN
        Bryden - Cross          Doc. 285 Filed 11/25/13 Page 54 of 193   587


 1      out on another clan, then, the Darod clan, in essence?

 2      A.   That was a large part of the fighting, yes.

 3      Q.   And Darod is the other color gray, this color gray here

 4      (indicating)?

 5      A.   That's correct.

 6      Q.   And these are -- these two clans are the two biggest

 7      clans in Somalia in terms of population, in terms of the

 8      amount of people?

 9      A.   I think that's the conventional wisdom, but, as I said,

10      there's never been a census.

11      Q.   So what started as a popular uprising has now developed

12      into clan warfare?

13      A.   That's fair, yes.

14      Q.   And everybody in Somalia belongs to a clan?

15      A.   Yes.

16      Q.   So it's like total war in a lot of ways, there's no --

17      you're not safe basically anywhere you are where there's

18      fighting?

19      A.   For about the first two years that was true.

20      Q.   So one side would sweep in, butcher their enemies, and

21      the other side would sweep in and butcher the other people

22      going back?

23      A.   As I said, the first two years, yes, that was the case.

24      Q.   And places like -- and give me just a rough percentage.

25      How many people in the area that we're talking about near



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                                (612) 664-5104
     CASE 0:10-cr-00187-MJD-FLN
        Bryden - Cross          Doc. 285 Filed 11/25/13 Page 55 of 193   588


 1      Mogadishu all the way down to Kismayo where the big cities

 2      are and the agricultural areas are, what percentage of those

 3      people do you think got displaced over this two years?

 4      A.     Over those two years I couldn't say, but a ballpark

 5      figure, I mean, probably at least half at one time or

 6      another, maybe more.

 7      Q.     Okay.   And what protection did these people, the regular

 8      people, have during this time period?

 9      A.     If they had -- if they were from a clan with a powerful

10      militia, that was about the only guarantee of security they

11      had.

12      Q.     And this went on for about two years?

13      A.     That type of fighting went on for two years.

14      Q.     And as a result of all of these people being displaced,

15      the production of food and I would guess the production of

16      almost everything else basically came to a halt?

17      A.     That's correct.   And there was also looting of food

18      surpluses.

19      Q.     And so when you say "the famine," the famine was induced

20      by the fighting, that is, there's no food, there's no money,

21      there's no food coming in, it's all been taken, people are

22      now starving literally as a result of war?

23      A.     Yes.

24      Q.     And that's when the United Nations came in and the

25      United States came in to try to do something about that?



                            LORI A. SIMPSON, RMR-CRR
                                 (612) 664-5104
     CASE 0:10-cr-00187-MJD-FLN
        Bryden - Cross          Doc. 285 Filed 11/25/13 Page 56 of 193          589


 1      A.   That's right.

 2      Q.   And when they originally came in, they set themselves up

 3      in Mogadishu for the purpose of providing humanitarian aid?

 4      A.   That's right.

 5      Q.   And you were living through all of this at the time?

 6      A.   Yes.

 7      Q.   And, in fact, when this was happening in '92 and '93,

 8      you were still working for --

 9      A.   I was an adviser to the Canadian ambassador.

10      Q.   By this point that's when the Canadians had said we know

11      who you are and you managed to be able to be there and

12      earning a living watching this?

13      A.   That's correct.

14      Q.   How old were you then in that time period?

15      A.   24, 25.

16      Q.   Would you say it was horrifying?

17      A.   Yes, I would.

18      Q.   And we talked about Black Hawk Down for a moment.           That

19      was a skirmish where the United States had gone outside to

20      try to -- outside the containment area to try to accomplish

21      something and they failed?       I think they were chasing after

22      General Aidid.

23      A.   They were chasing Aidid, yes.

24      Q.   And they failed and a number of them were killed; is

25      that right?



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                                (612) 664-5104
     CASE 0:10-cr-00187-MJD-FLN
        Bryden - Cross          Doc. 285 Filed 11/25/13 Page 57 of 193         590


 1      A.   18 were killed.

 2      Q.   So General Aidid was still a power figure there?

 3      A.   Yes, he was.

 4      Q.   And had he come out of -- now, he called himself General

 5      Aidid.    Had he been a general in the armies of Mohamed Barre

 6      or is this self-appointed?

 7      A.   I'm not sure.    I know he made the rank of colonel.        I'm

 8      not sure if he actually was a general under Siad Barre.

 9      Q.   So he is in a lot of ways an opportunist who when the

10      boss is out decides to take over?

11      A.   He was I believe acting as ambassador.        He was called

12      back by his group to lead their fighters.

13      Q.   And eventually even the United Nations pulled out?

14      A.   The forces pulled out.      The UN remained.     The aid

15      agencies remained.

16      Q.   And what protection did the aid agencies then get from

17      this chaos that surrounded them?

18      A.   Generally they either engaged their own guards and

19      eventually they had something they called the blue shirts,

20      who were their own local security.

21      Q.   So they hired their own militia, in essence?

22      A.   They did hire their own militia.

23      Q.   Tell me how there is some sort of status quo started to

24      be reached where -- because you can't fight forever because

25      eventually everybody is dead.       Some sort of status quo



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                                 (612) 664-5104
     CASE 0:10-cr-00187-MJD-FLN
        Bryden - Cross          Doc. 285 Filed 11/25/13 Page 58 of 193   591


 1      started to be reached.      Tell the jury sort of what was

 2      happening in the southern areas of Somalia to bring some

 3      order to this process.

 4      A.   Well, after the withdrawal of UN forces in 1995 there

 5      was a period of, as you say, a sort of status quo that set

 6      in until 2000.     And by that time clan warfare had

 7      diminished.    It was much less dangerous for people to move

 8      through the country.

 9                   Warlords emerged who -- basically if you could

10      control a port or an airport or a piece of road, anything

11      you could tax, you could set yourself up as a warlord with a

12      clan militia and you used that money to sustain your

13      militia.

14                   And through that period there were a series of

15      conferences called by different governments and different

16      authorities trying to set up a new administration and a new

17      government for Somalia.      So basically you held your

18      territory, taxed your people, set up a militia, and that was

19      your ticket to a peace conference.

20                   And that went on for a number of years without

21      anything emerging except the establishment of Puntland in

22      1998.    That was the main development in that period.

23      Q.   Okay.    So in the south, then, what you're talking about

24      is local strongmen often connected to this clan leadership?

25      A.   Yes.



                           LORI A. SIMPSON, RMR-CRR
                                (612) 664-5104
     CASE 0:10-cr-00187-MJD-FLN
        Bryden - Cross          Doc. 285 Filed 11/25/13 Page 59 of 193         592


 1      Q.   Local strongmen connected to the clan leadership would

 2      pull together fighters to protect literally their

 3      neighborhoods to start with?

 4      A.   In Mogadishu, yes.

 5      Q.   And outside of that, to protect farming areas or

 6      whatever the small towns were and they had to pull together

 7      their own protection, their own fighters to be able to hold

 8      off the other strongmen and the remnants of all of these

 9      groups sweeping back and forth?

10      A.   I'm not sure protection was the driving motivation for

11      most of them, but that's close enough.

12      Q.   It would be for the people who were underneath them,

13      though, wouldn't it?

14      A.   Well, these were --

15      Q.   You would accept the warlord not just because he had

16      guns, but because he provided some protection?

17      A.   He provided protection and also extortion.         You had to

18      take one with the other.

19      Q.   Like the mafia?

20      A.   Yeah.

21      Q.   You take the good with the bad?

22      A.   Right.

23                    THE COURT:   All right.   Let's stop here.     Let's

24      take our morning break.      We'll take a 15-minute break.       All

25      rise for the jury.



                            LORI A. SIMPSON, RMR-CRR
                                 (612) 664-5104
     CASE 0:10-cr-00187-MJD-FLN
        Bryden - Cross          Doc. 285 Filed 11/25/13 Page 60 of 193        593


 1             (Recess taken at 10:32 a.m.)

 2                                 *     *   *     *    *

 3             (10:57 a.m.)

 4                                     IN OPEN COURT

 5                                  (JURY PRESENT)

 6                   THE COURT:    You may continue.

 7      BY MR. SCOTT:

 8      Q.     Let me just go backwards just a little bit.          We were

 9      talking about the strongmen, but I want to talk just a

10      little bit more about the clans.

11                   You said on direct that in essence Somalia for

12      almost all of its existence has never been a unified

13      country?

14      A.     It didn't have a single state until the colonial period.

15      Q.     And so -- and I have got the map, which is just for the

16      record 267, Government's 267.            I have got the map of the

17      Somali clans.     Did they all -- I want to get this figured

18      out.    Do people identify themselves as Darod sub-clan

19      sub-clan or Hawiye sub-clan sub-clan or did the word

20      "Somali" ever come out at the top?             In other words, I am

21      trying to figure out whether these people just identify

22      themselves with their individual clans or whether there was

23      this thought that we are all Somalis.

24      A.     Both at once.    Somali nationalism has been very powerful

25      at times in the past.



                              LORI A. SIMPSON, RMR-CRR
                                   (612) 664-5104
     CASE 0:10-cr-00187-MJD-FLN
        Bryden - Cross          Doc. 285 Filed 11/25/13 Page 61 of 193     594


 1                   THE COURT:   I'm sorry.    I didn't hear you.

 2                   THE WITNESS:   Somali nationalism has been very

 3      powerful at times and identity is a matter of context and

 4      where you are, what the issue is, but nationalism among

 5      Somalis, even Somalis who live in other countries, Ethiopia,

 6      Kenya, Djibouti, the sense of being Somali is very powerful.

 7      BY MR. SCOTT:

 8      Q.   Okay.    So that -- and this is not anything new in and of

 9      itself?

10      A.   No.

11      Q.   So the people who are up in Somaliland that are

12      primarily the Isaaq clan, they've always considered

13      themselves Somalis of the Isaaq clan?

14      A.   Somalis and Isaaq, yes.

15      Q.   And we can see from the map that --

16                   THE COURT:   Excuse me, Mr. Scott.

17                   Help me a little bit.     It's never been a unified

18      country.     Where did the term "Somalia" come from and how did

19      these clans in some sense feel connected?

20                   THE WITNESS:   I think many -- there may be

21      disagreement, but I think principally during the colonial

22      period, the early 20th century, there were -- we saw the

23      real early flames of Somali nationalism and particularly the

24      Somali Youth League, which was a group, a party really, from

25      all parts of Somalia, who lobbied for the unification of all



                           LORI A. SIMPSON, RMR-CRR
                                (612) 664-5104
     CASE 0:10-cr-00187-MJD-FLN
        Bryden - Cross          Doc. 285 Filed 11/25/13 Page 62 of 193   595


 1      Somalis under a single flag.       So this sense of Somali

 2      nationalism is maybe not a century old, but certainly since

 3      the early 20th century.

 4      BY MR. SCOTT:

 5      Q.   And we can see from the map that the present lines of

 6      Somalia are just, you know, maybe half of the area in which

 7      people who claim to be Somali live, correct?

 8      A.   Correct.

 9      Q.   And if you had gone back 150 years ago before the West

10      moved in and drew the lines, the people out in the Ogaden

11      Desert considered themselves Somalis and they really didn't

12      know where there were any lines of --

13      A.   Correct.

14      Q.   -- countries?

15                    A big chunk, then, of Somalia is in the herdsmen

16      business, the livestock business?

17      A.   Yes.

18      Q.   Camels, cattle?

19      A.   Yes.

20      Q.   Goats?

21      A.   Yes.

22      Q.   And that's because the land is too dry to farm?

23      A.   Most of it, yes.

24      Q.   And it's semi desert to almost desert to real desert?

25      A.   Yes.



                            LORI A. SIMPSON, RMR-CRR
                                 (612) 664-5104
     CASE 0:10-cr-00187-MJD-FLN
        Bryden - Cross          Doc. 285 Filed 11/25/13 Page 63 of 193   596


 1      Q.   And so you've got cattle, which you are feeding them

 2      during the rainy season and then you're moving them off that

 3      land maybe 30, 40, 50 miles or a hundred miles away for a

 4      different season where they can be fed?

 5      A.   Yes.

 6      Q.   And that's why the national boundaries didn't mean much,

 7      because the people who were handling livestock had to move

 8      over vast areas just to keep their cattle fed so they could

 9      later market them?

10      A.   Correct.

11      Q.   And that's a big chunk of the export business

12      traditionally of Somalia, is livestock, right?

13      A.   Yes.

14      Q.   And it is to this day in Somaliland a big chunk of their

15      business, right?

16      A.   Somaliland and much of Somalia.

17      Q.   Now, after -- and I am stepping ahead just a little bit

18      in terms of the clan stuff.       One of the problems with

19      drawing these lines is that the line between Ethiopia and

20      Somalia didn't fit with the lines where the herdsmen were

21      going back and forth with their herds?

22      A.   Correct.

23      Q.   And there had been some tension relating to that ever

24      since they started drawing country lines, right?

25      A.   I would say more than tension, yes.



                           LORI A. SIMPSON, RMR-CRR
                                (612) 664-5104
     CASE 0:10-cr-00187-MJD-FLN
        Bryden - Cross          Doc. 285 Filed 11/25/13 Page 64 of 193       597


 1      Q.   Now let's go back and talk about the economy, the rest

 2      of the economy.     That is, what happened to the economy of

 3      southern Somalia as a result of all of this chaos?           Did

 4      the -- the economy, I take it, pretty much collapsed?

 5      A.   Well, that's the interesting thing.        Actually, it

 6      didn't.    That's what one would have expected.

 7      Q.   Okay.

 8      A.   In a paradoxical way the chaos of the civil war, the

 9      violence, the displacement co-existed with a fairly

10      unbridled economic growth in some sectors.         All of a sudden

11      economic activity that had been controlled by the state,

12      monopolized by the state under Siad Barre became completely

13      free enterprise and so telecommunications went private,

14      money remittance companies, unregulated export, airlines.

15      So some sectors of the economy boomed.         It's a striking

16      contrast.

17      Q.   So Siad Barre was, I think you had said -- when you were

18      talking about the clans, how important they were, you said

19      except for a certain time during the time Barre was there.

20      He was not clan oriented, I take it?

21      A.   He was.    That was one of the reasons his government

22      collapsed.     He started off with a message of nationalism

23      that was very popular, but increasingly centralized control

24      among his relatives and other parts of the Somali population

25      disengaged and eventually started to fight.



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                                (612) 664-5104
     CASE 0:10-cr-00187-MJD-FLN
        Bryden - Cross          Doc. 285 Filed 11/25/13 Page 65 of 193       598


 1      Q.   So he tried to control all of the business?

 2      A.   It was a scientific socialist government.         Much of the

 3      business was a state monopoly, state controlled.

 4      Q.   Semi-Marxist, in other words?

 5      A.   Yes.

 6      Q.   So now after the worst of the civil wars had died down,

 7      what you are talking about, as you said, is strongmen who

 8      control areas, control populations, and they have militias?

 9      A.   Yes.

10      Q.   And they're occasionally fighting with each other, but

11      most of the time they're just trying to control their areas?

12      A.   Trying to control their areas, trying to prevent rivals

13      from emerging within their own groups, aligning,

14      re-aligning, constant shifting of alliances.

15      Q.   Sounds like the five families in New York, Lucchese,

16      Gambino --

17      A.   I am not familiar with them.

18      Q.   They're re-aligning, but they are jostling, trying not

19      to jostle too hard because then they're fighting with

20      somebody and somebody else could fight with them on the

21      other side?

22      A.   That's true.

23      Q.   So there's just -- it's a low-level conflict --

24      A.   Yes.

25      Q.   -- would that be the best way of saying it?



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                                 (612) 664-5104
     CASE 0:10-cr-00187-MJD-FLN
        Bryden - Cross          Doc. 285 Filed 11/25/13 Page 66 of 193     599


 1      A.   Low intensity conflict, yes.

 2      Q.   But still no government?

 3      A.   Correct.

 4      Q.   Now, you identified on direct the TNG, the Transitional

 5      National Government, and that was formed around the year

 6      2000?

 7      A.   Yes.

 8      Q.   About nine years after the collapse of the government in

 9      the south?

10      A.   Yes.

11      Q.   And the Transitional National Government was a

12      negotiating process before 2000 in which various of these

13      warlords or these, we'll call them, stakeholders were

14      brought together to try to see if some sort of negotiation

15      could be put together to put together a government?

16      A.   Actually that process, which was called for by the

17      Djibouti government, they were invited to Djibouti to

18      talk --

19      Q.   Right.

20      A.   -- essentially excluded the warlords.        It tried to bring

21      together civil society, traditional elders.          Some people

22      considered warlords sneaked in, but it was intended to

23      exclude them.

24      Q.   So it was a government of people who basically had no

25      power?



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     CASE 0:10-cr-00187-MJD-FLN
        Bryden - Cross          Doc. 285 Filed 11/25/13 Page 67 of 193   600


 1      A.   That was part of the problem.

 2      Q.   It was -- it got together the professors and the

 3      professors all worked out the way they thought things ought

 4      to be and then they turned around and realized that all they

 5      had were professors?

 6      A.   Well, they went back to Mogadishu and many of the

 7      warlords who had been excluded moved against them and had

 8      Ethiopian support to do so.

 9      Q.   And so for all intents -- now, that group, as you said

10      earlier, that group set itself up outside of -- originally

11      outside of Somalia itself, right?

12      A.   Yes.

13      Q.   And it was in essence we should be able to try to put

14      some sort of government together here, let's take this and

15      move it in?

16      A.   Yes.

17      Q.   Did they have -- when they moved into Mogadishu, did

18      this group, the Transitional National Government, did they

19      have security forces to protect them?

20      A.   Yes, they did.

21      Q.   And those security forces came from?

22      A.   Mainly from powerful businessmen and members of the

23      principal -- well, the clans of the principal leaders of the

24      government.

25      Q.   And when you say "powerful businessmen" -- you know, I



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                                (612) 664-5104
     CASE 0:10-cr-00187-MJD-FLN
        Bryden - Cross          Doc. 285 Filed 11/25/13 Page 68 of 193        601


 1      would guess that whoever controls the port of Mogadishu has

 2      to do it with his own army and makes his money as the port

 3      authority.    That would be a powerful businessman, right?

 4      A.   That's true.

 5      Q.   And I'm sure there was such a person, wasn't there?

 6      A.   There have been several, yes.

 7      Q.   And Kismayo being one of the other big ports naturally

 8      would have evolved into someone who controlled the port, had

 9      his own militia to keep the other people that might want to

10      control the port there?

11      A.   Yeah, family businesses.

12      Q.   So some sort of civilized, but not the government?

13      A.   Yeah.

14      Q.   Did they ever, that group, the Transitional National

15      Government, did they ever control significant portions of

16      Somalia?

17      A.   No.

18      Q.   And I think your testimony was that eventually, then,

19      they went back to the drawing table and started to draw up a

20      more inclusive government in some ways?

21      A.   In fact, essentially Ethiopia got its own way and tried

22      to displace that group, which it didn't like.          And although

23      it was billed as a more inclusive process, it was actually

24      an attempt to bring together people acceptable to Ethiopia

25      and to displace the Transitional National Government.



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     CASE 0:10-cr-00187-MJD-FLN
        Bryden - Cross          Doc. 285 Filed 11/25/13 Page 69 of 193       602


 1      Q.   Okay.   I guess now is the time to talk about Ethiopia,

 2      then.    Ethiopia throughout this process since 1991 has been

 3      meddling in the affairs of Somalia?

 4      A.   Yes.

 5      Q.   And for their own national self-interest?

 6      A.   Yes.

 7      Q.   And they have fought --

 8                   THE COURT:   What is their self-interest?

 9                   MR. SCOTT:   Whatever it might be.      Whatever they

10      think their self-interest is.

11                   THE WITNESS:   Yes, the general -- I think the

12      general view is that Ethiopia does not wish to see a strong,

13      united Somalia re-emerge and especially not one that might

14      align with its geopolitical rivals, such as Egypt.

15      BY MR. SCOTT:

16      Q.   And on top of that, one of the other problems is land

17      mass, we are not talking about people, but in land mass the

18      Somali people occupy a big area of the desert part of

19      Ethiopia?

20      A.   Of eastern Ethiopia, yes.

21      Q.   And there have been troubles with that, you've already

22      said?

23      A.   There have been wars.

24      Q.   So Ethiopia has what it feels is a very big

25      self-interest in maybe even keeping Somalia the way it is



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     CASE 0:10-cr-00187-MJD-FLN
        Bryden - Cross          Doc. 285 Filed 11/25/13 Page 70 of 193    603


 1      now?

 2      A.     Possibly.

 3      Q.     You know, if a failed state, then it's not a rival?

 4      A.     It's possible.

 5      Q.     So there have been how many wars from 1991 -- I

 6      shouldn't say "wars."       That's the wrong word.     How many

 7      times have there been significant Ethiopian clashes between

 8      Ethiopia and Somali groups in the last 20 years now?

 9      A.     Inside Somalia the principal clashes were in December

10      '96, January '97, and then again in 2006 an occasional

11      skirmishing at the border.

12      Q.     And then I think you testified on direct that there had

13      been a conflict between Siad Barre and Ethiopia that had not

14      gone well for Somalia back in the '80s?

15      A.     '77 and '78, the Ogaden War.

16      Q.     And there was a low-level resistance to Ethiopia going

17      on in the Ogaden Desert --

18      A.     Yes.

19      Q.     -- during this time period as well?

20      A.     That's correct.

21      Q.     And, in fact, that conflict was -- the leader of that

22      conflict was Mr. Aweys, wasn't it?

23      A.     No.

24      Q.     That was the II --

25      A.     That was the Western Somali Liberation Front and then



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                                (612) 664-5104
     CASE 0:10-cr-00187-MJD-FLN
        Bryden - Cross          Doc. 285 Filed 11/25/13 Page 71 of 193          604


 1      the Ogaden National Liberation Front.

 2      Q.   I can't keep all of it straight myself.

 3                   So in 2003 the outside parties that are around the

 4      edges of Somalia helped sponsor another negotiation to try

 5      to set up another transitional government?

 6      A.   2002, yes.

 7      Q.   2002.   And it took until 2004 before it came together?

 8      A.   Correct.

 9      Q.   And when I talk about outside, is there a word for that

10      group?

11      A.   Yes, IGAD.

12      Q.   I-G-A-D?

13      A.   I-G-A-D, the Intergovernmental Authority on Development.

14      Q.   And that's Kenya, Ethiopia --

15      A.   Ethiopia, Djibouti, Eritrea, although Eritrea suspended

16      participation, Sudan, and Somalia, but Somalia has -- was at

17      that time an absent member.

18      Q.   Okay.   So it's the group of the Horn of Africa?

19      A.   Correct.

20      Q.   The interested neighbors?

21      A.   Yes.

22                   THE COURT:   Well, let me ask this question.        Just

23      historical -- you started in 1990, but dealing with Ethiopia

24      and Somalia, it goes back to the British occupation and

25      British giving the Ogaden region to Ethiopia and not to



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                                (612) 664-5104
     CASE 0:10-cr-00187-MJD-FLN
        Bryden - Cross          Doc. 285 Filed 11/25/13 Page 72 of 193   605


 1      Somalia?

 2                   THE WITNESS:   Your Honor, it goes back to even

 3      earlier, to competition between the Ethiopian Empire in the

 4      late 19th century and the Ottoman Empire, Turkey and Egypt

 5      at that time, but the real trouble started with partition --

 6      the colonial partition in I think 1884 in Berlin when the

 7      borders were drawn.

 8                   THE COURT:   Okay.   Go ahead.

 9                   MR. SCOTT:   Thank you, Your Honor.

10      BY MR. SCOTT:

11      Q.   And in essence it goes back for a very, very long time

12      because Ethiopians are the -- I wouldn't call them the hill

13      people, but the mountain people, Abyssinia is the -- that's

14      the center of their civilization?

15      A.   You could say it goes back to I believe the 15th century

16      when the forces of Ahmed Gurey, an Islamic leader, invaded

17      Abyssinia.

18      Q.   So they haven't been friends?

19      A.   No.

20      Q.   And you said that the process when they were going to

21      form -- that eventually resulted in the Transitional Federal

22      Government was started, at least partially, to do something

23      to try to placate the Ethiopians and still put together a

24      government for Somalia?

25      A.   It was driven by the Ethiopians.



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                                (612) 664-5104
     CASE 0:10-cr-00187-MJD-FLN
        Bryden - Cross          Doc. 285 Filed 11/25/13 Page 73 of 193   606


 1      Q.   And would it be fair to say that when Yusuf, all of the

 2      names, when Yusuf became the president of the Transitional

 3      Federal Government, that Ethiopia got its way?

 4      A.   Yes, that's correct.

 5      Q.   And it was -- I think I am going to quote you when I say

 6      it, but it was widely perceived at that point that he was in

 7      league with Ethiopia?

 8      A.   Yes.

 9      Q.   And when I say "widely perceived," I mean by the other

10      stakeholders in Somalia.

11      A.   I think in Somalia and internationally, and I'm

12      certainly on record as having said it at the time.

13      Q.   Now, this group, the Transitional Federal Government,

14      the TFG, were they elected by the people of Somalia?

15      A.   No.

16      Q.   And have they held an election in Somalia since their

17      formation in 2004?

18      A.   No.

19      Q.   And, in fact, if I was reading some of your materials,

20      they just recently extended their mandate another three

21      years without any election?

22      A.   The parliament did.     The agreement now is one year,

23      until August next year, yes.

24      Q.   So this is a group that was basically put together by

25      powerbrokers?



                           LORI A. SIMPSON, RMR-CRR
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     CASE 0:10-cr-00187-MJD-FLN
        Bryden - Cross          Doc. 285 Filed 11/25/13 Page 74 of 193   607


 1      A.   Yes.

 2      Q.   Now, let me understand this.       When the Transitional

 3      Federal Government set itself up, it set itself up

 4      originally in Kenya, right?

 5      A.   Correct.

 6      Q.   So the government of Somalia, the professed government

 7      of Somalia, is sitting in Kenya?

 8      A.   Yes.

 9      Q.   And one of the first things that the president of this

10      group said was give me 20,000 foreign troops because I need

11      them?

12      A.   Yes.

13      Q.   In essence to -- so I can invade my country, so I can go

14      in and take over my own country, right?

15      A.   Yes.   And I would add that he made the statement while

16      in Addis Ababa, so people could read between the lines.

17      Q.   He was actually in the capitol of Ethiopia when he

18      originally made the statement?

19      A.   Yes.

20      Q.   Oh, wow.

21                  THE COURT:    Well --

22      BY MR. SCOTT:

23      Q.   And he wouldn't go back, in fact --

24                  THE COURT:    Excuse me for a second.      I don't

25      mean -- just for historical purposes, Free France was



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     CASE 0:10-cr-00187-MJD-FLN
        Bryden - Cross          Doc. 285 Filed 11/25/13 Page 75 of 193         608


 1      outside of France?

 2                   THE WITNESS:   Yes, Your Honor.

 3                   THE COURT:   And so it doesn't mean that -- and

 4      certainly Britain and the United States during World War II

 5      were supporting Free France against the Nazis?

 6                   THE WITNESS:   Yes, Your Honor.

 7                   THE COURT:   So just because a government is

 8      outside or individuals are outside of their country does not

 9      mean that they're not legitimate?

10                   THE WITNESS:   Yes, Your Honor.

11      BY MR. SCOTT:

12      Q.     But he did call upon the Ethiopians to come in, did he

13      not?

14      A.     He did.

15      Q.     And, in fact, he engineered it so they did come in; is

16      that correct?

17      A.     Subsequently.   That's two years later.

18      Q.     Well, he kept asking the whole time.

19      A.     Yes, but I wouldn't say that he engineered it.        I think

20      he eventually got his way, but there were other factors

21      involved.

22      Q.     And the only time that he brought -- the first time that

23      he brought his government into the confines of Somalia was

24      basically after the Kenyans politely kicked him out?

25      A.     They told him he had to leave.



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     CASE 0:10-cr-00187-MJD-FLN
        Bryden - Cross          Doc. 285 Filed 11/25/13 Page 76 of 193         609


 1      Q.   They had a ceremony, that they didn't ask for

 2      permission, of him leaving and going back?

 3      A.   Correct.

 4      Q.   Leaving him in a spot where he didn't have much choice,

 5      right?

 6      A.   Correct.

 7      Q.   So until then he wouldn't even go back into Somalia?

 8      A.   That's right.

 9      Q.   That Transitional National Government, that group that

10      called itself the government, until the Ethiopians came in,

11      what was the biggest section of Somalia that that group

12      governed over, had actual physical control over?

13      A.   I don't think it would be fair to say that it governed.

14      It was based in the town of Jowhar north of Mogadishu and

15      then part of it moved to Baidoa and stayed in Baidoa.            But

16      in terms of functional administration, very little, if

17      anything, took place.

18      Q.   You were observing all of this as it was happening?

19      A.   Yes, I was.

20      Q.   And at that point you didn't work for the United

21      Nations, 2004, 2005, 2006?

22      A.   Correct.

23      Q.   You worked for, I have to go back through it, but the

24      International Crisis Group either as an employee or as a

25      consultant during that time period?



                           LORI A. SIMPSON, RMR-CRR
                                (612) 664-5104
     CASE 0:10-cr-00187-MJD-FLN
        Bryden - Cross          Doc. 285 Filed 11/25/13 Page 77 of 193   610


 1      A.   First as a consultant and then as director of the Horn

 2      of Africa program.

 3      Q.   And would it be fair to say that you said this is all

 4      going to -- this is not going to work?

 5      A.   That's correct.

 6      Q.   This is going to go very badly?

 7      A.   Yes.

 8      Q.   And then you watched it go very badly?

 9      A.   Yes.

10      Q.   So the people who actually at that point, if there could

11      be an organized group that was taking control, the people

12      who were actually taking control during the time that the

13      Transitional Federal Government was first claiming to have

14      the power were the Islamic Courts?

15      A.   I'm sorry.    I didn't understand the question.

16      Q.   2005 -- 2004 and '05 before the Ethiopians come in, the

17      group that's actually sort of, if there is a group in

18      control, coming into control is the Islamic Courts Union?

19      A.   The Islamic Courts came into control in the second half

20      of 2006.

21      Q.   Okay.   Who was in control, then, before that when he was

22      afraid to go back?

23      A.   There was no single authority in control.

24      Q.   Okay.   Now, you were talking on direct about the Islamic

25      Courts and that they had started to become noticeable in the



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                                (612) 664-5104
     CASE 0:10-cr-00187-MJD-FLN
        Bryden - Cross          Doc. 285 Filed 11/25/13 Page 78 of 193    611


 1      late '90s because they originally came in to provide sort of

 2      judicial civil services?

 3      A.   That's correct.

 4      Q.   Because in essence there weren't any, so the best way to

 5      do it was to bring in the clerics and have them decide the

 6      disputes?

 7      A.   That's correct.

 8      Q.   And they became I don't want to use the word "popular,"

 9      but they became accepted in areas of southern Somalia, so

10      that they were gone to to make decisions?

11      A.   They were accepted as one of multiple actors with their

12      own small jurisdictions, areas of control, yes.

13      Q.   And they grew in power, I guess is the best way to say

14      it, to the point where they became an actual political force

15      in 2005, 2006 in southern Somalia?

16      A.   Even earlier they tried to flex their muscles under the

17      Transitional National Government.        It failed.    But they

18      emerged as a force really in 2006.

19      Q.   And that group was, I guess you would say, a group

20      that had a big -- they had lots of different people that

21      were all within that union of various persuasions from right

22      to left, I guess you would say?

23      A.   Yes.

24      Q.   And they were able to take over most of or at least take

25      most of southern Somalia under their control in 2006?



                           LORI A. SIMPSON, RMR-CRR
                                (612) 664-5104
     CASE 0:10-cr-00187-MJD-FLN
        Bryden - Cross          Doc. 285 Filed 11/25/13 Page 79 of 193   612


 1      A.   Yes.

 2      Q.   And you said one of their tenets, of course, almost by

 3      their name, is that they were going to impose sharia law?

 4      A.   Yes.

 5      Q.   And it varied from place to place, would that be fair to

 6      say, how strict that sharia law was that they were

 7      enforcing?

 8      A.   Yes.

 9      Q.   So in 2006 -- what number is that, your history?

10                   MR. WARD:    256.

11                   MR. SCOTT:   Thank you.

12      BY MR. SCOTT:

13      Q.   So in your timeline you've got "March through May of

14      2006 intense fighting breaks out between rival militias in

15      Mogadishu"?

16      A.   Yes.

17      Q.   Why don't you explain that for just a moment, as to who

18      it is that's fighting in March to May of 2006.

19      A.   Well, in fact, you could -- there was minor skirmishing

20      even before that, I think in February, which started between

21      the militias in the north of the city, a militia loyal to a

22      businessman named Abukar Omar Adaani, who was a financier of

23      the Islamic Courts --

24      Q.   Adaani, A-d --

25      A.   Adaani, A-d-a-a-n-i.



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                                (612) 664-5104
     CASE 0:10-cr-00187-MJD-FLN
        Bryden - Cross          Doc. 285 Filed 11/25/13 Page 80 of 193         613


 1      Q.   Okay.

 2      A.   -- and Bashir Raghe, who was a businessman and militia

 3      leader who was part of the American-backed Alliance for the

 4      Restoration of Peace and Counterterrorism, which was in sort

 5      of under-the-radar conflict with the Courts throughout 2005

 6      and --

 7      Q.   That was -- if you could describe that group that you

 8      just -- what do they call that?

 9      A.   ARPCT, the --

10      Q.   That alliance, that was one of those American fiascos?

11      A.   It was an American-backed alliance of faction leaders.

12      Q.   And it created and died in like four months?

13      A.   That's correct.

14      Q.   Okay.

15      A.   The fighting between Adaani and Bashir Raghe forced a

16      kind of polarization along the lines of those sympathetic to

17      the Courts and those sympathetic to the faction leaders.

18                   And in February this alliance was declared.         The

19      Courts, I think, understood that this was a signal that the

20      anti-Courts faction leaders were going to ramp up their

21      efforts and launched an offensive.

22                   And essentially the population in Mogadishu, I

23      think after fatigue of these warlords for many years, either

24      tolerated or supported the Islamic Courts and the fighting

25      continued between -- through March, April, May.          And in June



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     CASE 0:10-cr-00187-MJD-FLN
        Bryden - Cross          Doc. 285 Filed 11/25/13 Page 81 of 193   614


 1      the Courts emerged in control of the city.

 2      Q.   And the area -- in essence the area around --

 3      A.   That took a little longer, but, yes, between June and

 4      August they expanded across southern Somalia.

 5      Q.   So when December of 2006 rolls around, at that point the

 6      Islamic Courts control big chunks of southern Somalia?

 7      A.   Correct.

 8      Q.   And then the Ethiopian troops intervene at that point?

 9      A.   Yes.

10      Q.   Now, I don't want to get into the exact lines here of

11      everything, but there were troops in -- foreign troops in

12      Somalia prior to December of 2006?

13      A.   Yes.

14      Q.   And they were there at the auspices of the UN?

15      A.   No.    They were there at the invitation of the

16      Transitional Federal Government.

17      Q.   Okay.   So the group that had been outside was asking

18      help from some of its backers that had created it?

19      A.   Correct.

20      Q.   When the Ethiopians came in, they came in in force?

21      A.   In December, yes.

22      Q.   Okay.   And they were able to sweep the Islamic Courts

23      Union out of how much of the area it controlled then in the

24      months thereafter?

25      A.   Almost all of it.



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     CASE 0:10-cr-00187-MJD-FLN
        Bryden - Cross          Doc. 285 Filed 11/25/13 Page 82 of 193     615


 1      Q.   And what was the nature of their occupation?         Give me an

 2      idea how many troops that Ethiopia had now in southern

 3      Somalia.

 4      A.   There are no exact figures, but I think my estimate at

 5      the time was initially 20,000 and then they began to draw

 6      down.

 7      Q.   So they swept the Islamic Courts out of power?

 8      A.   Yes.

 9      Q.   But they didn't sweep at this point the opposition to

10      having Ethiopian troops occupying Somalia, there was

11      considerable opposition to that?

12      A.   Yes.

13      Q.   And now the opposition wasn't coalesced under the

14      Islamic Courts, it was more scattered or -- "scattered" is

15      not the word, "splintered," I think, is a better word for me

16      to use?

17      A.   Correct.

18      Q.   Okay.   And some of those groups were groups that had

19      been under the umbrella previously of the Islamic Courts?

20      A.   Yes.

21      Q.   And what grew to be named al-Shabaab was one of those

22      groups that had been under the umbrella of the Islamic

23      Courts?

24      A.   Yes.

25      Q.   And I think you said on direct that they were a fairly



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     CASE 0:10-cr-00187-MJD-FLN
        Bryden - Cross          Doc. 285 Filed 11/25/13 Page 83 of 193       616


 1      disciplined fighting force when they were operating under

 2      the umbrella of the Islamic Courts?

 3      A.   Yes.

 4      Q.   So they became then a dangerous opponent for the

 5      occupying troops?

 6      A.   Yes.

 7      Q.   And over that next year or two, in 2008 especially,

 8      al-Shabaab became to -- excuse me -- found some real success

 9      in pushing the Ethiopians back?

10      A.   No.

11      Q.   No?

12      A.   They did some real damage, but the Ethiopians didn't

13      leave any areas because of al-Shabaab offensives, no.

14      Q.   Okay.    So when they pulled back, it was because --

15      A.   After two years I think the occupation -- the costs of

16      the occupation were paying their toll.         They felt that they

17      had achieved most of what they had come to do and they had

18      in a sense tried to leverage, by threatening their

19      withdrawal, leverage the African Union or the UN to send in

20      a more multinational force and they succeeded in having

21      Uganda deploy forces, who were then to replace the

22      Ethiopians.

23      Q.   So the Ethiopians started pulling back, but the vacuum

24      was filled by outside parties, wasn't it?

25      A.   Only --



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     CASE 0:10-cr-00187-MJD-FLN
        Bryden - Cross          Doc. 285 Filed 11/25/13 Page 84 of 193      617


 1      Q.   Or I should say inside parties in this case, inside --

 2      A.   Only in Mogadishu.     The Ugandans didn't fill the vacuum

 3      in the rest of southern Somalia.        That was filled by

 4      al-Shabaab.

 5      Q.   So by the time the Ethiopians fully withdrew at the end

 6      of January of 2009, al-Shabaab was in control of much of

 7      southern Somalia?

 8      A.   Al-Shabaab and parts of the Islamic Courts.         It was a

 9      mixture.

10      Q.   And it's a mixture of groups and Hizbul Islam was one of

11      those groups?

12      A.   Not yet.    That was formed in 2009.

13      Q.   Okay.    The Ras Kamboni group?

14      A.   Ras Kamboni group.

15      Q.   And they had been connected to the Islamic Courts before

16      they broke up?

17      A.   They were aligned with al-Shabaab under the umbrella of

18      the Islamic Courts.

19      Q.   And since January or February of 2009 has al-Shabaab and

20      other of these militant groups basically kept their control

21      of southern Somalia?

22      A.   Yes.    Al-Shabaab has strengthened its control.

23      Q.   And so if we were to look at a map today of Somalia as

24      to who controlled what, if they were like a yellow color,

25      most of southern Somalia would be painted yellow?



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     CASE 0:10-cr-00187-MJD-FLN
        Bryden - Cross          Doc. 285 Filed 11/25/13 Page 85 of 193   618


 1      A.   That's correct.

 2      Q.   And the Transitional Federal Government still has some

 3      areas that it controls now?

 4      A.   It has the area of Mogadishu, but there are other groups

 5      that have also taken back control of areas away from

 6      al-Shabaab.

 7      Q.   And that's been various places?

 8      A.   Mainly the central regions.

 9      Q.   The central region has been -- gone back and forth and

10      right now is actually in control of -- is it Jowhar?

11      A.   No, not Jowhar.     That's al-Shabaab.

12      Q.   What's the group that controls the central part now?

13      A.   There are three.     It is the Galmudug administration.

14      There's Ahlus Sunnah wal Jammah, which is based in clans,

15      that used to support al-Shabaab and the Islamic Courts and

16      then changed sides.      And there's not really a viable

17      administration, something calling itself Himan iyo Heeb,

18      which is another clan-based administration.

19      Q.   So the plans -- or maybe you'd call them the warlords

20      and the militias are back in control of a section of

21      central?

22      A.   These are less warlords than really more popular

23      clan-based administrations or forces.

24      Q.   So now let's go backwards.       When you're talking about --

25      you were talking on direct about government officials being



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     CASE 0:10-cr-00187-MJD-FLN
        Bryden - Cross          Doc. 285 Filed 11/25/13 Page 86 of 193     619


 1      under some pressure from al-Shabaab.        These government

 2      officials, you're really talking about -- they really aren't

 3      members of the Transitional Federal Government, then, they

 4      would be like local groups that have been in control, for

 5      the most part?

 6      A.   In Mogadishu?

 7      Q.   Well, in Mogadishu, outside Mogadishu, in the rest of

 8      the areas that are controlled by al-Shabaab.

 9      A.   Well, in Mogadishu they would be the Transitional

10      Federal Government.      Outside Mogadishu they would be members

11      of these local administrations or Ahlus Sunnah.

12      Q.   My understanding of your testimony so far is that those

13      areas have really never been under control of either the TFC

14      or the TNG, whatever they are -- the TNG or the TFG, they

15      have actually never been governed by those particular

16      groups?

17      A.   That's right.

18      Q.   So they're just local people?

19      A.   Yes.    These are essentially, as I said, clan based.       The

20      clans of those areas choose to align themselves with one

21      group or the other.      Some of them used to be aligned with

22      al-Shabaab and have changed their -- changed sides.

23      Q.   Okay.   Now, I am thinking back to some of the stuff --

24      let me talk about the Islamic Courts for a moment and I am

25      going to move to al-Shabaab, but it is going to be in the



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     CASE 0:10-cr-00187-MJD-FLN
        Bryden - Cross          Doc. 285 Filed 11/25/13 Page 87 of 193   620


 1      same line.

 2                   I remember some of the stuff you had written in

 3      the past and you said one of the reasons the Islamic Courts

 4      was able to exercise as much influence and take control of

 5      areas was because it provided some stability that was

 6      missing?

 7      A.   That's correct.

 8      Q.   And, you know, sharia law went along with it, but that's

 9      at least Islamic law, so that that stability was more

10      important than some of the issues about the harshness of

11      sharia law?

12      A.   That's correct.

13      Q.   Now, when al-Shabaab moved into a lot of these areas,

14      they also started putting in sharia law and governance; is

15      that right?

16      A.   A different version of sharia law, but yes.

17      Q.   A much harsher version?

18      A.   (Nodding.)

19      Q.   A more what you would call fundamentalist version?

20      A.   Yes.

21      Q.   But still sharia law?

22      A.   Yes.

23      Q.   So when you were talking on direct about some of the

24      punishments, the cutting off of hands or maybe feet of

25      someone who was caught in thievery --



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     CASE 0:10-cr-00187-MJD-FLN
        Bryden - Cross          Doc. 285 Filed 11/25/13 Page 88 of 193   621


 1      A.   Yes.

 2      Q.   -- that's part of sharia law?

 3      A.   That's part of their version, yes.

 4      Q.   And, in fact, it's not exclusive to Somalia?

 5      A.   No.

 6      Q.   It's one of the prescribed punishments in Saudi Arabia;

 7      is that right?

 8      A.   It is.

 9      Q.   And that's because it's drawn from penalties that are

10      allowed in classic Islamic law?

11      A.   Under some interpretations of Islamic law, yes.

12      Q.   I mean, the harshest of some of these punishments are

13      found -- what's the word in sharia law?         Hudud?

14      A.   Yes.

15      Q.   And those are the punishments that are literally drawn

16      from the Quran itself?

17      A.   Yes, but there are differing interpretations as under

18      what circumstances they can be applied.

19      Q.   That's right.    In other words, it's used very rarely in

20      most Islamic countries or maybe not at all?

21      A.   Yes.

22      Q.   In some countries the punishments that are in the Quran

23      itself are used far more often?

24      A.   Correct.

25      Q.   And that's because Islam has got -- it's got civil law,



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     CASE 0:10-cr-00187-MJD-FLN
        Bryden - Cross          Doc. 285 Filed 11/25/13 Page 89 of 193         622


 1      a lot of which we would think of as criminal law?           I can't

 2      remember the name.      I've got to look for it here.       Qisas or

 3      something like that?

 4      A.   Yes.

 5      Q.   And that's sort of quasi civil and criminal?         Some

 6      things we would think of, like murder, are civil law in

 7      Islam?

 8      A.   I wouldn't be in a position to speak to that.

 9      Q.   Because you're not Muslim?

10      A.   I am Muslim.

11      Q.   You are Muslim?

12      A.   Yes.

13      Q.   So you know, then, if you are, you know that some of

14      these things we're talking about, the stoning of

15      adulteresses --

16      A.   Yes.

17      Q.   Or actually it's supposed to be adulterers, too, isn't

18      it, the men as well?

19      A.   Yes.

20      Q.   -- that stoning is something that you can find in the

21      Quran?

22      A.   Yes.

23      Q.   Rarely enforced, but it's in the Quran?

24      A.   Correct.

25      Q.   And that's because it was traditional in Middle Eastern



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     CASE 0:10-cr-00187-MJD-FLN
        Bryden - Cross          Doc. 285 Filed 11/25/13 Page 90 of 193     623


 1      society, not just in Muhammad's society, that was a

 2      traditional punishment?

 3      A.   Yes.

 4      Q.   You'll find it in the Bible?

 5      A.   Correct.

 6      Q.   And the death penalty for apostasy, that is, for denying

 7      your Muslim faith, is in the Quran?

 8      A.   Yes.

 9      Q.   I mean, you can convert and become a Muslim, but you

10      can't convert from a Muslim to become another religion?

11      A.   That's correct.

12      Q.   That's apostasy.

13                   Beheading is a punishment that is Middle Eastern,

14      is it not, in other words, one of the death penalties --

15      ways of doing a death penalty is beheading people?

16      A.   I'm not sure it's Middle Eastern.        I know it's practiced

17      in Saudi Arabia, but it was also practiced in France.

18      Q.   Yes, it certainly was, yes.       In fact, you can now save

19      my opening statement by telling me that Dr. Guillotine --

20      agreeing with me that Dr. Guillotine invented a machine that

21      lops off people's heads in France.

22      A.   Correct.

23      Q.   Good.   And that's just a more, quote, humane way of

24      beheading people?

25      A.   I'm not sure I would say either is humane.



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     CASE 0:10-cr-00187-MJD-FLN
        Bryden - Cross          Doc. 285 Filed 11/25/13 Page 91 of 193   624


 1      Q.   And the problem that you've been talking about is that

 2      al-Shabaab is more apt to use those extreme penalties when

 3      in traditional Islam they slide towards the penalties

 4      that we -- to the penalties that are not nearly as extreme

 5      for violations of law like thieving or violations of

 6      religion?

 7      A.   I think I'd say that other than al-Shabaab, in Somali

 8      society we haven't seen these types of punishments and they

 9      are not practiced in other parts of Somalia.

10      Q.   But if you go to Saudi Arabia, it's a crime for a woman

11      to drive a car, right?

12      A.   I believe so.

13      Q.   There are restrictions that vary from light to heavy on

14      the conduct of women as it relates to men, that is,

15      appearing chaste, wearing chaste clothing, and being seen in

16      the company of men without a chaperone; those vary in Islam,

17      do they not?

18      A.   They do.

19      Q.   From very conservative, such as in Saudi Arabia, to, you

20      know, very light, which you would find in other countries in

21      the world, some other countries?

22      A.   Correct.

23      Q.   Even the wearing of a head -- the veil over the head, in

24      some Muslim areas that's no longer required?

25      A.   Correct.



                           LORI A. SIMPSON, RMR-CRR
                                (612) 664-5104
     CASE 0:10-cr-00187-MJD-FLN
        Bryden - Cross          Doc. 285 Filed 11/25/13 Page 92 of 193   625


 1      Q.   And that's an evolution of beliefs?

 2      A.   Yes.

 3      Q.   If you go back, you will find that women in Catholicism

 4      had to wear shawls over their heads whenever they were in

 5      church?

 6      A.   Yes.

 7      Q.   That's recent, almost within your lifetime of seeing

 8      that?

 9      A.   Yes.

10      Q.   And you said that even the Transitional Federal

11      Government has adopted sharia law?

12      A.   Yes.    All Somali governments have adopted sharia law.

13      Q.   Let me talk a little bit about the fighting tactics that

14      you were mentioning on direct.       You were talking about

15      mortars.    Let's start with mortars.

16                   You said one of the common things that you've seen

17      is that al-Shabaab would launch mortar attacks at the

18      foreign troops?

19      A.   Yes.

20      Q.   Or the centers that are controlled by the TNG -- excuse

21      me -- TFG?

22      A.   Correct.

23      Q.   And you thought one of the tactics -- or you observed

24      one of the tactics was they do that because then there would

25      be a counterattack of artillery?



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     CASE 0:10-cr-00187-MJD-FLN
        Bryden - Cross          Doc. 285 Filed 11/25/13 Page 93 of 193     626


 1      A.   Yes.

 2      Q.   And the counterattack of artillery would go right into

 3      the civilian areas?

 4      A.   Correct.

 5      Q.   In other words, they could almost count on the TFG to

 6      overreact?

 7      A.   That's right.

 8      Q.   And kill innocent people?

 9      A.   Yes.

10      Q.   And al-Shabaab would have been long gone before they

11      ever did that?

12      A.   That's right.

13      Q.   So they could take advantage of the -- I don't want to

14      use the word "ruthlessness," but they could take advantage

15      of the fact that it appeared that the people firing from the

16      other side didn't care about the fallout?

17      A.   Yes.     I should correct the counterfire was usually from

18      Ugandan or Burundian troops since the TFG didn't have a lot

19      of artillery.

20      Q.   Right.

21      A.   And it was, I think, widely observed that the Ugandans

22      initially were also using indiscriminate fire.          That has

23      changed.    But there was blame on both sides.

24      Q.   So in this case it wasn't the al-Shabaab fighters that

25      were targeting civilians, it was the Burundians or the



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     CASE 0:10-cr-00187-MJD-FLN
        Bryden - Cross          Doc. 285 Filed 11/25/13 Page 94 of 193   627


 1      Ugandans who were targeting civilians with their fire or

 2      indiscriminately targeting civilians?

 3      A.   Well, the Ugandans would have said they were targeting

 4      al-Shabaab, but artillery is a blunt instrument.

 5      Q.   Collateral damage?

 6      A.   I expect they would have said that.

 7      Q.   And you said that they were -- they would be involved in

 8      targeted assassinations?

 9      A.   Al-Shabaab, yes.

10      Q.   In other words, they would pick out their enemies, the

11      leaders of their enemies, and kill them?

12      A.   Yes, and not just leaders.

13      Q.   And they do that because they could, I mean, in other

14      words, they would go in and use whatever method they needed

15      to do to accomplish that, whether it was a suicide bomber or

16      just picking them off with a rifle or blowing up their car

17      as they were driving down the road?

18      A.   Yes.

19      Q.   Speaking of blowing up, improvised explosive devices,

20      they're mines, right?

21      A.   Some are mines.     Some are not.

22      Q.   You know, mining is not something invented by the

23      Somalis, is it?

24      A.   No.

25      Q.   Been around for -- as an instrument of war for certainly



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     CASE 0:10-cr-00187-MJD-FLN
        Bryden - Cross          Doc. 285 Filed 11/25/13 Page 95 of 193   628


 1      hundreds of years?

 2      A.   Correct.

 3      Q.   And it's been controlled to some extent, but not

 4      entirely, right?

 5      A.   Yes.

 6      Q.   There's an international treaty that covers mines?

 7      A.   Correct.

 8      Q.   We're not a signatory to it, the United States?

 9      A.   I realize that.

10      Q.   Yeah.    The only major country in the world that's not,

11      right?

12      A.   I believe so.

13      Q.   And then you talked about suicide bombings?

14      A.   Yes.

15      Q.   Okay.    Now, if someone puts a bomb in a building and

16      then blows it up and they're not there, that's not a suicide

17      bombing?

18      A.   Correct.

19      Q.   Suicide is they go in themselves to the same spot and

20      blow it up?

21      A.   Yes.

22      Q.   So it's a targeted explosive?

23      A.   In theory.

24      Q.   The only problem is the person who is bringing it into

25      the target is going to sacrifice themselves --



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     CASE 0:10-cr-00187-MJD-FLN
        Bryden - Cross          Doc. 285 Filed 11/25/13 Page 96 of 193        629


 1      A.   It's not the only --

 2      Q.   -- purposefully or unpurposefully?

 3      A.   It's not the only problem, but it is one of them.

 4      Q.   But in terms of its effect and what it does, it isn't

 5      any different than firing an artillery shell into the same

 6      place or firing something bigger, such as a missile?

 7      A.   It's one way of delivering an explosive.

 8      Q.   And the same is true with the vehicles?

 9      A.   Yes.

10      Q.   Because blowing up vehicles is a common way of causing

11      damage with or without somebody driving them, right?

12      A.   Yes.

13      Q.   Now, you were working your way through some of the calls

14      and I would like to look at Exhibit 70 first.          Now, 70 was a

15      call on February 7, 2009 between my client, Amina Ali, and

16      her co-defendant.

17                  And I am going to bring your attention to the same

18      thing that the government did, which is on page 3.           I have

19      it up here on the screen for you.        When you were testifying

20      you identified the word "Sharif" on there, "Sharif's men"?

21      A.   Yes.

22      Q.   You identified that Sharif as whom?

23      A.   Sharif Sheikh Ahmed.

24      Q.   Sharif Sheikh Ahmed.      I can't say the (making sound)

25      part.    And he at that point in 2009 was the president of the



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     CASE 0:10-cr-00187-MJD-FLN
        Bryden - Cross          Doc. 285 Filed 11/25/13 Page 97 of 193        630


 1      Transitional Federal Government?

 2      A.   Correct.

 3      Q.   Okay.   And he had been -- before he was made the head of

 4      the Transitional Federal Government, he had been one of the

 5      leaders of the Islamic Courts Union?

 6      A.   He had been the chairman of the Islamic Courts Union.

 7      Q.   So he was the leader?

 8      A.   Officially, yes.

 9      Q.   And so he was allied with al-Shabaab?

10      A.   Correct.

11      Q.   In fact, in essence they worked for him; is that right?

12      A.   Yes.

13      Q.   So that's who they're talking about here?

14      A.   I believe so.

15      Q.   Okay.   And they said -- and Amina Ali said, "They saw

16      the lifestyle the men, who are allied with this man."            Do

17      you see that?

18      A.   Yes, I do.

19      Q.   "The food they eat and the cars they drive, you cannot

20      imagine," that's what she's saying?

21      A.   Yes.

22      Q.   And Halima says, "Are you talking about Sharif's men?"

23      They agree, yes.     And then Halima says, "Well yes; that is

24      the way it is going to be.       They get money."     Amina says,

25      "Well sister, it is clear that these people are after



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     CASE 0:10-cr-00187-MJD-FLN
        Bryden - Cross          Doc. 285 Filed 11/25/13 Page 98 of 193    631


 1      wealth."

 2      A.   Yes.

 3      Q.   So in that conversation we're talking there is they must

 4      have just seen them coming in in -- somebody must have just

 5      seen them coming in in cars, well-dressed, looking unlike

 6      the mostly impoverished people of Somalia?

 7      A.   Could you remind me of the date?

 8      Q.   The date is February 7th of 2009.

 9      A.   That would be the day, I believe, that they returned to

10      Mogadishu.

11      Q.   That's a correct statement.

12      A.   So I would imagine that this is talking about the

13      lifestyle that they enjoyed while in Djibouti outside

14      Somalia, yes.

15      Q.   And it's what they look like when they're coming in?

16      A.   Yes.

17      Q.   Okay.   So they're saying to each other that, you know,

18      these people are in it for the money, right?

19      A.   Yes.

20      Q.   Let's go to Exhibit 91 here, which is a phone call about

21      three weeks later on February 25, 2009.         And this is between

22      Amina Ali and Hassan Afgoye?

23      A.   Yes.

24      Q.   Now, you identified on direct examination the

25      conversation about the battle?



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     CASE 0:10-cr-00187-MJD-FLN
        Bryden - Cross          Doc. 285 Filed 11/25/13 Page 99 of 193    632


 1      A.   Yes.

 2      Q.   I'm going to flip over to page 2 here.        The conversation

 3      that Amina was having before Hassan talked about the battle

 4      was allocating the money she was sending for orphans and how

 5      to do it, right?

 6      A.   Yes.

 7      Q.   And then he starts talking about the big fight, correct?

 8      A.   Yes.

 9      Q.   Now flip over to page 3.      When he's done talking about

10      the fight, they start talking about the orphans again; isn't

11      that right?

12      A.   He introduces the topic of orphans, yes.

13      Q.   She had introduced it a page before --

14      A.   Yes.

15      Q.   -- she's talking about the orphans?

16                  They finally got back to the phone call, which is

17      what do we do about allocating money for the orphans?

18      A.   Yes.

19      Q.   Because she wants to make sure that money for orphans

20      goes to the orphans?

21      A.   Yes.

22      Q.   And he's telling her to talk to Madina about setting

23      that up?

24      A.   Correct.

25      Q.   So it would be fair to say that she calls about orphans,



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     CASEBryden
          0:10-cr-00187-MJD-FLN
                - Cross         Doc. 285 Filed 11/25/13 Page 100 of 193       633


 1       Hassan Afgoye is the one who wants to talk about battles?

 2       A.   It looks that way.

 3       Q.   I want you to look next to 105, Exhibit 105.         And this

 4       is another call that you were talking about in direct

 5       examination?

 6       A.   Yes.

 7       Q.   That call took place on March 18, 2009?

 8       A.   Yes.

 9       Q.   And that's the call when you identified near the bottom

10       of page 2 that Amina Ali asked Hassan Afgoye (As read), "Are

11       you Abu Ayman?"

12       A.   Yes.

13       Q.   And that's the person that you named was the head -- had

14       been named the head of the Bay and Bakool region about a

15       month before?

16       A.   Correct.

17       Q.   So it's in March of 2009 that she asks him if he is that

18       person?

19       A.   Yes.

20       Q.   The battle that's being talked about in that particular

21       call, the battle in El Buur, I want to work my way through

22       and make sure that I understand what you were saying on

23       direct.

24                   There was a fight with militia and the militia

25       there were Somali nationals or Somali people?



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     CASEBryden
          0:10-cr-00187-MJD-FLN
                - Cross         Doc. 285 Filed 11/25/13 Page 101 of 193       634


 1       A.   There was, but that's not the battle in El Buur.

 2       Q.   The battle they're talking about here -- because I'm

 3       looking at my notes and I am trying to figure it out.            I

 4       want to make sure I have it right.

 5                    Okay.   Hassan says at the bottom of page 2, "Today

 6       we were involved in a battle"?

 7       A.   Yes.

 8       Q.   And then on page 3, about halfway down the page, they're

 9       trying to identify who it is and Amina says, "Are they the

10       Ethiopians or the so called Somalis"?

11       A.   Yes.

12       Q.   And Hassan says, "They are the left over's from the

13       apostates"?

14       A.   Yes.

15       Q.   And your interpretation at this point was that this

16       particular group where this battle took place were actually

17       people of Somali ethnic heritage, they were Somalis?

18       A.   Yes, and they were a specific group of Somalis.

19       Q.   And you were familiar with the battle, so you knew the

20       specific group of Somalis?

21       A.   Yes, and they refer to it in the call.

22       Q.   Okay.    And did you tell us on direct examination that

23       this group of Somalis had been trained by Ethiopia or

24       Ethiopians?

25       A.   Certainly Ethiopian supported.       Some of them would have



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          0:10-cr-00187-MJD-FLN
                - Cross         Doc. 285 Filed 11/25/13 Page 102 of 193   635


 1       been trained by Ethiopia.

 2       Q.   And had some of them even -- may possibly even traveled

 3       for their training to Ethiopia?

 4       A.   Quite possibly.

 5       Q.   And this was known by you independent of what we're

 6       reading here?

 7       A.   Yes.

 8       Q.   And so presumably would have been known by Mr. Hassan as

 9       well?

10       A.   Yes.

11       Q.   So when they are talking about apostates, in this case

12       at least the language that's being used is referring to

13       people that were allied with the Ethiopians?

14       A.   Had been allied with them; probably still were.

15       Q.   Let's go to 146.    146 is a call on July 2nd between

16       Hassan Afgoye and Amina Ali.       If my notes are correct, I

17       have the right call.     There's talk in the call -- I can't

18       find it.    Let me look at my notes for a moment.        I am

19       looking for the Timo Jili' --

20                   MR. PAULSEN:    Bottom of 6.

21                   MR. SCOTT:   Bottom of 6.     Thank you.

22       BY MR. SCOTT:

23       Q.   At the bottom of 6 --

24       A.   Yes.

25       Q.   -- you identified on direct examination that she had



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     CASEBryden
          0:10-cr-00187-MJD-FLN
                - Cross         Doc. 285 Filed 11/25/13 Page 103 of 193         636


 1       sent $11,000 in 2007 to Abdulahi Timo Jili'?

 2       A.   Abdulahi Timo Jili', yes.

 3       Q.   Thank you.    I will butcher it the next time too.          I

 4       can't seem to learn this stuff.

 5                    Am I right when I am reading it he pocketed the

 6       funds; is that what she's saying?

 7       A.   I didn't read it that way, no.       I believe she's saying

 8       that other imams who had been collecting for -- to send

 9       money to Somalia have pocketed the funds and therefore she

10       has contacted Abdulahi Timo Jili' directly.

11       Q.   Well, then I did get it wrong when I was listening to

12       you on direct.

13                    And then finally let's look at 114.      And this is a

14       short clip that was taken out of a fairly long phone call,

15       but this is the one that talks about "We are at your

16       service, Osama."

17                    I think what the prosecutor said to you, and you

18       agreed with him, is that Amina Ali gave him a

19       tongue-lashing?

20       A.   Yes.

21       Q.   And what she said was, "Yes."      And I am at the bottom of

22       page 1.     "But you should only point out the truth in your

23       lecture.     Why was it necessary to say, 'We are giving an

24       answer to Osama -- we are responding to Osama?'          Osama is

25       not with you, you know?      He cannot help you in any way.          The



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     CASEBryden
          0:10-cr-00187-MJD-FLN
                - Cross         Doc. 285 Filed 11/25/13 Page 104 of 193     637


 1       only effect he can have is: stir up animosities and

 2       reinforce the suspicion those sick people have about your

 3       relationship with these men."          That's the tongue-lashing

 4       we're talking about here?

 5       A.   Yes.

 6                   MR. SCOTT:   I have no further questions.

 7                   THE COURT:   Let's stop here and we'll start up at

 8       1:30, at 1:30.     All rise for the jury.

 9            (Jury excused.)

10                                     IN OPEN COURT

11                                (JURY NOT PRESENT)

12                   THE COURT:   Anything that we need to talk about

13       before 1:30?

14                   MR. PAULSEN:     The government does not have

15       anything.

16                   MR. SCOTT:   No, Your Honor.

17                   MS. GURSTELLE:     No, Your Honor.

18                   THE COURT:   I will see you at 1:30.

19            (Lunch recess taken at 12:11 p.m.)

20                                *     *   *     *    *

21            (1:36 p.m.)

22                                    IN OPEN COURT

23                                    (JURY PRESENT)

24                   THE COURT:   You may inquire.

25



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     CASEBryden
          0:10-cr-00187-MJD-FLN
                - Cross         Doc. 285 Filed 11/25/13 Page 105 of 193      638


 1                                 CROSS EXAMINATION

 2       BY MS. GURSTELLE:

 3       Q.   Good afternoon, Mr. Bryden.

 4       A.   Good afternoon.

 5       Q.   My name is Gretchen Gurstelle.       I represent Defendant

 6       Hassan.   I would like to ask you a few questions.         I will

 7       try not to go over anything that was covered by Mr. Ward or

 8       Mr. Scott.

 9       A.   Thank you.

10       Q.   Now, you told us that you had first gone to Somalia in

11       1990?

12       A.   That's correct.

13       Q.   So you were in Somalia in 1991 when the Barre government

14       fell in Mogadishu?

15       A.   Yes, I was.

16       Q.   And I believe the revolutionary forces came into the

17       city on December 31, 1991?

18       A.   There was an uprising on the 30th and the forces outside

19       the city actually entered about three weeks later.

20                    MR. KELLY:   Can I ask you to drop your microphone

21       a little bit.     I am having a little problem hearing.

22       BY MS. GURSTELLE:

23       Q.   Now, after those forces came into the city, can you tell

24       me a bit about what happened in the city.

25       A.   Well, I left the city at that point, like most of the



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     CASEBryden
          0:10-cr-00187-MJD-FLN
                - Cross         Doc. 285 Filed 11/25/13 Page 106 of 193        639


 1       foreigners, but the forces of the United Somali Congress

 2       captured the city.     There was -- they were simultaneously

 3       fighting against pro government forces and they were

 4       targeting members of clans whom they considered to be

 5       aligned with the government.       There was a combination of

 6       fighting, looting, summary executions.

 7                   And then the fighting moved for a while further

 8       down to the south until the United Somali Congress, the

 9       forces that took over the capitol, divided amongst

10       themselves and started fighting amongst themselves.

11       Q.   Now, before the forces came into Mogadishu, can you tell

12       us a bit about how the city functioned.        I'm wondering if

13       there were things like any public transportation or

14       electricity --

15       A.   Yes.

16       Q.   -- basic public services that were available before

17       that.

18       A.   Yes, before the collapse Mogadishu was a beautiful and

19       very functional city for the northeast part of Africa.           It

20       wasn't a rich country, but there was public transportation,

21       there were many buses that will take you around town.

22       Electricity was becoming problematic by the end of -- well,

23       by '89 and '90.     Water was still available.      All of those

24       services stopped functioning in 1991.

25       Q.   And how quickly after the Barre government fled



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     CASEBryden
          0:10-cr-00187-MJD-FLN
                - Cross         Doc. 285 Filed 11/25/13 Page 107 of 193      640


 1       Mogadishu did those services get disrupted?

 2       A.   Almost immediately.     The pumping station at Elasha

 3       Biyaha outside the city was captured, fell into disrepair.

 4       There was a spasm of looting.       Anything that was public

 5       property, government property was considered fair game,

 6       including the electrical wires under the streets.          It was

 7       all removed by militia leaders, looters, marauders.          The

 8       city was pretty much torn apart in a matter of months, or at

 9       least that public infrastructure was.

10       Q.   Now, I have on the document camera the map that we've

11       been showing.    It's Exhibit 267.

12                   Now, I have to apologize both to you and the

13       defendants and any other Somali speaker in the courtroom

14       that I will probably do a pretty horrible job at trying to

15       pronounce these words.

16                   But this clan that is the blue clan here, I

17       believe that's the Hawiye --

18       A.   Ha-wee-ah [phonetic].

19       Q.   -- Hawiye clan, that's the clan that traditionally had

20       the most population around Mogadishu?

21       A.   That's correct.

22       Q.   Was that true in the city also?

23       A.   The city was a very mixed city, all Somalis could live

24       there, but perhaps there's been a historical attachment by

25       members of the Hawiye and particularly from the Abgal clan.



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          0:10-cr-00187-MJD-FLN
                - Cross         Doc. 285 Filed 11/25/13 Page 108 of 193        641


 1       Q.   So after the Barre government fled, was it the Hawiye

 2       clan that had most control over the city?

 3       A.   That's right.

 4       Q.   So if you were a resident in Mogadishu at the time and

 5       you were not able to flee immediately and you were from a

 6       different clan, would that have put you in danger?

 7       A.   It could.   It depended which clan.      Some clans were

 8       associated with the former government and they were

 9       therefore considered targets.       Other clans were not

10       considered to have in a sense offended the Hawiye.          Smaller

11       clans, minority clans from the north might not have been

12       considered targets.     But if you came from a clan that didn't

13       have a militia in Mogadishu, in any event you could be a

14       victim of robbery, theft, murder.       There was both war and

15       lawlessness.

16       Q.   So if you were a woman living in Mogadishu when this was

17       occurring, where would you look for protection?

18       A.   Well, you would move, if you could, into areas where you

19       still had elements of your clan who could protect you.           If

20       you didn't, you really had very few choices.         You would have

21       tried to flee the city or look for even in-laws or relations

22       in some form who might have been able to extend some

23       protection to you.

24       Q.   Now, for women who were living in the city while this

25       was going on, they would be vulnerable to kidnapping, being



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     CASEBryden
          0:10-cr-00187-MJD-FLN
                - Cross         Doc. 285 Filed 11/25/13 Page 109 of 193   642


 1       killed, rape, any type of crime?

 2       A.   With the exception of kidnapping, which wasn't as common

 3       in the early '90s, yes.

 4       Q.   Were other types of physical assaults common?

 5       A.   Yes.

 6       Q.   So if you were a woman from a clan that was not in

 7       control of the city or the neighborhood that you were in,

 8       you might look for someone who is in that clan, in the

 9       Hawiye clan, to protect you?

10       A.   Yes, you might, through some kind of relationship.

11       Q.   And if you didn't have that type of relationship, would

12       they be self-reliant to try to protect themselves?

13       A.   Then you would have probably sought safety in numbers,

14       small clusters of internally displaced people settling in

15       somebody's property and sometimes paying, seeking the

16       protection of whoever owned that property, negotiating some

17       kind of relationship with whichever militia group was in

18       charge.

19       Q.   At the beginning when the government left, before the

20       clans established neighborhoods that they would be in

21       control of, would women be able to leave their homes?

22       A.   I'm sorry.   Before?

23       Q.   During --

24       A.   Could you repeat the question?

25       Q.   As this was happening, as the forces were coming into



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     CASEBryden
          0:10-cr-00187-MJD-FLN
                - Cross         Doc. 285 Filed 11/25/13 Page 110 of 193     643


 1       the city and the Barre government was leaving, right away,

 2       that quick period, the first couple weeks, were women safe

 3       to leave their homes?

 4       A.   Yes.   In the first couple of weeks I witnessed -- well,

 5       in the first few days before I left I certainly saw women

 6       leaving their homes, carrying their goods, leaving the

 7       center of town, yes.

 8       Q.   Did it come to a point where they could no longer leave

 9       their homes?

10       A.   It came to the point where anybody, male or female,

11       leaving their homes was at risk of being stopped at a

12       checkpoint and having to face the consequences.

13       Q.   So if you were in a minority clan, how would you get

14       food during this period?

15       A.   Again, you would look for someone with whom you had a

16       relationship, either a family relationship or Somalis, like

17       anybody, have relationships with school mates, with friends,

18       and you would look for someone else who had more protection

19       than you to try and assist you in fulfilling your needs.

20       Q.   If someone from a minority clan wanted to then leave the

21       city, to get out of the city to get to a refugee camp, what

22       would they do?

23       A.   There were -- initially people walked to the outskirts

24       and some walked as far as Kenya.       For others the safest way

25       out of the city was convoys and for a period in 1991 there



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     CASEBryden
          0:10-cr-00187-MJD-FLN
                - Cross         Doc. 285 Filed 11/25/13 Page 111 of 193        644


 1       were large, almost spontaneously organized convoys.          People

 2       traveled in groups because you were more secure passing

 3       through the checkpoints, militia checkpoints, outside the

 4       city if you were in numbers, whether or not you were armed,

 5       and if there were members of your convoy who might be

 6       related to the militia groups and could provide protection.

 7       Otherwise you paid.     You tried to buy your fare on a taxi or

 8       a four-wheel drive vehicle, anything.        And some people took

 9       dhows down the coast to mainly Kenya.

10       Q.   Now, you've been discussing over the last 20 years these

11       various political movements, al-Shabaab, Hizbul Islam, AIAI,

12       Ras Kamboni, and within these groups there are conflicts

13       based on clan politics even within these specific groups?

14       A.   That's correct.

15       Q.   And within these groups, depending on the region of the

16       country that that portion of the group is operating from,

17       they might have disagreements with other regions of the same

18       movement?

19       A.   Yes.   There's almost, as I said, infinite division,

20       subdivision, re-alignment going on all the time.

21       Q.   I would like to ask you some questions about the news in

22       Somalia.    Starting from when the Barre government fell in

23       1991, what is the sources of news that people have access to

24       in Somalia?

25       A.   Well, in the early '90s there wasn't much.         There



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          0:10-cr-00187-MJD-FLN
                - Cross         Doc. 285 Filed 11/25/13 Page 112 of 193    645


 1       were -- well, there was rumor, of course, word of mouth.

 2       Somali society is an oral society and news travels amazingly

 3       fast by word of mouth, by people traveling from one region

 4       to the next.

 5                   The next development throughout the '90s was

 6       taars.   It was a system of radios and partly because the

 7       United Nations and the NGOs, who had been the

 8       nongovernmental organizations that had been operating in the

 9       country, many of them had offices with high-frequency radios

10       and these, of course, fell into the hands of different

11       groups and there was an incredibly sophisticated network of

12       high-frequency radio operators speaking to each other all

13       the time between various regions inside and outside Somalia.

14       That was for a long time the main form of inter-regional

15       communication.

16                   And then subsequently mobile phones were

17       introduced, the Internet was introduced, and Somalis became

18       what I think many analysts believe is one of the most active

19       online communities on the planet.       There are hundreds of

20       Somali websites.     And all of the news that's published and

21       shared is also picked up and shared by people over the phone

22       calling one another.     It's an information society.

23       Q.   Now, you talked about rumor and people calling and

24       posting about events that they've heard about.         So it sounds

25       like this information network, there's a bit of telephone



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     CASEBryden
          0:10-cr-00187-MJD-FLN
                - Cross         Doc. 285 Filed 11/25/13 Page 113 of 193   646


 1       going on, that I hear something, I would pass it on to the

 2       next person, it's not all coming from a direct news source?

 3       A.   There's plenty of that, but there are also -- over time

 4       you come to know which sources are reliable, which are not.

 5       Many of the websites and news sources are aligned with

 6       certain groups.

 7                   So when you know what the source of the

 8       information is, you have to make a determination as to what

 9       the political interest or angle of that website or news

10       source or radio might be, who it's aligned with and its

11       track record over time.      That's part of the open source

12       analysis I referred to yesterday.

13       Q.   So some of these groups that are aligned with specific

14       organizations, or these news sources, you would have to

15       determine whether you were getting information or

16       propaganda?

17       A.   Yes, you would.    Over time you would generally be able

18       to figure it out.

19       Q.   Is it common for these groups to rely on using and

20       distributing propaganda?

21       A.   Which groups?

22       Q.   Any of the political organizations that have been --

23       A.   Well, most of the political organizations do engage in

24       some form of propaganda and so it's important not to rely on

25       them and to rely on many of the other independent sources.



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     CASEBryden
          0:10-cr-00187-MJD-FLN
                - Cross         Doc. 285 Filed 11/25/13 Page 114 of 193    647


 1       Q.     I want to touch on something that you mentioned during

 2       your testimony earlier.      You said the Somali Youth League?

 3       A.     Yes.

 4       Q.     That that was an old organization?

 5       A.     That's right.

 6       Q.     Can you tell me a bit about that.

 7       A.     Well, my memory of that period of Somali history is a

 8       bit vague, but the Somali Youth League was really the first

 9       Pan-Somali political organization and it was particularly

10       active in the years leading up to independence, I think the

11       '50s, formed in the '50s, and then through until 1960 and

12       remained an important -- it's remained an important

13       political point of reference for Somalis up to the present

14       day.

15                     The Somali Youth League believed in the

16       unification of Somalis under a single flag.         And if you look

17       at the Somali flag, it's a blue field with a white or silver

18       five-pointed star and that star represents the five parts of

19       the Somali community.      It was at that time British

20       Somaliland, Italian Somalia, northeastern Kenya, the eastern

21       part of Ethiopia or Ogaden, and the Somali part of the

22       French Somali coast or Djibouti.       And the aim was to unify

23       all of those five Somali territories under a single

24       authority.

25       Q.     So what would the Somali Youth League be called in



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          0:10-cr-00187-MJD-FLN
                - Cross         Doc. 285 Filed 11/25/13 Page 115 of 193    648


 1       Somali?

 2       A.   You know, I've only ever seen it referred to in English,

 3       so I can only guess at what its -- what it would have been

 4       called in Somali.     But if you are referring to the term

 5       "youth," I am guessing it would have been "dhallinyarada."

 6       Q.   I would like to ask you some questions about the

 7       Transitional Federal Government.       Now, Mr. Scott covered a

 8       lot of the history of the government, but I would like to

 9       ask you some questions about how it's operated since 2007

10       and I know that you've done a lot of work with the UN and

11       the monitoring group to look into those -- that

12       organization.

13                   Now, is it fair to say that in 2007, when the

14       Transitional Federal Government came back into the country,

15       that many Somalis opposed both the Ethiopian troops coming

16       in and the Transitional Federal Government?

17       A.   In 2007, yes, that is absolutely true.

18       Q.   And when the Ethiopian troops were backing the

19       Transitional Federal Government, it was regarded poorly by a

20       lot of the Somali public?

21       A.   That's correct.

22       Q.   Now, when the Transitional Federal Government attempted

23       to regain control of Mogadishu in 2007, they failed to

24       stabilize Mogadishu?

25       A.   Correct.



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     CASEBryden
          0:10-cr-00187-MJD-FLN
                - Cross         Doc. 285 Filed 11/25/13 Page 116 of 193         649


 1       Q.   They weren't able to provide a stable government for the

 2       city?

 3       A.   That's right.

 4       Q.   So is it right that they failed to restore any of the

 5       public services?

 6       A.   Yes, that's right.

 7       Q.   What about the economy?

 8       A.   The economy independent -- operated independently of

 9       government.    Much of the economy and particularly the big

10       markets of Bakaara and Suk Ba'ad in the north of the city,

11       these markets were functioning normally except when they

12       were targeted by usually government soldiers, but both

13       sides, or they were shelled.

14                   But economic activity continued.       The only

15       qualification would be that much of the business from

16       Bakaara, the main market, actually moved outside the city

17       towards the town of Afgoye to get away from the violence.

18       Q.   You said the markets were sometimes targeted by the

19       government soldiers?

20       A.   Well, Bakaara was considered a center of al-Shabaab

21       activity and so government forces would enter it from time

22       to time in strength.     Suk Ba'ad in the north less so.         But

23       still as centers of economic activity, either military

24       operations and sometimes just looting and pillage would take

25       place.



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          0:10-cr-00187-MJD-FLN
                - Cross         Doc. 285 Filed 11/25/13 Page 117 of 193   650


 1       Q.   Now, in your 2011 report that you provided to the United

 2       Nations you said that the principal impediment to security

 3       and stabilization in southern Somalia are the Transitional

 4       Federal Government's leadership's lack of vision or

 5       cohesion, its endemic corruption, and its failure to advance

 6       the political process?

 7       A.   That sounds right to me.

 8       Q.   Can you expand on what you were referring to by "endemic

 9       corruption."

10       A.   Over the years the Transitional Government has either

11       received revenues from, say, the port of Mogadishu and

12       perhaps to a much lesser extent taxation and also donor

13       funds, whether from Western donors or from donors in the

14       Arab world, and these funds have disappeared.

15                   To a certain extent we have some knowledge of

16       which individuals may have taken those funds or where they

17       have gone, but essentially it's an open secret that the

18       government has been extremely corrupt.

19       Q.   I think you also mentioned that the forces, the military

20       forces, the Transitional Federal Government uses are

21       irregular and clan based?

22       A.   There are about 2,000 that were trained with European

23       Union funds in Uganda that form a kind of -- well, a

24       relatively disciplined cohesive core.        Around them there are

25       militias I would say affiliated with the TFG that are clan



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     CASEBryden
          0:10-cr-00187-MJD-FLN
                - Cross         Doc. 285 Filed 11/25/13 Page 118 of 193   651


 1       based, some of them headed by militia leaders from the

 2       pre-TFG period, that are -- they may or may not be

 3       uniformed, but they are essentially irregulars.

 4       Q.   So you brought up the foreign investment into the

 5       Transitional Federal Government and let's talk about that

 6       for a moment.

 7                   Before we can get into that, can you remind us a

 8       bit about what the arms embargo is and how long the UN has

 9       been monitoring that.

10       A.   The arms embargo was established in 1992 and for ten

11       years, until 2002, it was unmonitored.        It's the

12       responsibility of member states of the United Nations to

13       ensure that their territories are not used for the export of

14       arms to Somali.

15                   By 2002 I think it was manifestly clear to

16       everybody that the arms embargo was not being respected.

17       Arms had entered the country and fueled the civil war for a

18       decade.

19                   So in 2002 the UN's Secretary General and Security

20       Council set up the first what was then known as a panel of

21       experts to monitor the embargo and report on violations.

22       The panel of experts later became known as a monitoring

23       group, in 2004 I believe.

24                   So from 2002 to 2008 there was a team which

25       changed every six months, was reappointed every six months



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          0:10-cr-00187-MJD-FLN
                - Cross         Doc. 285 Filed 11/25/13 Page 119 of 193        652


 1       to monitor the arms embargo and report on violations.            In

 2       2008 the mandate was changed.

 3                   The Security Council did two things.        One is that

 4       it expanded the mandate of the group beyond the arms embargo

 5       to report on threats to peace and security.         Threats to

 6       peace and security, specifically the Security Council added

 7       acts that threatened the transitional federal institutions,

 8       African Union forces on the ground, or the political process

 9       and specifically the 2006-'07 Djibouti Agreement by force,

10       and it added the obstruction and diversion of humanitarian

11       assistance.

12                   The second major change in 2008 was that the

13       Security Council introduced targeted sanctions.          So anyone

14       found violating the sanctions regime would be subject to an

15       assets freeze, a travel ban, and what's known as a targeted

16       arms embargo.    It would be illegal to transact military

17       business with an individual or an entity.

18                   The mandate has since evolved, I think as I said

19       yesterday, with the last resolution, 2002, of July this year

20       to include corruption within the TFIs, the transitional

21       federal institutions, or other acts that impede the

22       transitional political process.       It includes certain human

23       rights violations, including gender-based violence,

24       recruitment of child soldiers, or forced migration.

25                   And it includes any nonlocal trade with ports



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          0:10-cr-00187-MJD-FLN
                - Cross         Doc. 285 Filed 11/25/13 Page 120 of 193       653


 1       controlled by al-Shabaab, which is to say that trade that's

 2       for the people living in al-Shabaab-controlled areas is

 3       fine, it's authorized, but a lot of that trade was destined

 4       as contraband for neighboring countries or charcoal export

 5       to the Gulf states and that trade is effectively prohibited

 6       by the Security Council.

 7       Q.   Now, there's been a number of foreign countries that

 8       have provided investment into the Transitional Federal

 9       Government.    We've talked about Burundi and Uganda and some

10       of the other African countries and the UN.         Can you tell us

11       some of the other countries that have invested.

12       A.   Directly in the Transitional Federal Government?

13       Q.   (Nodding.)

14       A.   There have been donations from some Arab states, at

15       various times from Saudi Arabia, from the United Arab

16       Emirates, from Qatar, which has also had a relationship with

17       opposition groups.     There has been investment, mainly

18       humanitarian, from South Africa and through the United

19       Nations.    The largest donor until a couple of years ago I

20       think was the United States, but also most -- the European

21       Union would have been a close second and then the Nordic

22       countries.    Japan has also contributed, I believe.

23       Q.   Now, some of this international investment is

24       responsible for introducing new weapons to Somalia and has

25       been in the past?



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          0:10-cr-00187-MJD-FLN
                - Cross         Doc. 285 Filed 11/25/13 Page 121 of 193   654


 1       A.   Yes, but through the African Union forces on the ground.

 2       Q.   So has there been foreign investment providing arms and

 3       ammunition to the Transitional Federal Government that the

 4       monitoring group has considered to be violations of the arm

 5       embargo?

 6       A.   Yes.    There have been both direct and indirect.

 7                    The direct violations include, for example,

 8       Ethiopia providing arms and ammunition to proxy militias,

 9       including Ahlus Sunnah wal Jammah and some warlord-based

10       militias in the border areas.

11                    There have been direct violations by the

12       government of Kenya supporting, arming, and equipping

13       militias on its territory to fight al-Shabaab in the Jubba

14       Valley.     We have reported on these violations.

15                    The indirect violations include contributions of

16       arms and ammunition to the Transitional -- to the African

17       Union forces and the African Union has passed on some of

18       this ammunition and these weapons to allied militias

19       considered to be aligned with the transitional government.

20       These militias then also sell this ammunition into the

21       market.     Most of that ends up in the hands of al-Shabaab.

22                    So we have these two categories of violation.

23       Q.   So I believe one of the things that you mentioned and

24       you've also written about in your monitoring reports is that

25       the Transitional Federal Government, once it receives



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          0:10-cr-00187-MJD-FLN
                - Cross         Doc. 285 Filed 11/25/13 Page 122 of 193   655


 1       weapons frequently loses control of those weapons?

 2       A.   The Transitional Federal Government, yes, but probably

 3       even more so the militias that are aligned with it.

 4       Q.   I believe in your 2008 report you wrote about that it

 5       was common for soldiers to defect or desert positions in the

 6       Transitional Federal Government and then these weapons go

 7       with the soldiers?

 8       A.   That's correct.

 9       Q.   And it's also true that the Transitional Federal

10       Government soldiers have been known to sell weapons to these

11       other militia groups, including al-Shabaab?

12       A.   That's correct.

13       Q.   And you've touched on in your earlier testimony some of

14       the tactics used by these different groups, but the

15       Transitional Federal Government's police forces have also

16       been known to use machine guns and rocket-propelled grenades

17       in urban zones?

18       A.   Yes, they have.

19       Q.   Where there would be civilians present?

20       A.   That's correct.

21       Q.   Now, I would like to ask you just a couple questions

22       about the Transitional Federal Government's efforts to

23       establish a controlled, stable government in Somalia and

24       Mogadishu.

25                    You noted in your 2010 report that in your opinion



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          0:10-cr-00187-MJD-FLN
                - Cross         Doc. 285 Filed 11/25/13 Page 123 of 193   656


 1       the instability in Somalia was due to the Transitional

 2       Federal Government's weakness and not to the strength of the

 3       opposition; is that correct?

 4       A.   Yes.   I would suggest what we meant by that is not that

 5       the weakness itself created instability, but that it left

 6       Somalia essentially ungoverned so that other groups could

 7       expand.

 8                   Our assessment of al-Shabaab and other opposition

 9       groups was that they were not necessarily stronger or more

10       popular than the Transitional Federal Government, but in the

11       absence of an effective political authority they had free

12       reign of southern Somali territory.

13       Q.   You also noted that despite the foreign assistance and

14       support that the Transitional Federal Government has

15       received, that it remained ineffective, disorganized, and

16       corrupt?

17       A.   That sounds right.

18       Q.   Now I would like to ask you some questions about

19       al-Shabaab.     Now, like the other organizations and militias

20       in Somalia, it would be fair to say that al-Shabaab is not

21       unified on all of the political goals?

22       A.   Correct.

23       Q.   And there's significant internal disagreement regarding

24       the use of tactics that we've discussed here, the use of

25       suicide bombers, foreign fighters, that they are -- there's



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          0:10-cr-00187-MJD-FLN
                - Cross         Doc. 285 Filed 11/25/13 Page 124 of 193   657


 1       disagreement within al-Shabaab about using those tactics?

 2       A.   There's some indications of that.       Again, as I say, it's

 3       a secretive organization.      It's hard to know, but, yes, I

 4       think there are some indications of that.

 5       Q.   And in your 2010 report you noted that you believed

 6       that the -- excuse me -- not you specifically, but that the

 7       UN monitoring group believed that there were some elements

 8       of al-Shabaab that appeared to be pragmatic and eligible for

 9       political engagement?

10       A.   That's correct.

11       Q.   Now, one of the individuals that you talked about

12       yesterday was Hassan Dahir Aweys, and possibly this morning

13       as well.     And I believe you said on your direct that he was

14       affiliated with al-Shabaab, so I wanted to ask you some

15       questions about that.

16                    Now, Hassan Dahir Aweys I believe -- and you can

17       correct me -- in 2007 became the leader of Hizbul Islam?

18       A.   2009.

19       Q.   Oh, it was 2009.    And before that he was working with

20       which organization?

21       A.   The Islamic Courts.     Well, before that with the ARS

22       based in Eritrea and before that with the Islamic Courts and

23       before that with al-Ittihad al-Islam.

24       Q.   But he left the country when the Islamic Courts

25       disintegrated?



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          0:10-cr-00187-MJD-FLN
                - Cross         Doc. 285 Filed 11/25/13 Page 125 of 193     658


 1       A.   That's correct.

 2       Q.   And he returned under the organization Hizbul Islam?

 3       A.   Correct.

 4       Q.   And Hizbul Islam is a separate organization from

 5       al-Shabaab?

 6       A.   Yes, it is.

 7       Q.   And they may have cooperated at times, but they do not

 8       pursue the same political and ideological agenda?

 9       A.   There was a degree of overlap, but they were distinct.

10       Q.   So Hassan Dahir Aweys is not a member of al-Shabaab?

11       A.   Well, since Hizbul Islam disintegrated, he has merged

12       with al-Shabaab.

13       Q.   And when was that?

14       A.   That was in 2010, I believe.      I'm not sure of the exact

15       date.   It may have been earlier this year.

16       Q.   I'd also like to touch on the humanitarian assistance

17       efforts.    Somalia is considered one of the most, if not the

18       most, difficult places on the globe to provide humanitarian

19       assistance; is that true?

20       A.   That's correct.

21       Q.   Because of the instability, it's not uncommon for aid

22       agencies to pay off local authorities for protection to

23       distribute aid?

24       A.   That's true.    It varies a great deal and it has become

25       less common since the U.S. government and the UN imposed



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          0:10-cr-00187-MJD-FLN
                - Cross         Doc. 285 Filed 11/25/13 Page 126 of 193     659


 1       restrictions that would involve some legal liability if

 2       those agencies provided resources directly to al-Shabaab.

 3       Q.   Because the conditions there are changing so frequently,

 4       let's focus on the time period that's covered under the

 5       indictment in this case, which would be September 17, 2008

 6       through July 19, 2009.

 7       A.   Yes.

 8       Q.   So at that point this was a common practice?

 9       A.   Well, the most common practice would have been for

10       agencies to hire their own security.        Those security would

11       obviously be from a local clan aligned probably with the

12       most influential authorities in that area in order to ensure

13       some goodwill.    It would be rare for agencies to pay off a

14       factional militia for support.       It may have happened

15       indirectly, but it would have been much less common.

16       Q.   But aid agencies that operate in combat areas frequently

17       lose a portion of their aid to the group controlling that

18       area?

19       A.   Yes.

20       Q.   And you described that practice in your 2010 report as

21       the cost of doing business in Somalia?

22       A.   I think that's in inverted commas, but, yes, we used

23       that term.    Also I would say that assessment is based on our

24       research.    In a combat zone it would be quite normal for up

25       to 10 to 15 percent of relief assistance to be diverted, and



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     CASEBryden
          0:10-cr-00187-MJD-FLN
                - Cross         Doc. 285 Filed 11/25/13 Page 127 of 193    660


 1       agencies tend to accept that.       We were attributing that more

 2       to the common view of the aid community rather than to a

 3       monitoring group assessment.       Aid agencies would normally

 4       accept losses of 10 to 15 percent as the cost of doing

 5       business.

 6       Q.   And those losses that were diverted, whether they were

 7       provided for protection or as a bribe or they were taken

 8       from the agencies, those would go to the militia that was in

 9       charge of the area?

10       A.   Yes.

11       Q.   One of the aid agencies you discussed in that report was

12       the World Food Programme?

13       A.   Yes.

14       Q.   And I understand that they've left Somalia at this

15       point; is that --

16       A.   No, they're back in Somalia.      They suspended contracts

17       to three individuals that we named in that report as either

18       involved in the diversion of food or maintaining large

19       militias thanks to their contracts with the World Food

20       Programme.

21       Q.   And these individuals that you're identifying in your

22       report, you are referencing the monitoring group's discovery

23       that the World Food Programme was known to provide some

24       financial support to some of these armed groups in their

25       efforts to provide aid?



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     CASEBryden
          0:10-cr-00187-MJD-FLN
                - Cross         Doc. 285 Filed 11/25/13 Page 128 of 193   661


 1       A.   It was based on the fact that they had contracted three

 2       individuals for well over a decade and at least at that time

 3       we only made allegations about two of the individuals, one

 4       of them we had no case against; that two of the individuals,

 5       one had been allegedly involved in diversion of food aid on

 6       a large scale and one was a major financier of first the

 7       Islamic Courts and then al-Shabaab.

 8       Q.   I believe you estimated in that report, like you

 9       mentioned with many groups, that 5 to 10 percent of the aid

10       would be diverted to armed groups in control of that area?

11       A.   I think we actually had a higher estimate in that

12       report.

13       Q.   And at the time of the 2010 report, al-Shabaab

14       controlled 95 percent of the areas in which the World Food

15       Programme operated?

16       A.   That's probably correct.

17       Q.   And the World Food Programme is a well-respected

18       international aid agency?

19       A.   It's a UN agency.

20       Q.   So it would be fair to say that even well-respected aid

21       agencies have difficulty providing aid in areas where

22       al-Shabaab is operating without some of those funds being --

23       aid being diverted to al-Shabaab?

24       A.   That's correct.    The humanitarian community, of course,

25       adheres to the principle of humanitarian neutrality, which



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          0:10-cr-00187-MJD-FLN
                - Redirect      Doc. 285 Filed 11/25/13 Page 129 of 193      662


 1       is it doesn't matter who is in control, if there are

 2       civilians in need, then they try to provide assistance and

 3       they accept that it's never perfect, especially areas that

 4       they cannot control.

 5                   Al-Shabaab established a system, which is, in

 6       fact, referred to in one of the calls.        It's known as the

 7       Office for the Supervision of -- I can't remember exactly

 8       the term, but basically of aid agencies that increasingly

 9       hindered access for NGOs and the UN to areas under their

10       control, which meant that the proportion of assistance that

11       was being diverted or that couldn't be verified as having

12       reached the beneficiaries increased.        And that's one of the

13       reasons that since that time international agencies have

14       done less and less business in those areas, because they

15       just can't confirm where the aid is going.

16       Q.   Thank you, Mr. Bryden.     I don't have any more questions.

17       A.   Thank you.

18                              REDIRECT EXAMINATION

19       BY MR. WARD:

20       Q.   Mr. Bryden, I just want to work backwards and talk about

21       some of the questions you were asked on cross examination by

22       Ms. Gurstelle, particularly with respect to humanitarian

23       assistance efforts.

24                   In your view, is al-Shabaab part of the solution

25       of delivering humanitarian assistance or are they part of



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     CASEBryden
          0:10-cr-00187-MJD-FLN
                - Redirect      Doc. 285 Filed 11/25/13 Page 130 of 193     663


 1       the problem?

 2       A.   Well, our most recent report concludes that al-Shabaab

 3       actively obstructs humanitarian access to areas under its

 4       control.

 5       Q.   And, sir, if you recall, you were asked on cross

 6       examination about a group called Hizbul Islam led by Sheikh

 7       Hassan Dahir Aweys, the specially designated global

 8       terrorist?

 9       A.   Yes.

10       Q.   And you were asked some questions in relationship to

11       al-Shabaab about that group.       But do the two -- when Hizbul

12       Islam existed, did the two groups, al-Shabaab and Hizbul

13       Islam, share the goal of overthrowing the Transitional

14       Federal Government?

15       A.   Yes, they did.

16       Q.   And was that going to be by peaceful means or --

17       A.   No, that was a coordinated military effort.

18       Q.   You were asked a question on cross examination about a

19       particular group or possibly even a police group that used

20       some tactics similar to al-Shabaab.        Do you recall that

21       question?

22       A.   Yes, although I think it was phrased somewhat

23       differently, that they also used rocket-propelled grenades

24       and violence against civilians.

25       Q.   Thank you for reminding me.      Is there any other group in



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          0:10-cr-00187-MJD-FLN
                - Redirect      Doc. 285 Filed 11/25/13 Page 131 of 193      664


 1       Somalia operating on either side of the conflict that

 2       engages in suicide bombing?

 3       A.   No.

 4       Q.   Sir, moving backward to Mr. Scott's cross examination,

 5       do you remember talking with him about the tongue-lashing

 6       that Defendant Amina Ali gave to Hassan Afgoye talking about

 7       the "Here we are, you know, we're at your service, Osama"

 8       campaign?

 9       A.   Yes, I do.

10                   MR. WARD:   If I could have 114, please.

11       BY MR. WARD:

12       Q.   114 is that same conversation that both you and -- or

13       both I and Mr. Scott asked you about, but on the second page

14       at the top, this is where Amina is giving Hassan Afgoye a

15       piece of her mind and she's saying that the only thing that

16       Osama bin Laden can do is "stir up animosities and reinforce

17       the suspicion those sick people have about your relationship

18       with these men."     Do you see that there?

19       A.   Yes, I do.

20       Q.   And my question to you, sir, is:       We're talking about in

21       March of 2009 some communications or a response to a

22       communication from Osama bin Laden.        Prior to March of 2009

23       had there been other communications or other indications of

24       a relationship between the foreign terrorist organization

25       al-Shabaab and leaders of al-Qaeda?



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     CASEBryden
          0:10-cr-00187-MJD-FLN
                - Redirect      Doc. 285 Filed 11/25/13 Page 132 of 193      665


 1       A.   Yes, there had been.     There was a long-standing

 2       relationship.

 3       Q.   Can you give me an example of two or three of those.

 4       A.   Well, first of all, Hassan Dahir Aweys himself had had a

 5       relationship with al-Qaeda East Africa dating from the early

 6       1990s, as had Hassan Turki.

 7                    Then several of the prominent al-Shabaab figures,

 8       especially I would say someone I haven't mentioned, Ibrahim

 9       Haji Jama Mee'aad/al-Afghani, who was one of the first

10       al-Shabaab to engage in jihad back in the late 1980s, also

11       had a prior relationship with al-Qaeda.        He had been trained

12       in Afghanistan and he and Aden Hashi Ayrow provided some of

13       the militias and support, the liaison for the three

14       principal members of al-Qaeda East Africa who moved to

15       Mogadishu.

16                    After the 1998 embassy bombing in Nairobi, the

17       presumed head of the al-Qaeda East Africa cell, Fazul

18       Abdullah Mohammed, moved to Somalia together with others.

19                    After the 2002 bombing of the Paradise Hotel in

20       Kikambala near Mombasa and the attempted shooting down of an

21       Israeli airliner near Mombasa, other members of the al-Qaeda

22       East African Network moved to Somalia.

23                    Saleh Ali Saleh Nabhan, Abu Talha al-Sudani, and

24       these groups -- these individuals were known to be protected

25       by the militias of Aden Hashi Ayrow.        Ibrahim Haji Jama was



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     CASEBryden
          0:10-cr-00187-MJD-FLN
                - Redirect      Doc. 285 Filed 11/25/13 Page 133 of 193        666


 1       associated with them at that time, as were some other

 2       members of what later became known as al-Shabaab.

 3       Q.   Now, have there been other communications where

 4       prominent leaders of al-Qaeda had encouraged al-Shabaab to

 5       continue its violent jihad against the Transitional Federal

 6       Government?

 7       A.   Yes.   And I don't remember the dates, but there were

 8       statements from Ayman al-Zawahiri, bin Laden's number two,

 9       and also communications with al-Libbi, another senior

10       al-Qaeda figure.

11       Q.   Now, Mr. Scott also asked you about the form of sharia

12       that al-Shabaab would like to implement by force and I think

13       you indicated in response to his question that all of the

14       charters or constitutions of the various attempts at

15       government in Somalia have contained the requirement that

16       they be conducted in accordance with sharia; is that

17       correct?

18       A.   That's correct.

19       Q.   Is it true, though, that none of them has ever adopted

20       al-Shabaab's peculiar interpretation of sharia for the

21       Somali people?

22       A.   That's true except once in 1994 one Islamic court in

23       northern Mogadishu implemented cross amputations.          It was a

24       court run by a sheikh known as Ali Dhere.         The clan in that

25       part of Mogadishu was so offended and responded so



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          0:10-cr-00187-MJD-FLN
                - Redirect      Doc. 285 Filed 11/25/13 Page 134 of 193       667


 1       aggressively, that the amputations were suspended and

 2       discontinued until al-Shabaab arrived.

 3       Q.   And when you refer to the courts, you are talking about

 4       that group that held power in parts of -- in Mogadishu and

 5       other parts?

 6       A.   This was a precursor to all of that.        It was one of the

 7       earliest declared Islamic courts in Somalia.         It didn't last

 8       very long.

 9       Q.   Now, when Mr. Scott and you were discussing various

10       types of tactics, do you recall a line of questioning about

11       targeted killings?

12       A.   Yes, I do.

13       Q.   Do you recall that he asked you whether or not suicide

14       bombing was -- he asked you to analogize it to artillery

15       fire; is that correct?

16       A.   Yes.

17       Q.   Would you agree with me, though, Mr. Bryden, that there

18       are a lot of differences between the use of indirect fire,

19       artillery, and a suicide bomber?

20       A.   Yes, I would.

21       Q.   In fact -- I forget.     In your military experience were

22       you an artillery officer?

23       A.   No.    I was an infantry officer, but I did direct

24       artillery.

25       Q.   And in directing artillery, do you realize -- you



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          0:10-cr-00187-MJD-FLN
                - Redirect      Doc. 285 Filed 11/25/13 Page 135 of 193   668


 1       realize, then, that a lot of times you can't even actually

 2       see the target that you are firing at?

 3       A.   That's correct.    That's why it's indirect fire.

 4       Q.   And in your experience, certainly there are cases in

 5       which artillery fire goes off course?

 6       A.   That's correct.

 7       Q.   Now, let's contrast the situation, then, of a suicide

 8       bomber.   With a suicide bomber, the chance of actually

 9       hitting your target really is pretty much dependent upon

10       whether or not you have somebody willing to kill themselves;

11       is that correct?

12       A.   That and whether or not they can actually get past

13       whatever protection exists to the site, yes.

14       Q.   And that was the question I was going to have to have

15       you answer.

16                   MR. WARD:   Exhibit 141, if we could have that,

17       please.

18       BY MR. WARD:

19       Q.   This is the call that on cross examination Mr. Scott

20       didn't want to ask you about.       This is the call that we

21       talked about on direct about the Beledweyne hotel's suicide

22       bombing that killed the security minister and a bunch of

23       other people on June 18, 2009.       And if you have that in

24       front of you, this is the one that the Defendant Hawo Hassan

25       describes as "The best joy ever"?



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     CASEBryden
          0:10-cr-00187-MJD-FLN
                - Redirect      Doc. 285 Filed 11/25/13 Page 136 of 193   669


 1       A.   Yes.

 2       Q.   She then goes on to describe how -- "Omar Hashi is

 3       gone."

 4            And Amina says, "Did he die?"

 5            Hawo Hassan then goes on to say, "He is dead."

 6            And Amina says, "May God protect the people from him.

 7       Go on."

 8            So the Defendant Hawo Hassan goes on and says (As read),

 9       "The hotel he was staying in, with hundreds of others...I

10       think Ethiopians were there also...and all the Hawadle clan

11       leaders, and Laqanyo, the other" -- he calls him the

12       other -- she calls him "the other days foul mouthed one, who

13       was the former Somali Ambassador to Ethiopia, all the

14       officials; they are still counting the dead."

15       A.   Yes.

16       Q.   On the following page the Defendant Amina Ali responds,

17       "Wonderful!"

18                   And would you read, please, the response that Hawo

19       Hassan had to that.

20       A.   "His maternal cousin -- his own maternal cousin, who is

21       a member of Al Shabab, was the guy who went inside with it."

22       Q.   In your opinion, would that have been a good way to

23       acquire a target as a suicide bomber?

24       A.   Yes, it would.

25       Q.   With respect to -- there was some cross examination



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          0:10-cr-00187-MJD-FLN
                - Redirect      Doc. 285 Filed 11/25/13 Page 137 of 193        670


 1       about the current president of the Transitional Federal

 2       Government, Sheikh Sharif Sheikh Ahmed, and do you remember

 3       Mr. Scott saying that he used to be one of them?

 4       A.   Yes.

 5       Q.   And by that I understood him to mean that when

 6       al-Shabaab was underneath the Islamic Courts Union, as a

 7       technical matter Sheikh Sharif Sheikh Ahmed was actually in

 8       charge of it because he was with the Courts; is that

 9       correct?

10       A.   That's correct.    He had to -- the Courts were, as we

11       discussed earlier, a very broad umbrella.         Al-Shabaab was

12       one of the elements under that umbrella and part of Sheikh

13       Sharif's responsibility as a leader was to try to maintain

14       some form of cohesion between all of these elements.             That's

15       correct.

16       Q.   Now, of course, since the date of the Courts Sheikh

17       Sharif Sheikh Ahmed has become the head of the latest

18       attempt at central government and he's left al-Shabaab; is

19       that correct?

20       A.   He was never a member of al-Shabaab, but in other

21       respects that's correct.

22       Q.   Okay.   And how has al-Shabaab reacted to the fact that

23       he's now the head of the government?

24       A.   They've declared him and his government apostates and

25       waged war against them.



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     CASEBryden
          0:10-cr-00187-MJD-FLN
                - Recross       Doc. 285 Filed 11/25/13 Page 138 of 193   671


 1       Q.   And as an apostate, what is the remedy or the punishment

 2       under al-Shabaab's view?

 3       A.   That's equivalent to a death sentence.

 4       Q.   And actually isn't that what al-Shabaab wants to do to

 5       anyone who attempts to leave the organization?

 6       A.   I think they've shown --

 7                    MS. GURSTELLE:    Objection, improper redirect,

 8       leading.

 9                    MR. WARD:    I will withdraw the question, Your

10       Honor.

11                    THE COURT:    Anything further?

12                    MR. WARD:    No, nothing further, Your Honor.

13                    THE COURT:    Mr. Scott?

14                    MR. SCOTT:    Thank you, Your Honor.

15                                 RECROSS EXAMINATION

16       BY MR. SCOTT:

17       Q.   I think on redirect examination you were talking about

18       al-Qaeda ties to al-Shabaab?

19       A.   Yes.

20       Q.   And the first two names you mentioned in terms of people

21       who had ties to al-Qaeda were Hassan Aweys and Hassan Turki?

22       A.   That's why they were initially designated.

23       Q.   Okay.   But they were not at that time -- or at least

24       Hassan Turki has never been a member of al-Shabaab?

25       A.   Correct.



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     CASEBryden
          0:10-cr-00187-MJD-FLN
                - Recross       Doc. 285 Filed 11/25/13 Page 139 of 193   672


 1       Q.     And Hassan Aweys had never been a member until maybe

 2       this year or the end of last year?

 3       A.     No, they were both what I would call mentors of

 4       al-Shabaab rather than members.

 5       Q.     And Hassan Aweys, speaking as a mentor, he was one of

 6       the central figures in the Islamic Courts as well, was he

 7       not?

 8       A.     He was indeed.

 9       Q.     And this fellow Gaty [phonetic] -- you said late '80s

10       somebody named Geety [phonetic]?

11       A.     Ibrahim Haji Jama Mee'aad/al-Afghani.

12       Q.     Okay.   Al-Afghani.   That was in the late '80s.

13       Al-Shabaab was not a recognized organization in the late

14       '80s?

15       A.     No.   Ibrahim Haji Jama traveled to Afghanistan in the

16       late '80s and returned to Somalia in 1990 as one of the

17       founders of al-Ittihad al-Islam and then went on to become

18       one of the founders of al-Shabaab.

19       Q.     And in 1998 he was what connection to al-Shabaab?

20       A.     In 1998 --

21       Q.     Excuse me.   2008, what we're talking about here.

22       A.     Well, we know that in 2006 he was -- prior to the

23       dispersal of al-Shabaab his last known position was as

24       secretary of the standing committee to the Shura of the

25       Islamic Courts as a member of al-Shabaab.



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          0:10-cr-00187-MJD-FLN
                - Recross       Doc. 285 Filed 11/25/13 Page 140 of 193        673


 1                     After the dispersal he reappeared in Kismayo.      He

 2       adopted the name Abubakar al-Seyli'i, not his real name, and

 3       he became briefly the mayor of Kismayo and then withdrew to

 4       a behind-the-scenes role.

 5                     He is still known to be very active and is

 6       described as often the deputy to Ahmed Abdi Godane, although

 7       I would say he's probably more influential than Godane

 8       himself.

 9       Q.   And I don't want to spend a lot of time on this targeted

10       killing stuff, but I think what the prosecutor was asking

11       you is when you launch an artillery attack, you know there's

12       going to be the possibility of collateral damage because

13       artillery is just not that accurate?

14       A.   I believe that was part of the solution, but if I may --

15       Q.   I mean, that doesn't forgive --

16       A.   In terms of asking about the differences between the

17       two, at approximately the time that we're discussing a

18       suicide bomber walked into a medical student's graduation

19       and blew himself up.       That was the target.    That's not

20       collateral damage.

21       Q.   Right.    Okay.   I was trying to figure that out.

22                     MR. SCOTT:   I have nothing further.

23                     MS. GURSTELLE:   No further questions, Your Honor.

24                     THE COURT:   Sir, you may step down.

25                     THE WITNESS:   Thank you, Your Honor.



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     CASEWilson
          0:10-cr-00187-MJD-FLN
                - Direct        Doc. 285 Filed 11/25/13 Page 141 of 193       674


 1                   THE COURT:   Let's take a 15-minute break.       Let's

 2       take a 15-minute break.

 3            (Recess taken at 2:34 p.m.)

 4                                *     *   *   *      *

 5            (2:42 p.m.)

 6                                    IN OPEN COURT

 7                                    (JURY PRESENT)

 8                   THE COURT:   Call your next witness, please.

 9                   MR. PAULSEN:     The United States calls Special

10       Agent Mike Wilson.

11            (Witness sworn.)

12                   THE COURT:   Sir, would you state your true and

13       correct name for the record, please.

14                   THE WITNESS:     Michael R. Wilson.

15                   THE COURT:   Spell Michael.

16                   THE WITNESS:     M-i-c-h-a-e-l.

17                   THE COURT:   Wilson.

18                   THE WITNESS:     W-i-l-s-o-n.

19                   THE COURT:   You may inquire.

20                                  (Michael Wilson)

21                                DIRECT EXAMINATION

22       BY MR. PAULSEN:

23       Q.   Special Agent Wilson, by whom are you employed?

24       A.   With the FBI.

25       Q.   How long have you been an FBI agent?



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     CASEWilson
          0:10-cr-00187-MJD-FLN
                - Direct        Doc. 285 Filed 11/25/13 Page 142 of 193   675


 1       A.     Almost 20 years.

 2       Q.     Where did you do the first part of your career with the

 3       FBI?

 4       A.     The primary first part was in North Dakota.

 5       Q.     And that was from about, what, 1992 to 2002?

 6       A.     Yeah, approximately.

 7       Q.     What types of cases did you work on up in North Dakota?

 8       A.     While I was out there, the major investigation was

 9       crimes on the federal Indian reservations.

10       Q.     And that's all type of different crimes, including

11       violent crimes?

12       A.     Primarily violent crime.

13       Q.     Then after your stint in North Dakota you went to the

14       Rochester field office here in Minnesota?

15       A.     Correct.

16       Q.     And what types of cases have you worked on for the last

17       ten years down in Rochester?

18       A.     Out there general criminal investigations as well as

19       some foreign counter-intelligence and foreign

20       counter-terrorism investigations.

21       Q.     Which is the type of investigation this case involves,

22       right?

23       A.     Correct.

24       Q.     About how many prior counter-terrorism investigations

25       have you worked on?



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     CASEWilson
          0:10-cr-00187-MJD-FLN
                - Direct        Doc. 285 Filed 11/25/13 Page 143 of 193        676


 1       A.   We've worked on quite a few.      It's hard to say.     To put

 2       a number on it, I would say at least 40.

 3       Q.   And when did this particular investigation begin?

 4       A.   Approximately summer of 2008.

 5       Q.   And was there something that triggered you and Special

 6       Agent McGrane to open an investigation down in Rochester?

 7       A.   Yes.   We had received information that Ms. Ali had been

 8       in contact with a prohibited group.

 9       Q.   And did that lead come from headquarters?

10       A.   Yes, it did.

11       Q.   So you opened an investigation here in Minnesota?

12       A.   Correct.

13       Q.   And what was the nature of the investigation you opened?

14       A.   We initiated a foreign counter-intelligence -- or

15       foreign counter-terrorism investigation.

16       Q.   And what organization was Ms. Ali at that time suspected

17       of being involved with --

18       A.   Al-Shabaab.

19       Q.   -- prohibited contact?

20       A.   Al-Shabaab.

21       Q.   And the document has been introduced, but you're aware

22       that al-Shabaab was designated by the Department of State as

23       a foreign terrorist organization on February 26, 2008?

24       A.   Correct.

25       Q.   As a result of that, it became illegal as of then to



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     CASEWilson
          0:10-cr-00187-MJD-FLN
                - Direct        Doc. 285 Filed 11/25/13 Page 144 of 193   677


 1       provide material support to al-Shabaab?

 2       A.   Yes.

 3       Q.   And people that are covered by that law include United

 4       States citizens?

 5       A.   Correct.

 6       Q.   Is Amina Ali a United States citizen?

 7       A.   Yes, she is.

 8       Q.   Is she originally from another country, to your

 9       knowledge?

10       A.   Yes, she is, from Somalia.

11       Q.   And she became a naturalized citizen here at some point?

12       A.   Yes.

13       Q.   And is Defendant Hawo Hassan also a naturalized citizen

14       of the United States?

15       A.   She is.

16       Q.   And did she come from another country at some point?

17       A.   Somalia as well.

18       Q.   Was there kind of a parallel investigation going on

19       involving al-Shabaab being run out of the Minneapolis

20       office?

21       A.   Yeah.   Around this time there was a concern with young

22       Somali men traveling --

23                    MR. SCOTT:   I am going to object, Your Honor.

24       It's all hearsay.

25                    THE COURT:   Sustained.



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     CASEWilson
          0:10-cr-00187-MJD-FLN
                - Direct        Doc. 285 Filed 11/25/13 Page 145 of 193   678


 1       BY MR. PAULSEN:

 2       Q.   What did you do at the start of your investigation, what

 3       preliminary investigation did you do?

 4       A.   Well, we conducted some surveillance.        We tried to

 5       establish residence.     We tried to confirm telephone

 6       information of Ms. Ali, and we did analysis of that

 7       telephone information and discovered numerous international

 8       calls which tended to corroborate some of the information we

 9       had received from headquarters.

10       Q.   And so to be clear, were you able to locate where

11       Ms. Ali was residing at the time?

12       A.   Yes, we did, in Rochester.

13       Q.   And later on were you able to locate where Hawo Hassan

14       was residing at the time?

15       A.   Yes, we did.    She also lived in Rochester.

16       Q.   Did they live close to each other or far apart?

17       A.   I would say within five or so miles.

18       Q.   So based on the preliminary investigation, including the

19       analysis of phone records, did there come a time when a

20       wiretap was applied for in this case?

21       A.   Yes, there was.

22       Q.   And that is you make an application to a court and the

23       court reviews it and decides whether the court is going to

24       authorize you to tap someone's phone?

25       A.   Correct.



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     CASEWilson
          0:10-cr-00187-MJD-FLN
                - Direct        Doc. 285 Filed 11/25/13 Page 146 of 193         679


 1       Q.    And that approval came through in this case?

 2       A.    It did.

 3       Q.    And the phones you were authorized to wiretap were whose

 4       phones?

 5       A.    It was Ms. Ali's landline telephone number and then

 6       later Ms. Ali's cellular telephone number.

 7       Q.    And when did the wiretap on Ms. Ali's two phones begin?

 8       A.    Initiated in about mid September of 2008.

 9       Q.    Describe generally how the wiretap operates.

10       A.    Well, once we get the court order authorizing the

11       wiretap, for the landline we conducted that in Rochester and

12       the information from the call is intercepted and then sent

13       out to Minneapolis where it's put on opti disks, the audio

14       is.

15                   And then in this case, because it's a foreign

16       language, it was routed off to Washington, D.C. where we

17       have a language unit that will do translations for us.           And

18       then after they do the translation, it will be sent back to

19       us in a written format so we can understand the call.

20       Q.    And similarly with the cell phone, were recordings

21       collected and then sent off to Language Services for review?

22       A.    Correct.

23       Q.    And how would you be kept advised of the progress of the

24       wiretap investigation?

25       A.    Well, as soon as the linguists had prepared a summary of



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     CASEWilson
          0:10-cr-00187-MJD-FLN
                - Direct        Doc. 285 Filed 11/25/13 Page 147 of 193   680


 1       the call, we would receive it electronically on our system.

 2       Now, it's not real time.      It usually takes about three,

 3       four, five days for them to translate it and then we would

 4       receive it on our computer and review it.

 5       Q.   And we haven't really talked about it, but on all these

 6       transcripts at the top there's something called a session ID

 7       number.   What's that?

 8       A.   Well, each call is assigned an identification number.

 9       It helps in the tracking of the call throughout the process.

10       Q.   Sometimes there's more than one session identification

11       number?

12       A.   Correct.    We might initially receive what's called a

13       summary of the call and that gets an identification number.

14       Later on if we request a verbatim translation, which is word

15       for word, from portions of that summary, then that would be

16       on occasion assigned another identification number.

17       Q.   But not always, sometimes it's just one number for each

18       call?

19       A.   Correct.

20       Q.   And how long did this wiretap on Ms. Ali's phones last?

21       A.   Approximately ten months.

22       Q.   And is that unusually long for this type of

23       investigation?

24       A.   Not really.    In fact, it would be -- with some it could

25       be considered on the shorter end.



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     CASEWilson
          0:10-cr-00187-MJD-FLN
                - Direct        Doc. 285 Filed 11/25/13 Page 148 of 193   681


 1       Q.   What's the goal of an investigation of this type?

 2       A.   Well, the goal is to find out, of course, what's

 3       happening and what is the extent of the activity locally,

 4       you know, who are the individual's associates, who are they

 5       dealing with.

 6                   And then of course in this case you're dealing

 7       with international contacts in Somalia and in this case

 8       al-Shabaab members.     So even from an intelligence

 9       standpoint, information you can obtain concerning those

10       al-Shabaab members is very important.

11                   So it's international aspect and then also

12       domestic aspect.

13       Q.   Now, in the course of the ten months were numerous

14       recorded calls generated?

15       A.   Yes, numerous.

16       Q.   And many of them were described as being pertinent to

17       the investigation?

18       A.   Correct.

19       Q.   That meant they had something to do with the matters

20       under investigation?

21       A.   Yes.

22       Q.   And after this case was indicted and lawyers were

23       appointed, what was done with respect to all of the

24       pertinent calls in the investigation?

25       A.   All the calls deemed pertinent were turned over to the



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     CASEWilson
          0:10-cr-00187-MJD-FLN
                - Direct        Doc. 285 Filed 11/25/13 Page 149 of 193   682


 1       prosecutor's office and then to the defense counsel.

 2       Q.   And that would be a lot more than we have in the binder

 3       here, right?

 4       A.   Considerably a lot more.

 5       Q.   But both sides have had access to all the pertinent

 6       calls?

 7       A.   Yes.   And the call would be the entire audio of the

 8       call, not just the snippets, but the entire audio session

 9       would be provided.

10       Q.   All right.   I want to turn right to -- well, Count 1 of

11       the indictment is the conspiracy count charging Amina Ali

12       and Hawo Hassan with conspiracy to provide material support;

13       is that right?

14       A.   Yes.

15       Q.   And I'm going to turn -- and then there are Counts 2

16       through 13 that charge Amina Ali with specific transactions

17       of providing material support to al-Shabaab?

18       A.   Correct.

19       Q.   And I am going to turn right now to Count 2, one of

20       those transactions.     That transaction is alleged to have

21       involved material support to al-Shabaab on September 17,

22       2008 in the amount of $1,063.       There are some calls that

23       relate to that count?

24       A.   Yes, we have some calls.

25                   MR. PAULSEN:    At this time I offer Counts -- or



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     CASEWilson
          0:10-cr-00187-MJD-FLN
                - Direct        Doc. 285 Filed 11/25/13 Page 150 of 193      683


 1       Exhibits 2 and 3.

 2                   MR. KELLY:   No objection.

 3                   MR. SCOTT:   No objection, Your Honor.

 4                   THE COURT:   Be admitted.

 5       BY MR. PAULSEN:

 6       Q.   Before we get into the call itself, can you tell us just

 7       a little bit about what the investigation revealed with

 8       respect to how funds were raised.

 9       A.   In this case funds were raised by just going door to

10       door knocking on person's doors and asking for individuals

11       to donate money.

12                   The second method was through teleconferences,

13       which you have heard a little bit about today or in previous

14       testimony, and you would have a guest speaker come on.

15       Amina -- I should back up.      Amina Ali had a teleconference

16       line and on occasion she would invite guest speakers to come

17       on that line.     Some of these speakers were al-Shabaab

18       members and they would make a plea, a pitch for funds and

19       individuals would then donate that money, who are listening

20       to the teleconference, to Ms. Ali.        And that was the second

21       method.

22       Q.   We've heard some talk about giving to orphans or not

23       giving to orphans.     Did Ms. Ali kind of have some rules or

24       guidelines in that regard when it came to fund-raising?

25       A.   She absolutely did.



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     CASEWilson
          0:10-cr-00187-MJD-FLN
                - Direct        Doc. 285 Filed 11/25/13 Page 151 of 193        684


 1                    MR. SCOTT:   Your Honor, I object to the summary

 2       testimony.    If there are words and they were made --

 3                    THE COURT:   Sustained.

 4       BY MR. PAULSEN:

 5       Q.     Will there be some calls that we are going to get to on

 6       that issue?

 7       A.     Definitely to explain to that.

 8       Q.     Let's start with Exhibit 2.     This is a call on

 9       September 21, 2008 between Amina Ali and Hassan Afgoye.            And

10       just to set the stage here, the transaction is alleged to

11       have occurred on September 17, 2008.        Were you monitoring

12       Amina Ali's phones that early or not?

13       A.     That was right around the time we started the

14       monitoring, right at the beginning of it.         So I think we

15       actually went up on September 20th, approximately.          So this

16       would be like around the first day.

17       Q.     And this is a call at 18:11, which would be 6:11 p.m.,

18       but UTC.    Now, that's straighten that out right now.           What's

19       UTC?

20       A.     UTC is Coordinated Universal Time.     As you had heard in

21       prior testimony, it's similar to Greenwich Mean Time.

22       Q.     Can you tell what time it would have been in Minnesota

23       from this 6:11 p.m. UTC.      How many hours do you have to

24       subtract?

25       A.     At this time you would subtract approximately five



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     CASEWilson
          0:10-cr-00187-MJD-FLN
                - Direct        Doc. 285 Filed 11/25/13 Page 152 of 193   685


 1       hours.

 2       Q.     Does it vary whether we are in Daylight Savings Time or

 3       not?

 4       A.     If it's Daylight Savings, then you would subtract six

 5       hours.

 6       Q.     So on all of these calls the jury either subtracts five

 7       or six hours from the time that's listed?

 8       A.     Correct.

 9                      MR. PAULSEN:   Play Exhibit 2, please.

10              (Audio recording played.)

11       BY MR. PAULSEN:

12       Q.     So on page 2, just past the halfway or at the halfway

13       point, she asks Hassan Afgoye if he had received a thousand?

14       A.     Correct.

15       Q.     And just so everybody recalls, Hassan Afgoye is also

16       known as Abu Ayman?

17       A.     Hassan Mohamed Ali is another alias.

18       Q.     And he was the al-Shabaab figure who later became the

19       governor of the Bay and Bakool regions?

20       A.     Correct.   At this time he was more in charge of the

21       finance issues.

22       Q.     He was a finance representative for who?

23       A.     Al-Shabaab.

24       Q.     Okay.   And again on the top of page 3 she asks him if he

25       had received a thousand dollars.       He says, "When was it



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     CASEWilson
          0:10-cr-00187-MJD-FLN
                - Direct        Doc. 285 Filed 11/25/13 Page 153 of 193       686


 1       sent?"     And apparently the call isn't real clear, so she

 2       says, "I will call you back."

 3       A.   Yes.

 4       Q.   All right.    Does she call him back the next day?          I

 5       believe it's the next day.

 6       A.   Yes, she does.    And in this call here, too, she makes

 7       mention that she sent the money under the name Nima Ali

 8       Mohamed.

 9       Q.   Have you researched that name?

10       A.   Yes.    That name, as we will see in a later exhibit,

11       is -- she'll say that that's a name that she had made up,

12       it's a fictitious name.

13       Q.   Okay.    So then we go to Exhibit 3, which is a call the

14       next day, September 22, 2008, at it would be 2:53 p.m. UTC

15       again between Amina Ali and Hassan Afgoye.

16                    MR. PAULSEN:   If you can play Number 3, please.

17            (Audio recording played.)

18       BY MR. PAULSEN:

19       Q.   That's the end of the first excerpt that ends in the

20       middle of page 2.     At the top of page 2 Hassan Afgoye --

21       well, at the bottom of page 1 he is telling her about a

22       massacre and destruction by those men in Mogadishu and they

23       bombarded the city with artillery and a plane -- at the top

24       of page 2 he says a plane came to pick up Abdullahi Yusuf.

25       Has that name came up today in testimony?



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     CASEWilson
          0:10-cr-00187-MJD-FLN
                - Direct        Doc. 285 Filed 11/25/13 Page 154 of 193          687


 1       A.   Yes.   As Mr. Bryden had testified earlier, he was the

 2       Transitional Federal Government president from approximately

 3       2004 to 2008.

 4       Q.   And Hassan Afgoye tells Amina Ali that the plane came to

 5       pick him up, but could not take him.        He goes on to say that

 6       last night the Ugandans were attacked in their camp.             They

 7       were surprised and massacred last night.

 8                   And the Ugandans were a part of what force at this

 9       time?

10       A.   They were part of the Africa Mission in Somalia, a

11       peacekeeping force that was in the country at the time.

12                   MR. PAULSEN:    And now we will go on to the second

13       excerpt beginning on the middle of page 2.

14            (Audio recording played.)

15       BY MR. PAULSEN:

16       Q.   This is where he -- Amina asks him again, "Did you

17       receive one thousand?"      And then she says, Did you receive

18       1,060?   "It was under the name of Nimo Ali Mohamed."            And

19       Hassan Afgoye informs her that, "1,063; yes --"          And then he

20       confirms that he received it, correct?

21       A.   Correct.

22                   MR. PAULSEN:    Then we'll just quickly go to the

23       third excerpt.

24            (Audio recording played.)

25       BY MR. PAULSEN:



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     CASEWilson
          0:10-cr-00187-MJD-FLN
                - Direct        Doc. 285 Filed 11/25/13 Page 155 of 193         688


 1       Q.   Here Hassan Afgoye is telling Amina Ali about, "The

 2       house of Aden Madobe was attacked, in Baidoa."         Do you know

 3       who that is?

 4       A.   Yeah.    He was a member of the Transitional Federal

 5       Government.

 6       Q.   And he goes on to say that, "He had a checkpoint in

 7       front of the house where four apostate were killed."             And

 8       then he goes on to say, "We had one man who became a martyr"

 9       and adds that "and his house was pounded with artillery and

10       was destroyed anyway.      That is what happened."

11       A.   Correct.    I think that is significant because that

12       associates Hassan Afgoye with that attack and Amina Ali is

13       aware that he is associating himself with the attack by

14       saying "we" in that case, we had one man martyred.

15                    MR. KELLY:   Object to the conclusions of the

16       witness, Your Honor, lack of foundation, 602.

17                    THE COURT:   Overruled.

18       BY MR. PAULSEN:

19       Q.   Now, getting back to Count 2, the transaction we just

20       heard about for $1,063, did you obtain some records to try

21       to confirm whether or not there was such a transaction

22       involving a money transfer company, also known as a hawala?

23       A.   Yes.    We went to the Kaah hawala and obtained a

24       financial record which supported that transaction.

25       Q.   And is that contained in Government Exhibit 161?



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     CASEWilson
          0:10-cr-00187-MJD-FLN
                - Direct        Doc. 285 Filed 11/25/13 Page 156 of 193       689


 1       A.   I believe so.

 2       Q.   I will approach so you can make sure.

 3       A.   Yep, that is the transaction.

 4                   MR. PAULSEN:    Offer 161.

 5                   MR. SCOTT:   No objection, Your Honor.

 6                   MR. KELLY:   No objection.

 7                   THE COURT:   Be admitted.

 8       BY MR. PAULSEN:

 9       Q.   Take us through this document.       It's the first time

10       we've seen one of these, so maybe you can explain what this

11       represents.

12       A.   Well, you've got, of course, in the Sender column the

13       name Basra Ali Warsame.      That is the name under which the

14       money was sent out, the person who sent the money.

15       Q.   Do you know who that person is?

16       A.   Yes.   Ms. Warsame is an associate of Ms. Ali's.

17                   MR. SCOTT:   I am going to object, Your Honor, to

18       identifying those people right now.        There's no foundation

19       for this.

20                   MR. PAULSEN:    I can lay some foundation.

21                   THE COURT:   Go ahead.

22       BY MR. PAULSEN:

23       Q.   Before you tell the relationship, how do you know what

24       the relationship is?

25       A.   Well, we had interviewed Ms. Warsame.        We had conducted



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     CASEWilson
          0:10-cr-00187-MJD-FLN
                - Direct        Doc. 285 Filed 11/25/13 Page 157 of 193   690


 1       a telephone analysis and obtained subscriber information for

 2       telephone calls placed to Ms. Ali and associated that

 3       telephone number that we see there, the 614 area code

 4       number, with Ms. Warsame.

 5       Q.   And are there going to be other calls later on in this

 6       binder where Ms. Warsame and Ms. Ali are talking about

 7       sending money?

 8       A.   Yes.

 9                    THE COURT:   Go ahead.

10       BY MR. PAULSEN:

11       Q.   So where does Basra Warsame lives?

12       A.   She lives in the Columbus, Ohio, area.

13       Q.   And she is a real person?

14       A.   Correct.

15       Q.   So she was the actual sender of this?

16       A.   Correct.

17       Q.   And we learn from the calls that we heard that Amina Ali

18       had given the name of the recipient over the phone to Hassan

19       Afgoye and that name -- does that name appear on this

20       document?

21       A.   Yes, as the beneficiary, the Nimco Ali Mohamed.

22       Q.   And below the name Nimco Ali Mohamed is a telephone

23       number.     Do you see that?

24       A.   Correct.    That's the beneficiary number.      And those

25       numbers are significant because in this case we have -- it's



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     CASEWilson
          0:10-cr-00187-MJD-FLN
                - Direct        Doc. 285 Filed 11/25/13 Page 158 of 193        691


 1       really the telephone number that's important.         The name

 2       Nimco Ali Mohamed, as we have been told or as we'll see, is

 3       a fictitious and made-up name.       The beneficiary telephone

 4       number in this case is 2521-5332225.

 5       Q.   And for our purposes we might want to keep in mind the

 6       last four digits, 2225?

 7       A.   Yes.

 8       Q.   Does that number come up in future transactions as well?

 9       A.   It will.

10       Q.   And who typically provides these telephone numbers to

11       Amina Ali?

12                    MR. SCOTT:   I am going to object, Your Honor.      It

13       is going to call for hearsay.

14                    THE COURT:   Overruled.

15                    THE WITNESS:   Ms. Ali obtains these numbers

16       through her contacts with the al-Shabaab network she dealt

17       with in Mogadishu, which we will hear more about later.

18       BY MR. PAULSEN:

19       Q.   And so the amount was $1,063, just as Ali and Hassan

20       Afgoye discussed on Exhibit 3, correct?

21       A.   Correct.

22       Q.   And the issue date down here, what's that mean?

23       A.   That's the date that it appears that the money was paid

24       out or picked up.

25       Q.   There's an issue date here and then there's a date paid



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     CASEWilson
          0:10-cr-00187-MJD-FLN
                - Direct        Doc. 285 Filed 11/25/13 Page 159 of 193      692


 1       over here, it looks like.      So this one looks like it was

 2       paid on the same day?

 3       A.   It appears to be so.

 4                    MR. PAULSEN:   At this time I would like to offer

 5       Government Exhibit 8.

 6                    MR. KELLY:   No objection.

 7                    MR. SCOTT:   I think 8 -- is 8 already in evidence?

 8                    MR. PAULSEN:   It is in evidence.     It just hasn't

 9       been played yet, so we'll --

10                    MR. SCOTT:   No objection, Your Honor.

11       BY MR. PAULSEN:

12       Q.   Turn to the transcript, Number 8, which is a call on

13       October 9, 2008 at 7:14 p.m. UTC between Hawo Hassan and

14       Amina Ali?

15       A.   Correct.

16                    MR. PAULSEN:   Go ahead and play Number 8.

17            (Audio recording played.)

18       BY MR. PAULSEN:

19       Q.   I want to direct your attention to the top of -- or the

20       bottom of page 2, carrying over to the top of page 3, where

21       Amina Ali is telling Hawo Hassan that, "I am telling you

22       specifically to ready yourself and stand up for the

23       mujahidin, because you have slacked off when it comes to the

24       mujahidin."     To which Hawo Hassan protests with, "Sister, I

25       swear to God, I have not slacked off."



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     CASEWilson
          0:10-cr-00187-MJD-FLN
                - Direct        Doc. 285 Filed 11/25/13 Page 160 of 193       693


 1                     And a couple exchanges later Amina Ali tells her,

 2       "Yes.    I want to tell you to speak up; speak up in the line.

 3       You should speak up, Halima --"       And Hawo Hassan says, "I am

 4       ready to do it in your line."

 5                     From your review and your investigation, what is

 6       your understanding of what they were talking about when they

 7       say "your line"?

 8       A.     In this case it would be the teleconference line that

 9       Amina Ali made use of to provide religious lectures as well

10       as teleconferencing when she would have guest speakers on

11       her line and later for also fund-raising.

12       Q.     And later on will we see that Hawo Hassan does

13       participate in those teleconferences?

14       A.     Yes.

15       Q.     At the midpoint Amina Ali says to Hawo Hassan, "Who has

16       the priority?     Let the civilians die.     Sister, let the

17       civilians die.     The mujahidin should be supported.       If the

18       mujahidin are supported," and then the sentence kind of runs

19       out.

20                     MR. PAULSEN:   Let's go to the second excerpt.

21              (Audio recording played.)

22       BY MR. PAULSEN:

23       Q.     At the top of page 4 Amina Ali is quoting someone as

24       saying, "The people said ... First they said to me, 'Convey

25       our regards to the young men.'"       And then later on, about



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     CASEWilson
          0:10-cr-00187-MJD-FLN
                - Direct        Doc. 285 Filed 11/25/13 Page 161 of 193      694


 1       halfway down, a little past halfway down, she says, "But

 2       they said that they have financial problem."         Do you see

 3       that?

 4       A.   Yes, I do.

 5       Q.   In this context what's "the young men" refer to?

 6       A.   The young men at --

 7                   MR. SCOTT:   I am going to object, it calls for a

 8       conclusion of this witness, especially since he skipped the

 9       next line that said -- where she explained it as the

10       Muslims.

11                   THE COURT:   Overruled.    Continue.

12                   THE WITNESS:    I think especially in consultation

13       with the linguist in this case and the context of the call,

14       that would mean al-Shabaab.

15                   MR. SCOTT:   Your Honor, I would ask, then, that

16       the answer be stricken.      He asked for his opinion.      He is

17       giving someone else's opinion.

18                   THE COURT:   Sustained.    It will be stricken.

19       BY MR. PAULSEN:

20       Q.   Over on page 5, about a third of the way down Amina says

21       (As read), "I said to him, 'We will present a lecture; I

22       will have you call into the line next week God willing.'"

23                   And is there a teleconference that comes up within

24       a week or so of this?

25       A.   Yes.



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     CASEWilson
          0:10-cr-00187-MJD-FLN
                - Direct        Doc. 285 Filed 11/25/13 Page 162 of 193     695


 1       Q.   And do you recall who the speaker is?

 2       A.   The speaker on that would -- I believe it was --

 3                    MR. SCOTT:   Objection, foundation, Your Honor --

 4                    THE COURT:   Sustained.

 5                    MR. SCOTT:   -- as to how he knows.

 6       BY MR. PAULSEN:

 7       Q.   Well, have you reviewed the call, the teleconference?

 8       A.   I have.

 9       Q.   How many times?

10       A.   Numerous times.

11       Q.   And is there a speaker at a teleconference not long

12       after this call?

13                    MR. SCOTT:   Your Honor, he is referring to

14       documents and they are not in evidence, Your Honor.

15                    THE COURT:   No, he can answer that question.

16                    THE WITNESS:   Yes.   I believe you are referring to

17       the Hawo-Kiin Hassan Raage teleconference.

18       BY MR. PAULSEN:

19       Q.   And Hawo-Kiin Raage has been talked about already as

20       being who?

21       A.   She was in charge of women's affairs with the al-Shabaab

22       group associated with Hassan Afgoye.        She also handled the

23       wounded, orphans issues, and communications.

24                    MR. PAULSEN:   And now if we could play excerpt 3.

25            (Audio recording played.)



                            LORI A. SIMPSON, RMR-CRR
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     CASEWilson
          0:10-cr-00187-MJD-FLN
                - Direct        Doc. 285 Filed 11/25/13 Page 163 of 193    696


 1       BY MR. PAULSEN:

 2       Q.   At the top of page 6 Amina Alia says, ..."whenever I see

 3       Somalis, who are hungry, no matter where they may be, my

 4       stomach churns."     But then she adds, "But I feel more

 5       sympathy for the mujahidin."       And Halima -- or Hawo Hassan

 6       responds how?

 7       A.   "I know that."

 8       Q.   On page 7, about seven lines up, Amina Ali says, "We

 9       will pressure the agency to get something to Abudwaq

10       immediately.    Sister, they have license; they hold

11       fundraising in mosques and everywhere."

12                   Do some charitable organizations have a license?

13       A.   They do.

14       Q.   And is that the customary way of doing it?

15       A.   Yes, it is.

16       Q.   Does Amina Ali have a license?

17       A.   She does not.

18       Q.   Does she later explain why she won't go get a license?

19       A.   Yes.

20       Q.   What does she say?

21                   MR. SCOTT:    Objection, Your Honor, one,

22       foundation; two, he's going to be reporting on a tape that's

23       not in evidence.

24                   THE COURT:    Overruled.   You'll have to -- you'll

25       connect it.     And if you don't connect it, you know what will



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     CASEWilson
          0:10-cr-00187-MJD-FLN
                - Direct        Doc. 285 Filed 11/25/13 Page 164 of 193    697


 1       happen.

 2       BY MR. PAULSEN:

 3       Q.   You have reviewed the calls where she explains to

 4       various people why she won't get a license?

 5       A.   Yes, I have.

 6       Q.   And what's her explanation?

 7       A.   She doesn't want to lie to God or be restricted on where

 8       the things she collects goes because it goes -- some of it

 9       goes to the men.

10       Q.   "The men" meaning?

11       A.   Al-Shabaab.

12                   MR. SCOTT:    I am going to object.     It's not an

13       accurate statement of what will come up in the tape, the

14       last line, Your Honor.

15                   THE COURT:    Overruled.   You will be able to

16       cross-examine.

17       BY MR. PAULSEN:

18       Q.   So on the top of page 8 Amina proposes that, "And this

19       line should be left for the mujahidin."        To which Hawo

20       Hassan responds, "Well, first of all, one cannot give up on

21       the mujahidin."

22                   And in this context the line that's being referred

23       to, is it more than one line?

24       A.   In this case they are referring to Amina Ali's line.

25       Q.   And that's the one that will be reserved for collecting



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     CASEWilson
          0:10-cr-00187-MJD-FLN
                - Direct        Doc. 285 Filed 11/25/13 Page 165 of 193       698


 1       for the Mujahidin?

 2       A.   Correct.

 3       Q.   And are there other lines besides this one?

 4       A.   There are other lines, yes, but -- are you referencing

 5       just Amina Ali or other individuals?

 6       Q.   Other individuals.

 7       A.   Yes, other individuals have lines.

 8                   MR. PAULSEN:    Next one is Exhibit 9.      I offer 9.

 9            (Pause.)

10                   MR. SCOTT:    I didn't hear what --

11                   MR. PAULSEN:    Oh, I'm sorry.    I offered 9.

12                   MR. SCOTT:    Oh, I didn't hear you.     I'm sorry.

13       I'm not going to object, Your Honor.

14                   MR. KELLY:    Defendant Hawo Hassan objects on the

15       grounds of hearsay with respect to the unidentified female

16       voice on the other end of this conversation.

17                   THE COURT:    Overruled.   You can play it.

18       BY MR. PAULSEN:

19       Q.   Exhibit 9 is a recorded call on October 10, 2008 at

20       about 7:00 p.m. UTC between Amina Ali and it does say

21       unknown female.     That phone number that's listed there, the

22       320 number, what's that area code?

23       A.   That would be St. Cloud.

24       Q.   Minnesota?

25       A.   Correct.



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     CASEWilson
          0:10-cr-00187-MJD-FLN
                - Direct        Doc. 285 Filed 11/25/13 Page 166 of 193         699


 1                   MR. PAULSEN:    We can play Exhibit 9.

 2            (Audio recording played.)

 3       BY MR. PAULSEN:

 4       Q.   So in this call near the bottom of page 1 Amina Ali is

 5       telling this person in St. Cloud, who has some money, to

 6       "send it to the men," correct?

 7       A.   Correct.

 8       Q.   And then Amina Ali gives her a name.        She says, "Address

 9       it to Nurto Ahmed Hassan," right?

10       A.   Yes.

11       Q.   And then she says, "I made up this name, okay.         I make

12       up the names."    Right?

13       A.   Yes.

14       Q.   "But the number is correct."      Right?

15       A.   Yes.

16       Q.   And then the unknown female says, "Is everything normal

17       or there is a particular fear for it to be revealed."            And

18       Amina Ali says, "No, it's always good to take a precaution."

19                   And then at the end of the call she gives this

20       person the phone number to whom -- to which the money should

21       be sent, correct?

22       A.   Correct.

23       Q.   And can you just read that phone number into the record.

24       A.   2521-5332225.

25       Q.   And this is the record from Count 2 that we just looked



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     CASEWilson
          0:10-cr-00187-MJD-FLN
                - Direct        Doc. 285 Filed 11/25/13 Page 167 of 193    700


 1       at.   Is that the same number that was involved in Count 2?

 2       A.    Yes, it is.

 3       Q.    And that number comes -- is the account for whom?

 4       A.    That number comes back to an individual known as

 5       Warsame, who is an associate of Hassan Afgoye.

 6       Q.    So when Amina Ali says at the bottom of page 1, "Send it

 7       to the men," she's essentially saying what?

 8       A.    Send it to Hassan Afgoye's group.

 9       Q.    Which is al-Shabaab?

10       A.    Yes.

11       Q.    Now, to be clear, this particular transaction is not one

12       of our counts of the indictment, correct?

13       A.    Correct.

14       Q.    But our next count of the indictment is Count 3, alleged

15       to have occurred on October 30, 2008 for $1,000, correct?

16       A.    Yes.

17       Q.    And are there several calls that go with this count?

18       A.    There are.

19       Q.    And that would be --

20                    MR. PAULSEN:    I would offer at this time

21       Exhibits 20, 23, and 24 for right now.

22                    MR. SCOTT:   No objection, Your Honor.

23                    MR. KELLY:   Relevance as to Defendant Hassan.

24                    THE COURT:   Objection overruled.     Be admitted.

25       BY MR. PAULSEN:



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     CASEWilson
          0:10-cr-00187-MJD-FLN
                - Direct        Doc. 285 Filed 11/25/13 Page 168 of 193    701


 1       Q.   If you turn to Exhibit 20, this is a call on October 30,

 2       2008, the same day as the alleged transaction in Count 3,

 3       from Amina Ali to Hawo-Kiin Hassan Raage.         And remind us who

 4       she is.

 5       A.   Hawo-Kiin Hassan Raage, again, is an associate of Hassan

 6       Afgoye and she's probably in charge of women's related

 7       issues, helping the wounded, the orphans, the mujahidin, and

 8       lectures, teleconferences.

 9       Q.   Now, this morning we heard from Mr. Bryden about some

10       bombings that occurred on October 29, 2008, one day before

11       this, in Bosaso and Hargeisa, I believe it was?

12       A.   Correct.

13       Q.   A very large-scale suicide bombing involving I think

14       five suicide bombers, he said?

15       A.   Yes.

16       Q.   And this call is the very next day, right?

17       A.   Yes.

18                   MR. PAULSEN:    Let's play Number 20.

19       BY MR. PAULSEN:

20       Q.   So right at the beginning, the day after those bombings,

21       Amina Ali is telling Hawo-Kiin of al-Shabaab, "No claim of

22       responsibility should be made about the incidents that

23       happened in those two places."

24                   Further on down past the midpoint Amina Ali

25       repeats, "Okay, the responsibility shouldn't be claimed."



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     CASEWilson
          0:10-cr-00187-MJD-FLN
                - Direct        Doc. 285 Filed 11/25/13 Page 169 of 193         702


 1       To which Hawo-Kiin says, "We don't even know about it."          And

 2       Amina says, "Exactly, that is the way."

 3                   Mr. Bryden testified this morning that al-Shabaab

 4       was the only organization in Somalia capable of doing that

 5       and yet for some reason they never claimed responsibility?

 6       A.   Correct.

 7       Q.   On the top of page 2 Hawo-Kiin advises Amina Ali that,

 8       ..."the Ethiopians have suffered spectacularly and all of

 9       their officers had been wiped out."        To which Amina responds

10       (As read), "May they all be wiped out, by God's order.           Let

11       them all be wiped out."

12                   Over on the top of page 3 Amina, second time she

13       speaks, says -- refers to 500 and then she says, "Also, tell

14       Hassan that we will send one thousand -- we will send one

15       thousand through Tawakal."

16       A.   Yes.

17       Q.   Now, the 1,000, does that turn out to be what's charged

18       in Count 3?

19       A.   Yes, it is that amount.

20       Q.   What about the 500, is that a count or just other money

21       that's out there?

22       A.   That may be referencing other money that's out there.

23       Q.   But with respect to this money, including the 1,000 that

24       she's going to send through Tawakal, Amina says, "Which we

25       collected through a door-to-door fund raising"...



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     CASEWilson
          0:10-cr-00187-MJD-FLN
                - Direct        Doc. 285 Filed 11/25/13 Page 170 of 193     703


 1                     And then later down at the halfway point Hawo-Kiin

 2       says, "To whom did you address it?        It's important to have

 3       the name of the guy that you address it to.         Amina says,

 4       (As read), "We did not send it to a guy's name.          We will

 5       create the name but we haven't sent it yet."

 6       A.     Yes.

 7       Q.     Over on the bottom of page 4 Amina, three lines, four

 8       lines up from the bottom, is talking about, (As read) "The

 9       enemy is all united.     Furthermore the men who live in the

10       Villa Somalia --"

11                     What's the Villa Somalia?

12       A.     That was the presidential palace at the time for the

13       TFG.

14       Q.     She goes on to say that the people who live in the Villa

15       Somalia, the presidential palace, on the top of page 5,

16       ..."if they turn themselves in.       They should be welcomed to

17       let the enemy be weakened."

18       A.     Correct.

19       Q.     Now we go to Exhibit 23.    This is a call on October 30,

20       2008 at 10:14 p.m. UTC between Amina Ali and Abdirizak

21       Khalif Nur, also known as Omar Abdi Dahir.         Do you know that

22       person, Omar Abdi Dahir?

23       A.     Yes.   He is an individual who works at Tawakal Halal in

24       Rochester.

25                     MR. PAULSEN:   If we can play Exhibit 23, please.



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     CASEWilson
          0:10-cr-00187-MJD-FLN
                - Direct        Doc. 285 Filed 11/25/13 Page 171 of 193    704


 1            (Audio recording played.)

 2       BY MR. PAULSEN:

 3       Q.   So this Abdirizak Khalif Nur, does this end up being the

 4       name of the sender on the record involving Count 3?

 5       A.   It does.

 6       Q.   And he's a real person?

 7       A.   Correct.

 8       Q.   And he actually works at Tawakal in Rochester?

 9       A.   Yes.

10       Q.   What is Tawakal?

11       A.   It's a market, a food market, but it's also a place --

12       it's a hawala where you can send money out, if you would

13       like to, to overseas locations.

14       Q.   And Amina Ali gives him a phone number that he should

15       use to send it to?

16       A.   Yes.

17       Q.   And it's that same phone number that we have seen before

18       ending in 2225?

19       A.   Yes.

20       Q.   Now we'll go to --

21                   MR. PAULSEN:    If I haven't offered it, I will

22       offer Exhibit 24.     I guess I already did.

23       BY MR. PAULSEN:

24       Q.   24 is a call on November 1, 2008, just a day later, from

25       Amina Ali calling Hawo-Kiin Hassan Raage.         Again, she's with



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     CASEWilson
          0:10-cr-00187-MJD-FLN
                - Direct        Doc. 285 Filed 11/25/13 Page 172 of 193     705


 1       al-Shabaab in Somalia?

 2       A.   Yes.

 3       Q.   And the call takes place at 3:35 a.m. UTC.

 4                   MR. PAULSEN:    We can play Number 24.

 5            (Audio recording played.)

 6       BY MR. PAULSEN:

 7       Q.   All right.   So just to clear up one thing, the second

 8       time Hawo-Kiin speaks --

 9                   THE COURT:   Before we do that, let's take a

10       stretch break.    Let's take a two-minute stretch break.

11            (Pause.)

12                   THE COURT:   Let's continue.

13       BY MR. PAULSEN:

14       Q.   I wanted to direct your attention to page 1.         The second

15       time Hawo-Kiin speaks she refers to Amina Ali as Amina Aden?

16       A.   Yes.

17       Q.   Is that another name for Amina Ali?

18       A.   That is another name used, yes.

19       Q.   And there's still talk about that 500 from the previous

20       call.   It looks like that hasn't showed up yet?

21       A.   This might be in reference to the 500 in Count 4, which

22       comes next.

23       Q.   All right.   At any rate, with respect to the $1,000 in

24       Count 3, over on page 3, about a third of the way down,

25       Amina tells Hawo-Kiin that, "$1,000 have been sent to the



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     CASEWilson
          0:10-cr-00187-MJD-FLN
                - Direct        Doc. 285 Filed 11/25/13 Page 173 of 193      706


 1       number and name you gave me."       She says, "I lost the name.

 2       The name you gave me...I wrote it on a piece of paper and I

 3       lost it.    When I couldn't find the paper, since I was at the

 4       transfer office.      I made up a name.    And the name I made up

 5       is Ibado Ali Warsame."      She goes on to say, "Yes, I made it

 6       up.   But it's remitted by a male, it's sent by a male,

 7       because my name cannot be used.       I asked a man to use his

 8       name.    I beg people for their names, do you know?"

 9             Hawo-Kiin says, "Right."

10             Amina says (As read), "So a man allowed his name to be

11       on the $1,000 and it's a man by the name of Abdirizaq Khalif

12       Nuur."

13       A.    Correct.

14       Q.    Did you then go and get the Tawakal record with respect

15       to this transaction?

16       A.    Yes, we did.

17       Q.    And is that Government Exhibit 162?

18       A.    Yes, it is.

19                   MR. PAULSEN:    Offer 162.

20                   MR. SCOTT:    No objection, Your Honor.

21                   MR. KELLY:    Your Honor, again, Defendant Hassan

22       objects as to relevancy and we request a limiting

23       instruction --

24                   MR. PAULSEN:    Well, Your Honor --

25                   MR. KELLY:    -- at this point.



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          0:10-cr-00187-MJD-FLN
                - Direct        Doc. 285 Filed 11/25/13 Page 174 of 193    707


 1                   MR. PAULSEN:    If I may?

 2                   THE COURT:   You may.

 3                   MR. PAULSEN:    The next witness will tie it up and

 4       that will be -- with permission, I am going to ask to

 5       interrupt Mr. Wilson and bring the next witness momentarily.

 6                   THE COURT:   All right.     Overruled.

 7       BY MR. PAULSEN:

 8       Q.   So this is from the Tawakul Money Express and it says

 9       the sender is Abdirisaak Khalif Nur, right?

10       A.   Correct.

11       Q.   And the beneficiary is who?

12       A.   Cibaado Cali Warsame.

13       Q.   And we heard from the FBI linguist about this putting

14       "C" in front of vowels sometimes.       The "C" is silent?

15       A.   Yes.

16       Q.   So this here on the voucher is spelled differently than

17       the name was spelled in the transcript, but the "C" is

18       silent?

19       A.   Correct.

20       Q.   And it was sent to the telephone number that ends in

21       2225 that we talked about?

22       A.   Yes, which is associated with Warsame.

23       Q.   Who works for Afgoye?

24       A.   Correct.

25       Q.   And the date of the remittance was October 30, 2008?



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     CASEWilson
          0:10-cr-00187-MJD-FLN
                - Direct        Doc. 285 Filed 11/25/13 Page 175 of 193      708


 1       A.     Yes.

 2       Q.     And the amount of it was $1,000?

 3       A.     Yes.

 4                     MR. PAULSEN:    At this time, Your Honor, I would

 5       like permission to interrupt Mr. Wilson's testimony to call

 6       Omar Dahir, also known as Abdirizak Khalif Nur.

 7                     THE COURT:   All right.   Sir, you may step down.

 8                     MR. PAULSEN:    He needs an interpreter, Your Honor.

 9                     THE COURT:   Swear the interpreter in.

10                     THE CLERK:   Please raise your right hand.

11              (Interpreter sworn.)

12                     THE COURT:   If you want to pull up a chair, you

13       can.

14                     INTERPRETER:    No, I'm okay.

15                     THE COURT:   But you can't block the jury, so

16       that's the problem.

17              (Witness sworn.)

18                     THE COURT:   All right.   Would you state your true

19       and correct name for the record, please.

20                     THE WITNESS:    Omar Dahir.

21                     THE COURT:   All right.   Sir, if you would pull the

22       microphone closer to you so the English translation can be

23       heard by the jury.

24                     You may inquire.

25



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     CASEDahir
          0:10-cr-00187-MJD-FLN
               - Direct         Doc. 285 Filed 11/25/13 Page 176 of 193    709


 1                                    (Omar Dahir)

 2                                 DIRECT EXAMINATION

 3       BY MR. PAULSEN:

 4       Q.   You are Omar Dahir?

 5                    THE COURT:   Spell your name for the record, first

 6       and last name for the record.

 7                    THE WITNESS:   O-m-a-r.   D-a-h-i-r.

 8       BY MR. PAULSEN:

 9       Q.   Are you also known as Abdirizak Khalif Nur?

10       A.   Yes, some people knows [sic] that name to me.

11       Q.   Can you explain why you are known by two names.

12       A.   The people in Africa use that name as a nickname, that I

13       know them in Africa.

14       Q.   Are you originally from Somalia?

15       A.   Yes.

16       Q.   What region?

17       A.   Mogadishu.

18       Q.   And how old are you?

19       A.   30 years.

20       Q.   Did there come a time when you left Somalia?

21                    WITNESS INTERPRETER:    Will you repeat the

22       question, please?

23       BY MR. PAULSEN:

24       Q.   Did there come a time when you left Somalia?

25       A.   1991.



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     CASEDahir
          0:10-cr-00187-MJD-FLN
               - Direct         Doc. 285 Filed 11/25/13 Page 177 of 193   710


 1       Q.   And where did you go first?

 2       A.   Kenya.

 3       Q.   When did you come to the United States?

 4       A.   '91 -- I mean '99.

 5       Q.   And you currently live in the Rochester, Minnesota,

 6       area?

 7       A.   Yes.

 8       Q.   Do you have a family there?

 9       A.   Yes.

10       Q.   You're married.    Do you have any children?

11       A.   Yes, I have two kids.

12       Q.   Can you tell us what your education has been.

13       A.   Level five ESL classes.

14       Q.   When you were growing up in Somalia, did you go to

15       school at all in Somalia?

16       A.   No, not at that time.

17       Q.   How about when you were living in Kenya, did you go to

18       any formal schooling?

19       A.   Yeah, I went to private schools, not that much.

20       Q.   How many years of schooling?

21       A.   I would say between a year and two years.

22       Q.   And then in the United States you've just had ESL or

23       English as a second language courses?

24       A.   Two years of ESL.

25       Q.   Where do you presently work?



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          0:10-cr-00187-MJD-FLN
               - Direct         Doc. 285 Filed 11/25/13 Page 178 of 193   711


 1       A.   Store.

 2       Q.   What's the name of the store?

 3       A.   Tawakal Halal.

 4       Q.   And what kind of a store is that Tawakal store?

 5       A.   Grocery store.    Also is halal meat.

 6       Q.   And what does that mean?

 7       A.   It is a store and we sell kosher meat.

 8       Q.   In addition to selling groceries, is there a place in

 9       the store where people can send money to Somalia?

10       A.   Yes, we do have hawala also.

11       Q.   You call it a hawala?

12       A.   Yes.

13       Q.   How long have you worked at this combination grocery

14       store/hawala?

15       A.   I would say around five years.

16       Q.   So were you working there on October 30th of 2008?

17       A.   Yes.

18       Q.   And you remember being involved in a transaction that

19       involved a thousand dollars?

20       A.   Yes.

21       Q.   Do you know someone named Hawo?

22       A.   Yes.

23       Q.   Do you see her in court today?

24       A.   Yes.

25       Q.   Could you point her out, please.



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          0:10-cr-00187-MJD-FLN
               - Direct         Doc. 285 Filed 11/25/13 Page 179 of 193     712


 1       A.   I call Hawo that girl or that lady (indicating).

 2       Q.   Well, I'll count off the people at the table and you

 3       tell me which one it is.      Number 1, number 2, number 3,

 4       number 4, or number 5.

 5       A.   (In English) Number 3.

 6                   WITNESS INTERPRETER:     Sir, you have to wait until

 7       I finish the question.

 8                   THE WITNESS:    Yes.

 9                   WITNESS INTERPRETER:     Go ahead, sir.

10                   MR. PAULSEN:    May the record reflect he has

11       identified the Defendant Hawo Hassan?

12                   THE COURT:   It may.

13       BY MR. PAULSEN:

14       Q.   Did you know Hawo prior to October 30, 2008?

15       A.   Yes.

16       Q.   How did you know her?

17       A.   She used to shop our store.

18       Q.   Now, about this time in late October did Hawo come into

19       the store with some money?

20       A.   Yes, yes.

21       Q.   And how much money did Hawo bring to the store?

22       A.   A thousand dollars.

23       Q.   And did she tell you what she wanted to have done with

24       the thousand dollars?

25       A.   Yes.



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          0:10-cr-00187-MJD-FLN
               - Direct         Doc. 285 Filed 11/25/13 Page 180 of 193   713


 1       Q.   Did she want to send it someplace?

 2       A.   She told me she raised this money for orphans, so she

 3       can send to orphan people.

 4       Q.   And to what country did she want the money to be sent

 5       for the orphans?

 6       A.   Mogadishu.

 7       Q.   In Somalia?

 8       A.   Yes, Somalia.

 9       Q.   And did she at that point have a name or a phone number

10       for the recipient in Somalia to give to you?

11       A.   It was a long time ago.      I do believe she give me a

12       name, but I don't remember if she give me a number, phone

13       number.

14       Q.   And did there come a time when you had a conversation

15       with her about the name to be used as the sender on the

16       thousand dollar transfer?

17       A.   I remember that I send the money and I remember that she

18       told me this money is going to orphans.        That's all I

19       remember.

20       Q.   Well, you ended up -- your name ended up being used as

21       the sender.    It was not your money, was it?

22       A.   I send it, yes, I did.

23       Q.   What I am asking is:     How did it come to be that your

24       name was used as the sender rather than Hawo's name?

25       A.   Hawo ask me to send it, that money in my name, and that



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     CASEDahir
          0:10-cr-00187-MJD-FLN
               - Direct         Doc. 285 Filed 11/25/13 Page 181 of 193   714


 1       money was going to orphans.

 2       Q.   That's what she told you, right?

 3       A.   That's what she told me.

 4       Q.   And she also told you that she wanted to use your name

 5       rather than her name?

 6                    MR. KELLY:   Objection, Your Honor, leading.

 7                    THE COURT:   Rephrase.

 8       BY MR. PAULSEN:

 9       Q.   Was it Hawo that asked you to send it under your name?

10       A.   Yes.

11       Q.   And did you agree to do that?

12       A.   Yes, because the good intention that money go to the

13       orphans, because of that, yes.

14       Q.   That's why you agreed to do it, because you thought it

15       was with good intentions?

16       A.   Yes, that's true.

17       Q.   Had you ever done this before, that is, had you ever

18       allowed your name to be used to -- on somebody else's money

19       transfer?

20       A.   No.    Because of the orphan, because of that.

21       Q.   And have you ever done it since?

22       A.   I never did after that.

23       Q.   So this is the only time you've ever allowed your name

24       to be used to send someone else's money?

25       A.   Yes.



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     CASEDahir
          0:10-cr-00187-MJD-FLN
               - Direct         Doc. 285 Filed 11/25/13 Page 182 of 193    715


 1       Q.   Now, did there come a time when somebody else contacted

 2       you to give you more information about where this money

 3       should go?

 4       A.   Yes.

 5                    MR. PAULSEN:   And because it's so short, Your

 6       Honor --

 7       BY MR. PAULSEN:

 8       Q.   Well, who was the person that called you?

 9       A.   Somebody bring me a tape that I listen and that voice

10       was -- looked like Amina.

11       Q.   You're talking about prior to trial we had you listen to

12       a particular phone call, recorded call, right?

13       A.   Yes.

14                    MR. PAULSEN:   And with the Court's permission, I

15       would like him to be able to listen to it again here in

16       court.

17                    THE COURT:   He may.

18                    MR. PAULSEN:   It's Exhibit 23.     Play 23 again.

19            (Audio recording played.)

20       BY MR. PAULSEN:

21       Q.   Is that the call you listened to before trial?

22       A.   Yes.

23       Q.   And now listening to it again, do you recognize the

24       voice of the speaker who was talking to you?

25       A.   Yes.



                            LORI A. SIMPSON, RMR-CRR
                                 (612) 664-5104
     CASEDahir
          0:10-cr-00187-MJD-FLN
               - Direct         Doc. 285 Filed 11/25/13 Page 183 of 193   716


 1       Q.   Who was it?

 2       A.   Amina.

 3       Q.   And do you know somebody named Amina Ali?

 4       A.   Yes, I do.

 5       Q.   How do you know Amina Ali?

 6       A.   She was my customer.     She was a good person that I know.

 7       Q.   Do you see her in the courtroom today?

 8       A.   Yes, I do.

 9       Q.   Would you point her out.

10       A.   She's the fourth sitting person.

11                     MR. PAULSEN:   May the record reflect the

12       identification of Amina Ali?

13                     THE COURT:   It may.

14       BY MR. PAULSEN:

15       Q.   You said the fourth person?

16       A.   Yes.

17                     THE COURT:   It may.

18       BY MR. PAULSEN:

19       Q.   Would you have agreed to do this if you had thought the

20       money was going to al-Shabaab?

21       A.   No.

22       Q.   Why not?

23                     MR. KELLY:   Objection, relevance.

24                     THE COURT:   Overruled.

25                     THE WITNESS:   I never supported any group in



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                                  (612) 664-5104
     CASEWilson
          0:10-cr-00187-MJD-FLN
                - Direct        Doc. 285 Filed 11/25/13 Page 184 of 193     717


 1       Somalia who are fighting.

 2       BY MR. PAULSEN:

 3       Q.     You don't like fighting?

 4       A.     No, I don't.    I don't like war.

 5                    MR. PAULSEN:    Nothing further.

 6                    MR. KELLY:    May we have a minute, Your Honor?

 7                    THE COURT:    You may.

 8              (Discussion off the record between

 9               Mr. Kelly and Mr. Scott.)

10                    MR. KELLY:    I don't have any questions, Your

11       Honor.

12                    MR. SCOTT:    He talked me out of it, Your Honor.

13                    THE COURT:    Anything further with this witness?

14                    MR. PAULSEN:    No, Your Honor.

15                    THE COURT:    You may step down, sir.

16                    MR. PAULSEN:    Re-call Mike Wilson.

17                             RESUMED DIRECT EXAMINATION

18       BY MR. PAULSEN:

19       Q.     Special Agent Wilson, now we are going to have to kind

20       of go back in time and pick up a couple of calls I skipped

21       over in the interest of accommodating that witness.          The

22       next call would be Number 10, Exhibit 10.

23                    MR. PAULSEN:    I'll offer 10 and 11 at this point.

24       I guess they're already in.       They just haven't been played

25       yet.



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                                    (612) 664-5104
     CASEWilson
          0:10-cr-00187-MJD-FLN
                - Direct        Doc. 285 Filed 11/25/13 Page 185 of 193       718


 1                   MR. SCOTT:   10 is in, Your Honor.      We don't object

 2       to 11.

 3                   MR. KELLY:   Your Honor, again we object on

 4       relevancy to Exhibit 11.      Your Honor, these exhibits are

 5       offered in support of the government's proof of counts in

 6       which my client is not involved and we ask the Court for a

 7       limiting instruction.

 8                   THE COURT:   Overruled.    You may play the tapes.

 9       BY MR. PAULSEN:

10       Q.   Special Agent Wilson, Count -- or Exhibit 10 is a call

11       on October 12, 2008 at 6:05 p.m. UTC from Hassan Afgoye,

12       also known as Abu Ayman, to Amina Ali.

13                   There's going to be talk about clothing shipments

14       in this call or a clothing shipment in this call.          And was

15       Amina Ali involved in such shipment?

16       A.   Yes, she was.

17                   MR. PAULSEN:    Let's play Exhibit 10.

18            (Audio recording played.)

19       BY MR. PAULSEN:

20       Q.   All right.   If we go back to page 1, Amina Ali, the

21       second time -- well, she says that the ship is carrying the

22       garments and it's on its way to Mogadishu.

23                   The third time she speaks she says, "So, I told

24       the group that has an agency over there ...when it is taken

25       there; then the Mujahidin men should be given a part and the



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     CASEWilson
          0:10-cr-00187-MJD-FLN
                - Direct        Doc. 285 Filed 11/25/13 Page 186 of 193     719


 1       other part belongs to the general public."

 2                    Is she referring to the clothing?

 3       A.   Correct.

 4       Q.   So first she calls them "the Mujahidin men," right?

 5       A.   Yes.

 6       Q.   And then on page 2, the third time she speaks, after

 7       talking about "I do not know how the garments were packed,"

 8       at the end of that paragraph she says, ..."but things like

 9       jackets and shoes are for the men."        Right?

10       A.   Correct.

11       Q.   And she's talking to Hassan Afgoye, the al-Shabaab

12       finance representative?

13       A.   Yes.

14       Q.   And then on page 4, talking to Hassan Afgoye, the third

15       time she speaks she says, "Naturally, but you will be taking

16       a part of it --"     And then there's some talk at the bottom

17       about how -- Hassan says to her that, ..."we have a

18       communication department and our Media is working."          Can you

19       elaborate on that a little bit.

20       A.   Yeah.   It's important to Ms. Ali that the distribution

21       of the garments --

22                    MR. SCOTT:   Your Honor, I am going to object to

23       what's important to her.      He --

24                    THE COURT:   Sustained.

25       BY MR. PAULSEN:



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     CASEWilson
          0:10-cr-00187-MJD-FLN
                - Direct        Doc. 285 Filed 11/25/13 Page 187 of 193         720


 1       Q.   In this and later calls are plans made to film the

 2       distribution of the garments?

 3       A.   Yes.

 4       Q.   And Hassan's organization actually has a media

 5       department that can do that?

 6       A.   Correct.

 7       Q.   At the top of page 5 Amina says, "Hold on, hold on."

 8       And this is after he's talked about his media department.

 9       She says, "Hold on, hold on.       Let me tell you one thing, are

10       you aware that America is the number one enemy.           It is your

11       number one enemy --"     And then she adds, "-- and do you know

12       that they are watching any men that live in this country?"

13       She says, "If you post it in Al-Mujahid -- when you post

14       it --"   And then he says, No, I didn't mean that.          We won't

15       do it that way.

16                   Do you know what Al-Mujahid is?

17       A.   It's a jihadi website affiliated with al-Shabaab.

18       Q.   So does it appear that Amina did not want this to go on

19       the public website?

20       A.   Absolutely.

21       Q.   She goes on a few lines later to explain.           After he says

22       they won't do it she says, "Right, right.         Yes.    They will

23       come straight to Amina.      Do you know?    That is what they

24       want; that gives them a chance to look for me."           Right?

25       A.   Yes.



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     CASEWilson
          0:10-cr-00187-MJD-FLN
                - Direct        Doc. 285 Filed 11/25/13 Page 188 of 193        721


 1       Q.   Then we go over to the bottom of page 6.        Talking again

 2       about who is going to get these garments, the last time

 3       Amina speaks she says, "Yes, God willing.         So I will tell

 4       those people not to unpack the garments before that group

 5       comes.    So you, the youth, take a share as a collective

 6       group."

 7                   She's speaking to Hassan Afgoye and referring to

 8       his group as "the youth," right?

 9       A.   Correct.

10       Q.   And I believe that is one of the places where our

11       linguist indicated "youth" should be capitalized?

12       A.   Yes.

13       Q.   Because it's referring to the organization?

14       A.   Yes.

15       Q.   And then over on page 7, about a third of the way down,

16       Amina is asking Hassan Afgoye whether he received two

17       hundreds.    Would that be $200?

18       A.   Yes.

19       Q.   And a little farther down there's a reference to Amina

20       Said, S-a-i-d, and Amina Ali says, "This was sent to another

21       name, but the number is the same number that you know.           It

22       is Warsame's."

23       A.   Correct.

24       Q.   And you previously identified Warsame as an associate of

25       Afgoye?



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                                 (612) 664-5104
     CASEWilson
          0:10-cr-00187-MJD-FLN
                - Direct        Doc. 285 Filed 11/25/13 Page 189 of 193    722


 1       A.   Yes.

 2       Q.   And he is in charge of which one of these numbers?

 3       A.   He has the 2521-5332225 number.

 4       Q.   So he's got the one that we have seen that ends in 2225?

 5       A.   Correct.

 6       Q.   And several lines later Amina says, "It was sent to

 7       Nurta Ahmed Hassan," and she tells him to write that down.

 8       Will there be a later call that sheds light on whether that

 9       is a true name or a false name?

10       A.   There will be.

11       Q.   And what is it?

12       A.   It's a fictitious name.

13       Q.   Now, that particular $200 is not a count in our

14       indictment, it's just extra money out there?

15       A.   Yes.

16       Q.   Oh, and then just over at the top of page 8 Hassan

17       Afgoye says, "Yes, God willing.       Fortunately Warsame and I

18       will see each other at home, tonight."

19                   So evidently they live nearby or close?

20       A.   Correct.

21       Q.   Next call would be Exhibit 11.       It's already in

22       evidence.    This is a call on October 13, 2008 from Amina Ali

23       to Bashir Gelle Farah.      I believe we heard about him from

24       Mr. Bryden this morning, didn't we?

25       A.   Yes, we did.



                             LORI A. SIMPSON, RMR-CRR
                                  (612) 664-5104
     CASEWilson
          0:10-cr-00187-MJD-FLN
                - Direct        Doc. 285 Filed 11/25/13 Page 190 of 193   723


 1       Q.   Remind us who Bashir Gelle Farah is.

 2       A.   He is an individual who assists in fund-raising for

 3       al-Shabaab.

 4       Q.   And he's located where?

 5       A.   He's in United Arab Emirates.

 6       Q.   And this call again is going to relate to this clothing

 7       that's on its way?

 8       A.   Correct.

 9       Q.   And does Mr. Bashir Gelle Farah have some responsibility

10       with respect to the clothing?

11       A.   Yes.   He is assisting in the shipment of the clothing

12       from U.S. to UAE, from UAE to Somalia.

13                   MR. PAULSEN:    Play Number 11, please.

14            (Audio recording played.)

15       BY MR. PAULSEN:

16       Q.   So was this a large shipment of clothing?

17       A.   Yes, it was.

18       Q.   And if we go to page 5, about ten lines up from the

19       bottom on page 5 Amina says, "They... in other words... The

20       youth should come united as one group and take half."

21       A.   Correct.

22       Q.   Over on page 7, the midpoint of page 7, she repeats,

23       "Yes.   So they should come and -- eh -- this group -- eh --

24       the youth -- they should come and take whatever they want to

25       from it, because they have wives and children, you know?



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                                  (612) 664-5104
     CASEWilson
          0:10-cr-00187-MJD-FLN
                - Direct        Doc. 285 Filed 11/25/13 Page 191 of 193          724


 1       They should be allowed to take whatever they want to.            They

 2       should come and... I mean, they should be present even when

 3       the garments are being divided and sorted."

 4                   And does Bashir agree to that?

 5       A.   Yes, he does.

 6       Q.   And then in the middle of page 8, just below the

 7       midpoint, Amina says, "I spoke to Hassan Afgoye; he keeps in

 8       touch with me by phone -- God bless him -- I told him -- the

 9       man responsible for their finance."

10                   And Bashir agrees, right, that Afgoye is the man

11       responsible for al-Shabaab's finances?

12       A.   Correct.

13                   MR. PAULSEN:    That's all the questions I have on

14       that one, Your Honor.

15                   THE COURT:   All right.    Let's stop here.     We'll

16       start up tomorrow at 9:30, at 9:30.        I have some other

17       motions starting at 8:00, so we'll start up at 9:30.             All

18       rise for the jury.     Enjoy this beautiful day.

19            (Jury excused.)

20                                   IN OPEN COURT

21                                (JURY NOT PRESENT)

22                   THE COURT:   Counsel, is there anything that we

23       need to discuss before tomorrow morning?

24                   MR. PAULSEN:    Just so the record is clear, when

25       Mr. Kelly makes objections to the calls that he claims don't



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     CASE 0:10-cr-00187-MJD-FLN Doc. 285 Filed 11/25/13 Page 192 of 193     725


 1       apply to Hawo Hassan, you've overruled, but just so my

 2       record is clear, I believe they do apply to Hawo Hassan with

 3       equal force under the co-conspirator exception, which I

 4       talked about at pretrial.

 5                   MR. KELLY:   Your Honor, as I understand, the

 6       evidence coming in right now is directed perhaps solely to

 7       Counts 2 through 13 in which Defendant Hassan is not a

 8       defendant and we feel it would be proper for the Court to

 9       instruct the jury that this evidence is being admitted

10       against only one of the defendants and not the other.

11                   THE COURT:   Okay.    Your objection is overruled.

12                   Anything else for Mrs. Ali, Mr. Scott?

13                   MR. SCOTT:   No, Your Honor.     Mr. -- the prosecutor

14       is pushing Mr. Wilson's envelope pretty hard.         I'm trying

15       not to object all the time.       I wish he would slow that down.

16       It could slow down the trial if I start objecting.

17                   THE COURT:   Okay.    We'll recess until tomorrow.

18       Have a good evening.

19            (Court adjourned at 5:05 p.m.)

20                                  *      *      *

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     CASE 0:10-cr-00187-MJD-FLN Doc. 285 Filed 11/25/13 Page 193 of 193


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 2

 3                 I, Lori A. Simpson, certify that the foregoing is a

 4       correct transcript from the record of proceedings in the

 5       above-entitled matter.

 6

 7                       Certified by:     s/ Lori A. Simpson

 8                                         Lori A. Simpson, RMR-CRR

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